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                     IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF INDIANA
                              INDIANAPOLIS DIVISION


 In re:                                                Chapter 11
                        1
 USA GYMNASTICS,                                       Case No. 18-09108-RLM-11

                       Debtor.


          GLOBAL NOTES AND STATEMENT OF LIMITATIONS, OVERVIEW OF
                 METHODOLOGY, AND DISCLAIMERS REGARDING
           DEBTOR’S SCHEDULES AND STATEMENT OF FINANCIAL AFFAIRS

          USA Gymnastics, as debtor and debtor in possession in the above-captioned chapter 11
 case (“USAG” or the “Debtor”), hereby files its Schedules of Assets and Liabilities
 (“Schedules”) and Statement of Financial Affairs (“SOFA”) in accordance with section 521 of
 title 11 of the United States Code (the “Bankruptcy Code”) and Rule 1007 of the Federal Rules
 of Bankruptcy Procedure.

        A.     The Debtor filed this chapter 11 case (the “Chapter 11 Case”) on December 5,
 2018 (the “Petition Date”). Since the Petition Date, the Debtor and its retained professionals
 worked diligently to compile and prepare the Debtor’s Schedules and SOFA.

         B.     James Scott Shollenbarger, Chief Financial Officer of USAG, has signed the
 Schedules and SOFA. In signing the Schedules and SOFA, Mr. Shollenbarger is attesting to the
 process used by the Debtor and its retained professionals in gathering and presenting the
 information set forth in the Schedules and SOFA. Mr. Shollenbarger has not (and could not
 have) verified the completeness or accuracy of the financial data derived from Debtor’s books
 and records, including responses, statements and representations concerning assets and liabilities
 of the Debtor presented in the Schedules and SOFA.

         C.     Mr. Shollenbarger, the Debtor, its counsel, Omni Management Group, and their
 respective agents, employees, attorneys, and advisors involved in the compilation and
 preparation of the Schedules and SOFA (“Compilers”) do not guarantee or warrant the accuracy
 or completeness of the data, responses, statements, and representations that are provided in the
 Schedules and SOFA, and none of the foregoing shall be liable for any loss or injury arising out
 of or caused in whole or in part by the acts, errors, or omissions, whether negligent or otherwise,
 in procuring, compiling, collecting, interpreting, reporting, communicating, or delivering the
 information contained in the Schedules and SOFA. While reasonable efforts have been made to
 provide accurate and complete information in the Schedules and SOFA, inadvertent errors or

 1
  The last four digits of the Debtor’s federal tax identification number are 7871. The location of the
 Debtor’s principal office is 130 E. Washington Street, Suite 700, Indianapolis, Indiana 46204.
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 omissions may exist. The Compilers expressly do not undertake any obligation to update,
 modify, revise, or re-categorize the information provided in the Schedules and SOFA, or to
 notify any third party should the information be updated, modified, revised, or re-categorized. In
 no event will the Compilers be liable to any third party for any direct, indirect, incidental,
 consequential, or special damages (including, but not limited to, damages arising from the
 disallowance of a potential claim against Debtor or damages to business reputation, lost business,
 or lost profits), whether foreseeable or not and however caused, even if the Compilers are
 advised of the possibility of such damages.

         D.      In light of the foregoing, the Schedules and SOFA are limited and must be read in
 connection with, and informed by, the following Global Notes and Statement of Limitations,
 Overview of Methodology, and Disclaimers Regarding Debtor’s Schedules and Statement of
 Financial Affairs (the “Global Notes”), which are incorporated by reference in, and comprise an
 integral part of, the Schedules and SOFA.

                           Global Notes and Statement of Limitations

         1.      Description of Chapter 11 Case. The Debtor continues to operate its
 organization as debtor in possession in this Chapter 11 Case. The Compilers have endeavored to
 present information in the Schedules and SOFA reported as of the Petition Date. However, there
 may be certain instances where the Debtor was unable to do so. The Compilers have endeavored
 to note those circumstances where information is not as of the Petition Date.

         2.      Global Notes Control. These Global Notes pertain to and comprise an integral
 part of all of the Schedules and SOFA and should be referenced in connection with any review
 thereof. In the event that the Schedules and SOFA differ from these Global Notes, the Global
 Notes control.

        3.     Reservations and Limitations. Reasonable efforts have been made to prepare
 and file complete and accurate Schedules and SOFA; however, as noted above, inadvertent
 errors or omissions may exist. The Debtor reserves all rights to amend or supplement the
 Schedules and SOFA as is necessary and appropriate. Nothing contained in the Schedules and/or
 SOFA constitutes a waiver of any of Debtor’s rights or an admission of any kind with respect to
 the Chapter 11 Case or otherwise. Any specific reservation of rights contained elsewhere in the
 Global Notes does not limit in any respect the general reservation of rights contained in this
 paragraph.

               (a) No Admission. Nothing contained in the Schedules and/or SOFA is intended
        or should be construed as an admission or stipulation of the validity of any claim against
        Debtor, any assertion made therein or herein, or a waiver of Debtor’s rights to dispute
        any claim or assert any cause of action or defense against any party.

                (b) Recharacterization. Notwithstanding that the Debtor has made reasonable
        efforts to correctly characterize, classify, categorize, or designate certain claims, assets,
        executory contracts, unexpired leases, and other items reported in the Schedules and
        SOFA, the Debtor nonetheless may have improperly characterized, classified,



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       categorized, or designated certain items. The Debtor thus reserves all rights to
       recharacterize, reclassify, recategorize, or redesignate items reported in the Schedules and
       SOFA at a later time as is necessary and appropriate.

              (c) Classification. Listing (i) a claim on Schedule D as “secured,” (ii) a claim on
       Schedule F as “unsecured,” or (iii) a contract on Schedule G as “executory” or
       “unexpired” does not constitute an admission by the Debtor of the legal rights of the
       claimant or a waiver of the Debtor’s right to recharacterize or reclassify such claim or
       contract.

               (d) Claims Description. Due to the timing and circumstances surrounding the
       filing of the Chapter 11 Case, the Debtor has been unable to verify the validity and
       amounts of some creditors’ claims, or the creditor claims reflected in the Debtor’s books
       do not include unprocessed claims, either because processing of invoices was not
       completed or the Debtor had yet to receive invoices for goods and services. As a result,
       the Debtor has labeled some claims as disputed, liquidated and/or contingent on the
       Schedules. Any failure to designate a claim as “disputed,” “contingent,” or
       “unliquidated” does not constitute an admission by the Debtor that such amount is not
       “disputed,” “contingent,” or “unliquidated.” The Debtor reserves all rights to dispute, or
       assert offsets or defenses to, any claim listed on its Schedules on any grounds, including,
       without limitation, liability or classification, or to otherwise subsequently designate such
       claims as “disputed,” “contingent,” or “unliquidated” or object to the extent, validity,
       enforceability, priority, or avoidability of any claim. Moreover, listing a claim does not
       constitute an admission of liability by the Debtor. The Debtor reserves all rights to amend
       its Schedules and SOFA as necessary and appropriate, including, but not limited to, with
       respect to claim description and designation.

                (e) Estimates and Assumptions. The preparation of the Schedules and SOFA
       required the Debtor to make reasonable estimates and assumptions with respect to the
       reported amounts of assets and liabilities, the amount of contingent assets and contingent
       liabilities on the date of the Schedules and SOFA, and the reported amounts of revenues
       and expenses during the applicable reporting periods. Actual results could differ from
       those estimates.

               (f) Causes of Action. Despite reasonable efforts, the Debtor may not have
       identified and/or set forth all of its causes of action (filed or potential) against third
       parties as assets in its Schedules and SOFA, including, without limitation, avoidance
       actions arising under chapter 5 of the Bankruptcy Code and actions under other relevant
       bankruptcy and non-bankruptcy laws to recover assets. The Debtor reserves all rights
       with respect to any causes of action, and nothing in these Global Notes or the Schedules
       and SOFA should be construed as a waiver of any such causes of action.

              (g) Insiders. Where the Schedules and SOFA require information regarding
       “insiders,” the Debtor has included information with respect to individuals who serve or
       may have served as officers and directors (or the equivalent) as those terms are used in
       the Debtor’s Bylaws, as the case may be, during relevant time periods. Such individuals



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        may no longer serve as an officer or director of the Debtor. The listing of a party as an
        insider for purposes of the Schedules and SOFA is not intended to be, nor should it be,
        construed as a legal characterization of such party as an insider and does not act as an
        admission of any fact, right, claim, or defense, and all such rights, claims and defenses
        are hereby expressly reserved. Information regarding the individuals listed as “insiders”
        in the Schedules and SOFA has been included for informational purposes only and such
        information may not be used for the purposes of determining control of Debtor, the extent
        to which any individual exercised management responsibilities or functions, corporate
        decision-making authority over Debtor, or whether such individual could successfully
        argue that he or she is not an “insider” under applicable law, including the Bankruptcy
        Code, or with respect to any theories of liability or any other purpose.

                           Overview of Methodology and Disclaimers

        1.      Basis of Presentation. The Schedules and SOFA do not purport to represent
 financial statements prepared in accordance with Generally Accepted Accounting Principles in
 the United States (“GAAP”); nor are they intended to reconcile with the Debtor’s publicly
 available financial statements. The Schedules and SOFA contain unaudited information that is
 subject to further review and potential adjustment. The Schedules and SOFA reflect the
 Compilers’ reasonable efforts to report the assets, liabilities, and financial affairs of the Debtor.

         2.      Net Book Value. In certain instances, current market valuations for individual
 items of property and other assets are neither maintained by, readily available to, nor
 ascertainable by the Debtor. Accordingly, unless otherwise indicated, the Schedules and SOFA
 reflect net book values. Market values may vary, sometimes materially, from net book values.
 The Debtor does not have the resources, and believes that it would be an inefficient use of estate
 resources, for the Debtor to obtain the current market values of its assets. Accordingly, the
 Debtor has indicated in the Schedules and SOFA that the values of certain assets and liabilities
 are undetermined. Also, assets that have been fully depreciated or that were expensed for
 accounting purposes either do not appear in the Schedules and SOFA or are listed with a zero-
 dollar value, as such assets have no net book value. The omission of an asset from the Schedules
 and SOFA does not constitute a representation regarding the ownership of such asset, and any
 such omission does not constitute a waiver of any rights of Debtor with respect to such asset.

         3.      Property and Equipment. Unless otherwise indicated, owned property and
 equipment are valued at net book value. The Debtor may lease certain furniture, fixtures, and
 equipment from certain third-party lessors. Nothing in the Schedules and SOFA is, or should be
 construed as, an admission as to the determination of the legal status of any lease (including
 whether any lease is a true lease or a financing arrangement), and Debtor reserves all rights with
 respect thereto.

        4.     Undetermined Amounts. The description of an amount as “unknown,” “TBD,”
 or “undetermined” is not intended to reflect upon the materiality of such amount.




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        5.     Totals. All totals that are included in the Schedules and SOFA represent totals of
 all known amounts. To the extent there are unknown or undetermined amounts, the actual total
 may be different than the listed total.

         6.      Setoffs. The Debtor routinely incur setoffs and net payments in the ordinary
 course of operations. Such setoffs and nettings may occur due to a variety of transactions or
 disputes. It would be unduly burdensome on the Debtor’s limited resources to list each such
 potential transaction, and all such potential setoff claims cannot be reasonably discerned at this
 time. Therefore, although such setoffs and other similar rights may have been accounted for
 when scheduling certain amounts, these ordinary course setoffs are not independently accounted
 for, and as such, are or may be excluded from the Schedules and SOFA. In addition, some
 amounts listed in the Schedules and Statements may have been affected by setoffs or nettings by
 third parties of which Debtor was not aware. The Debtor reserves all rights to challenge any
 setoff and/or recoupment rights that may be asserted.

                                  Specific Schedules Disclosures

         7.      Schedule D – Creditors Holding Secured Claims. The Debtor has not included
 on Schedule D parties that may believe their claims are secured through setoff rights or inchoate
 statutory lien rights. All parties listed on Schedule D were compiled using the most recently
 available information from the Office of the Indiana Secretary of State.

         8.     Schedule E – Creditors Holding Unsecured Priority Claims. The Debtor has
 not listed on Schedule E its employees that received payment of pre-petition wages pursuant to
 the Court’s Interim Order Interim Order Granting First Day Motion For An Order (I)
 Authorizing The Debtor To Pay And Honor Certain Pre-Petition Wages, Benefits, And Other
 Compensation Obligations; And (Ii) Authorizing Financial Institutions To Honor And Process
 Checks And Transfers Related To Such Obligations [Dkt. 58].

         9.      Schedule F – Creditors Holding Unsecured Nonpriority Claims. As of the
 time of filing of the Schedules and SOFA, the Debtor may not have received all invoices for
 payables, expenses, and other liabilities that may have accrued prior to the Petition Date.
 Accordingly, the information contained in Schedules D, E, and F may be incomplete. The Debtor
 reserves its right, but undertakes no obligation, to amend Schedules D, E, and F if and as they
 receive invoices and as the Debtor’s reviews and audits are completed. Additionally, to protect
 the identity of the sexual abuse survivors holding claims against the Debtor, the Debtor
 substituted “Jane Doe” (or variations thereof) in place of such individuals’ actual names. In some
 instances, the Debtor listed the name and address of the counsel representing such individuals.
 The Debtor also redacted the addresses of certain coaches, employees, and independent
 contractors.

         10.    Schedule G – Executory Contracts. While every effort has been made to ensure
 the accuracy of Schedule G, inadvertent errors or omissions may have occurred. Listing a
 contract or agreement on Schedule G does not constitute an admission that such contract or
 agreement is an executory contract or unexpired lease or that such contract or agreement was in
 effect on the Petition Date or is valid or enforceable. The Debtor hereby reserves all of its rights



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 to dispute the validity, status, or enforceability of any contracts, agreements, or leases set forth in
 Schedule G and to amend or supplement Schedule G as necessary.




                                     Specific SOFA Disclosures

        11.     Questions 1 and 2. The amounts listed in response to questions 1 and 2 on the
 Statements have been pulled directly from the Debtor’s audited financial statement for the period
 ending December 31, 2017. They do not represent actual gross revenue and may include items
 properly and otherwise excluded on other public reporting.

        12.    Question 7. In response to question 7 on the SOFA, the Debtor restates and
 incorporate by reference the disclaimer listed under Section 3(f) of the Global Notes and
 Statement of Limitations above.

         13.     Questions 28 and 29. For purposes of identifying officers and directors, the
 Debtor referred to the manner in which those terms are used in its Bylaws. Some of the
 individuals listed in response to questions 28 and 29 no longer serve as an officer or director of
 the Debtor. The listing of a party as an officer or director for purposes of the Schedules and
 SOFA is not intended to be, nor should it be, construed as a legal characterization of such party
 as an insider and does not act as an admission of any fact, right, claim, or defense, and all such
 rights, claims and defenses are hereby expressly reserved. The individuals have been included
 for informational purposes only and such information may not be used for the purposes of
 determining control of Debtor or the extent to which any individual exercised
 management responsibilities or functions, corporate decision making authority over the Debtor.

 Dated: January 18, 2018                                Respectfully submitted,

                                                        JENNER & BLOCK LLP

                                                        By: /s/ Catherine Steege

                                                        Catherine L. Steege (admitted pro hac vice)
                                                        Dean N. Panos (admitted pro hac vice)
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                                                        Counsel for the Debtor




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Debtor Name               USA Gymnastics
United States Bankruptcy Court for the Southern District of Indiana
Case number (if known):                         18-09108

                                                                                                                                                                                  Check if this is an
                                                                                                                                                                                  amended filing


Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                           12/15



  Part 1:         Summary of Assets


  1. Schedule A/B: Assets - Real and Personal Property                                   (Official Form 206A/B)

    1a. Real property:
        Copy line 88 from Schedule A/B.......................................................................................................................                     $77,795.84



    1b. Total personal property:
        Copy line 91A fromSchedule A/B.....................................................................................................................                     $7,062,885.08



    1c. Total of all property:
        Copyline 92 from Schedule A/B.......................................................................................................................                    $7,140,680.92




 Part 2:          Summary of Liabilities




    2.    Schedule D: Creditors Who Have Claims Secured by Property             (Official Form 206D)
          Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D...........................                                                  $272,035.33



    3.    Schedule E/F: Creditors Who Have Unsecured Claims                                      (Official Form 206E/F)


         3a. Total of amounts of priority unsecured claims:
             Copy the total claims from Part 1 from the line 5a of Schedule E/F.............................................................                                             $0.00


         3b. Total amount of claims of nonpriority amount of unsecured claims:
             Copy the total amount of claims from Part 2 from line 5b of Schedule E/F..................................................                                     +   $1,647,152.91




         4.   Total liabilities .........................................................................................................................................       $1,919,188.24
              Lines 2 + 3a + 3b
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Debtor Name            USA Gymnastics
United States Bankruptcy Court for the Southern District of Indiana
Case number (if known):                18-09108
                                                                                                                                     Check if this is an
                                                                                                                                     amended filing
Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                  12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include all
property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have no
book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired
leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases         (Official Form 206G).

Be complete and accurate as possible. If more space is needed, attach a separate spreadsheet to this form. At the top of any pages added, write
the debtor's name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the approriate category or attach separate supporting schedules, such as a fixed asset schedule
or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the debtor's interest,
do not deduct the value of secured claims. See the instructions to understand the terms used in this form.


Part 1:        Cash and cash equivalents




 1.      Does the debtor have any cash or cash equivalents?


            No. Go to Part 2.

            Yes. Fill in the information below.



              All cash of cash equivalents owned or controlled by the debtor                                                          Current value of
                                                                                                                                      debtor's interest
 3.      Checking, savings, money market, or financial brokerage accounts
         Name of institution (bank or brokerage firm)                   Type of account                     Last 4 digits of account number
   3.1       PNC Bank                                                    Merchandise Account                 0228                                $23,243.36
                                                                         Checking

   3.2       PNC Bank                                                    Operating Account                   7647                             $4,052,047.58
                                                                         Checking

   3.3       PNC Bank                                                    Payroll Account                     8792                                 $4,340.05
                                                                         Depository Account

   3.4       PNC Bank                                                    P-Card Collateral Account           2009                              $400,000.00
                                                                         Depository Account

   3.5       PNC Bank                                                    USA Gymnastics Athlete Account      3829                                     $0.00
                                                                         Depository Account

 4.      Other cash equivalents




 5.      Total of Part 1
                                                                                                                                              $4,479,630.99
         Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.


Part 2:        Deposits and prepayments




   Official Form 206A/B                                 Schedule A/B: Assets - Real and Personal Property                                 Page 1
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Debtor USA Gymnastics                                                                               Case Number (if known) 18-09108


6.     Does the debtor have any deposits or prepayments?


          No. Go to Part 3.

          Yes. Fill in the information below.



                                                                                                                              Current value of
                                                                                                                              debtor's interest
7.     Deposits, including security deposits and utility deposits
       Description, including name of holder of deposit



8.     Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
       Description, including name of holder of prepayment
 8.1       Endurance U.S. Insurance                                                                                                      Unknown

 8.2       AAI                                                       Effective Date(s):                                                 $1,876.00
                                                                     08/08/2019 & 2019 Championships

 8.3       American Specialty                                        Effective Date(s):                                               $213,409.00
                                                                     01/01/2019

 8.4       Cision                                                    Effective Date(s):                                                 $6,666.66
                                                                     11/01/2018-10/31/2019

 8.5       FIG                                                       Effective Date(s):                                                $17,530.50
                                                                     2019 American Cup

 8.6       Global Spectrum                                           Effective Date(s):                                                $17,000.00
                                                                     Event-July 19, 2018 &
                                                                     Stars & Stripes 2019

 8.7       Indianapolis Public School                                Effective Date(s):                                                    $793.00
                                                                     02/24/2019

 8.8       Integro                                                   Effective Date(s):                                                    $548.96
                                                                     01/01/2019

 8.9       Mail Finance                                              Effective Date(s):                                                    $471.04
                                                                     12/1/18-2/28/19

 8.10      Maxient                                                   Effective Date(s):                                                 $6,250.00
                                                                     04/20/2018

 8.11      NFP Property & Casualty                                   Effective Date(s):                                                 $4,661.66
                                                                     10/26/2018-10/26/2019

 8.12      SMG-Rhode Island Cov Ctr                                  Effective Date(s):                                                 $3,000.00
                                                                     8/1/19-8/4/19

 8.13      SMG RI Convention Center                                  Effective Date(s):                                                 $3,000.00
                                                                     2019 Reg 6 Fac Rent

 8.14      Sports Graphics                                           Effective Date(s):                                                $20,152.26
                                                                     3/2/2019 & 2019 American Cup

 8.15      The Hartford                                              Effective Date(s):                                                    $855.75
                                                                     01/01/2019

 8.16      The Registration System LLC                               Effective Date(s):                                                 $1,012.50
                                                                     2019 Championships

 8.17      Van Ausdall & Farrar                                      Effective Date(s):                                                 $2,778.56
                                                                     9/25/18-9/24/19




 Official Form 206A/B                                Schedule A/B: Assets - Real and Personal Property                            Page 2
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Debtor USA Gymnastics                                                                                    Case Number (if known) 18-09108


 9.   Total of Part 2
                                                                                                                                               $300,005.89
      Add lines 7 through 8. Copy the total to line 81.


Part 3:      Accounts Receivable




 10. Does the debtor have any accounts receivable?


          No. Go to Part 4.

          Yes. Fill in the information below.



                                                                                                                                         Current value of
                                                                                                                                         debtor's interest
 11. Accounts receivable


      11a. 90 days old or less:                                                -                                    =
                                          face amount                               doubtful or uncollectible accounts
      11b. Over 90 days old:                                      $3,892.05    -                             $0.00 =                              $3,892.05
                                          face amount                               doubtful or uncollectible accounts



 12. Total of Part 3
                                                                                                                                                  $3,892.05
      Current value on lines 11a + 11b = line 12. Copy the total to line 82.


Part 4:      Investments




 13. Does the debtor own any investments?


          No. Go to Part 5.

          Yes. Fill in the information below.



                                                                                                                Valuation method         Current value of
                                                                                                                used for current value   debtor's interest
 14. Mutual funds of publicly traded stocks not included in Part 1
      Name of fund or stock:
   14.1    See attached Schedule A/B Exhibit 16                                                                                               $1,654,320.00

 15. Non-publicly traded stock and interests in incorporated and unincorporated businesses,
     including any interest in an LLC, partnership, or joint venture
      Name of entity:                                             % of ownership:



 16. Government bonds, corporate bonds, and other negotiable and non-negotiable
     instruments not included in Part 1
      Describe:
   16.1    See attached Schedule A/B Exhibit 16                                                                  Market Value                   $197,656.00




   Official Form 206A/B                              Schedule A/B: Assets - Real and Personal Property                                       Page 3
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Debtor USA Gymnastics                                                                              Case Number (if known) 18-09108


 17. Total of Part 4
                                                                                                                                      $1,851,976.00
      Add lines 14 through 16. Copy the total to line 83.


Part 5:      Inventory, excluding agricultural assets




 18. Does the debtor own any inventory (excluding agricultual assets)?


          No. Go to Part 6.

          Yes. Fill in the information below.



           General description                   Date of the last      Net book value of                 Valuation method         Current value of
                                                 physical inventory    debtor's interest                 used for current value   debtor's interest
 19. Raw Materials




 20. Work in progress




 21. Finished goods, including goods held for resale


   21.1   Finished Goods                                                                                                                 $107,108.15

 22. Other inventory or supplies




 23. Total of Part 5
                                                                                                                                        $107,108.15
      Add lines 19 through 22. Copy the total to line 84.




 24. Is any of the property listed in Part 5 perishable?


          No.

          Yes.



 25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?


          No.

          Yes.      Book Value $                            Valuation Method                       Current Value $



 26. Has any of the property listed in Part 5 been appraised by a professional within the last year?




   Official Form 206A/B                              Schedule A/B: Assets - Real and Personal Property                                Page 4
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Debtor USA Gymnastics                                                                                Case Number (if known) 18-09108


          No.

          Yes.



Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)




 27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?


          No. Go to Part 7.

          Yes. Fill in the information below.



           General description                                         Net book value of                   Valution method used   Current value of
                                                                       debtor's interest                   for current value      debtor's interest
 28. Crops - either planted of harvested




 29. Farm animals
      Examples: Livestock, poultry, farm-raised fish



 30. Farm machinery and equipment
      (Other than titled motor vehicles)



 31. Farm and fishing supplies, chemicals, and feed




 32. Other farming and fishing-related property not already listed in Part 6




 33. Total of Part 6
      Add lines 28 through 32. Copy the total to line 85.




 34. Is the debtor a member of an agricultural cooperative?


          No.

          Yes.



      Is any of the debtor's property stored at the cooperative?


          No.

          Yes.




   Official Form 206A/B                                Schedule A/B: Assets - Real and Personal Property                              Page 5
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Debtor USA Gymnastics                                                                                      Case Number (if known) 18-09108




 35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?


          No.

          Yes.      Book Value $                            Valuation Method                               Current Value $



 36. Is a depreciation schedule available for any of the property listed in Part 6?


          No.

          Yes.




 37. Has any of the property listed in Part 6 been appraised by a professional within the last year?


          No.

          Yes.



Part 7:      Office furniture, fixtures, and equipment; and collectibles




 38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?


          No. Go to Part 8.

          Yes. Fill in the information below.



           General description                                           Net book value of                        Valuation method           Current value of
                                                                         debtor's interest                        used for current value     debtor's interest
 39. Office furniture


   39.1   Office Furniture                                             $18,269.10                                  Net Book Value                        $18,269.10

 40. Office fixtures




 41. Office equipment, including all computer equipment and communication systems equipment and software


   41.1   Office Equipment                                             $288,432.90                                 Net Book Value                    $288,432.90

 42. Collectibles
      Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; china and crystal; stamp, coin, or
      baseball card collections; other collections, memorabilia, or collectibles
   42.1   Posters and Miscellaneous Sports Related Memorabilia                                                                                             Unknown



 43. Total of Part 7.
                                                                                                                                                    $306,702.00
      Add lines 39 through 42. Copy the total to line 86.



   Official Form 206A/B                               Schedule A/B: Assets - Real and Personal Property                                          Page 6
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Debtor USA Gymnastics                                                                              Case Number (if known) 18-09108




 44. Is a depreciation schedule available for any of the property listed in Part 7?


          No.

          Yes.




 45. Has any of the property listed in Part 7 been appraised by a professional within the last year?


          No.

          Yes.



Part 8:      Machinery, equipment, and vehicles




 46. Does the debtor own or lease any machinery, equipment, or vehicles?


          No. Go to Part 9.

          Yes. Fill in the information below.



           General description                                         Net book value of                 Valuation method         Current value of
                                                                       debtor's interest                 used for current value   debtor's interest
 47. Automobiles, vans, trucks, motorcycles, trailers, or titled farm vehicles




 48. Watercraft, trailers, motors, and related accessories
      Examples: Boats, trailers, motors, floating homes, personal watercraft, fishing vessels



 49. Aircraft and accessories




 50. Other machinery, fixtures, and equipment (excluding farm machinery and equipment)




 51. Total of Part 8.
      Add lines 47 through 50. Copy the total to line 87.




 52. Is a depreciation schedule available for any of the property listed in Part 8?




   Official Form 206A/B                              Schedule A/B: Assets - Real and Personal Property                                Page 7
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Debtor USA Gymnastics                                                                                    Case Number (if known) 18-09108


          No.

          Yes.




 53. Has any of the property listed in Part 8 been appraised by a professional within the last year?


          No.

          Yes.



Part 9:      Real property




 54. Does the debtor own or lease any real property?


          No. Go to Part 10.

          Yes. Fill in the information below.



 55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest




   55.1   130 E Washington Street,               Property Lease       $0.00                                     Unknown                         $0.00
          Suite 700
          Indianapolis, IN 46204




   55.2   Leasehold Improvements                                      $77,795.84                                Net Book Value             $77,795.84



 56. Total of Part 9.
                                                                                                                                           $77,795.84
      Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.




 57. Is a depreciation schedule available for any of the property listed in Part 9?


          No.

          Yes.




 58. Has any of the property listed in Part 9 been appraised by a professional within the last year?




   Official Form 206A/B                              Schedule A/B: Assets - Real and Personal Property                                 Page 8
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Debtor USA Gymnastics                                                                               Case Number (if known) 18-09108


           No.

           Yes.



Part 10:      Intangibles and intellectual property




 59. Does the debtor have any interests in intangibles or intellectual property?


           No. Go to Part 11.

           Yes. Fill in the information below.



            General description                                       Net book value of                   Valuation method         Current value of
                                                                      debtor's interest                   used for current value   debtor's interest
 60. Patents, copyrights, trademarks, or trade secrets




 61. Internet domain names and websites


   61.1    See attached Schedule A/B Exhibit                         Unknown                              Unknown                            Unknown

 62. Licenses, franchises, and royalties




 63. Customer lists, mailing lists, or other compilations


   63.1    Database of athletes, judges, coaches, member             Unknown                              Unknown                            Unknown
           clubs, and others businesses

 64. Other intangibles, or intellectual property


   64.1    Technical materials for sale on                           Unknown                              Unknown                            Unknown
           Amazon, Apple, and Youtube

 65. Goodwill




 66. Total of Part 10.
      Add lines 60 through 65. Copy the total to line 89.




 67. Do your lists or records include personally identifiable information of customers?


           No.

           Yes.




   Official Form 206A/B                               Schedule A/B: Assets - Real and Personal Property                                Page 9
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Debtor USA Gymnastics                                                                                     Case Number (if known) 18-09108




 68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?


           No.

           Yes.




 69. Has any of the property listed in Part 10 been appraised by a professional within the last year?


           No.

           Yes.



Part 11:      All other assets




 70. Does the debtor own any other assets that have not yet been reported on this form?


           No. Go to Part 12.

           Yes. Fill in the information below.



                                                                                                                                    Current value of
                                                                                                                                    debtor's interest
 71. Notes receivable
      Description (include name of obligor)
                                                                                      -                                  =
                                                                 Total face amount        Doubtful or uncollectible amount
 72. Tax refunds and unused net operating losses (NOLs)
      Description (for example, federal, state, local)
   72.1    Est Tax Deposit Carryforward                                                                           2017                         $823.00

   72.2    UBIT NOL Carryforward                                                                                  2017                       $8,947.00

   72.3    UBIT Estimated Tax Deposit                                                                             2016                       $3,800.00

 73. Interests in insurance policies or annuities
      The Debtor has a property interest in: (1) its current insurance policies and its rights under those policies;
      (b) any prior insurance policies of the Debtor and its rights under those policies; and (3) any insurance
      policies under which the Debtor is or was a third party beneficiary or named an additional insured.


 74. Causes of action against third parties (whether or not a lawsuit has
     been filed)



       Nature of claim
       Amount Requested
 75. Other contingent and unliquidated claims or causes of action of every
     nature, including counterclaims of the debtor and rights to set off
     claims




   Official Form 206A/B                                  Schedule A/B: Assets - Real and Personal Property                              Page 10
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Debtor USA Gymnastics                                                                            Case Number (if known) 18-09108



     Nature of claim
     Amount Requested
76. Trusts, equitable or future interests in property




77. Other property of any kind not already listed
    Examples: Season tickets, country club membership




78. Total of Part 11.
                                                                                                                                   $13,570.00
    Add lines 71 through 77. Copy the total to line 90.




79. Has any of the property listed in Part 11 been appraised by a professional within the last year?


        No.

        Yes.




 Official Form 206A/B                              Schedule A/B: Assets - Real and Personal Property                          Page 11
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Debtor USA Gymnastics                                                                                                           Case Number (if known) 18-09108

Part 12:    Summary

           Type of property                                                                        Current value of                             Current value of
                                                                                                   personal property                            real property


   80. Cash, cash equivalents, and financial assets.              Copy line 5, Part 1.                  $4,479,630.99


   81. Deposits and prepayments.          Copy line 9, Part 2.                                             $300,005.89


   82. Accounts receivable.       Copy line 12, Part 3.                                                        $3,892.05


   83. Investments. Copy line 17, Part 4.                                                               $1,851,976.00


   84. Inventory. Copy line 23, Part 5.                                                                    $107,108.15


   85. Farming and fishing-related assets.         Copy line 33, Part 6.



   86. Office furniture, fixtures, and equipment; and collectibles.                                        $306,702.00
       Copy line 43, Part 7.


   87. Machinery, equipment, and vehicles.             Copy line 51, Part 8.


   88. Real Property.      Copy line 56, Part 9.                                                                                                           $77,795.84



   89. Intangibles and intellectual property.          Copy line 66, Part 10.


   90. All other assets.      Copy line 78, Part 11.                                                         $13,570.00


   91. Total. Add lines 80 through 90 for each column.                                     91a.         $7,062,885.08              +     91b.               $77,795.84



   92. Total of all property on Schedule A/B.          Lines 91a + 91b = 92.................................................................................................   $7,140,680.92




   Official Form 206A/B                                 Schedule A/B: Assets - Real and Personal Property                                                                      Page 12
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           SCHEDULES OF ASSETS AND LIABILITIES


                       EXHIBIT FOR SCHEDULE A/B
                         PART 10, QUESTION 61

             INTERNET DOMAIN NAMES AND WEBSITES
    Case 18-09108-RLM-11                 Doc 205   Filed 01/18/19     EOD 01/18/19 22:22:47            Pg 21 of 190
USA Gymnastics
Case No. 18-09108
Schedule A/B Exhibit: 61. Internet domain names and websites

                                                       Net book value of   Valuation method used for   Current value of
                   General Description
                                                       debtor's interest          current value        debtor's interest
Social Media Sites
https://www.facebook.com/USAGymnastics/                    Unknown                   None                  Unknown
https://www.facebook.com/USAGymMemberServices/             Unknown                   None                  Unknown
https://twitter.com/USAGym                                 Unknown                   None                  Unknown
https://twitter.com/USAGymSafeSport                        Unknown                   None                  Unknown
https://www.instagram.com/usagym/                          Unknown                   None                  Unknown
https://www.linkedin.com/company/usa-gymnastics/           Unknown                   None                  Unknown
Internet Domains
http://americancup.com/                                    Unknown                   None                  Unknown
http://gymnasticsday.com/                                  Unknown                   None                  Unknown
http://gymnasticsfoundation.org/                           Unknown                   None                  Unknown
http://jonationals.com/                                    Unknown                   None                  Unknown
http://pacrimchamps.com/                                   Unknown                   None                  Unknown
http://usagymchamps.com/                                   Unknown                   None                  Unknown
http://usagymclassic.com/                                  Unknown                   None                  Unknown
http://usagymcollegiatechamps.com/                         Unknown                   None                  Unknown
http://usagymcongress.com/                                 Unknown                   None                  Unknown
http://usagymeastern.com/                                  Unknown                   None                  Unknown
http://usagymforms.com/                                    Unknown                   None                  Unknown
http://usagymjudges.com/                                   Unknown                   None                  Unknown
http://usagymlegacy.com/                                   Unknown                   None                  Unknown
http://usagymmedia.com/                                    Unknown                   None                  Unknown
http://usagymparents.com/                                  Unknown                   None                  Unknown
http://usagymprogressreport.com/                           Unknown                   None                  Unknown
http://usagymwestern.com/                                  Unknown                   None                  Unknown
http://usagymworlds.com/                                   Unknown                   None                  Unknown
http://usgymchampionships.com/                             Unknown                   None                  Unknown
http://wintercup.com/                                      Unknown                   None                  Unknown
http://www.uwagym.org                                      Unknown                   None                  Unknown




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           SCHEDULES OF ASSETS AND LIABILITIES


                       EXHIBIT FOR SCHEDULE A/B
                          PART 4, QUESTION 16

     GOVERNMENT BONDS, CORPORATE BONDS, AND OTHER
      NEGOTIABLE AND NON-NEGOTIABLE INSTRUMENTS
                                                                                              Case 18-09108-RLM-11                    Doc 205      Filed 01/18/19          EOD 01/18/19 22:22:47                    Pg 23 of 190




USA GYMNASTICS AGY
Holdings                                                                                                                                                                                             As Of : December 5, 2018


 SHARES(UNITS)      TICKER / CUSIP         SECURITY DESCRIPTION                                 MAT DATE       COUPON          MARKET VALUE      TAX COST       ANNUAL DIVIDEND    ANNUAL INCOME         YIELD      % OF TOTAL


           50,000   02079KAA5        ALPHABET INC                                                5/19/2021           3.62               50,585         50,872                                1,812           3.6%         2.7%

           50,000   037833DJ6        APPLE INC                                                  11/13/2020           2.00               49,012         49,063                                1,000           2.0%         2.6%

          100,000   084664BZ3        BERKSHIRE HATHAWAY FIN                                     10/15/2020           2.90               99,900        103,152                                2,900           2.9%         5.4%

           50,000   30231GAJ1        EXXON MOBIL CORPORATION                                      3/6/2022           2.40               48,476         48,536                                1,198           2.5%         2.6%

          250,000   3130A7CV5        FEDERAL HOME LOAN BANK                                      2/18/2021           1.38              242,032        247,567                                3,438           1.4%        13.1%

          250,000   3130A8QS5        FEDERAL HOME LOAN BANK                                      7/14/2021           1.12              239,415        241,762                                2,812           1.2%        12.9%

          250,000   3135G0Q89        FEDERAL NATL MTG ASSN                                       10/7/2021           1.38              239,788        246,287                                3,438           1.4%        12.9%

          150,000   3135G0S38        FEDERAL NATL MTG ASSN                                        1/5/2022           2.00              146,174        146,050                                3,000           2.1%         7.9%

           50,000   3135G0T29        FEDERAL NATL MTG ASSN                                       2/28/2020           1.50               49,218         49,124                                  750           1.5%         2.7%

           50,000   3135G0T94        FEDERAL NATL MTG ASSN                                       1/19/2023           2.38               48,998         48,698                                1,188           2.4%         2.6%

           50,000   478160BM5        JOHNSON & JOHNSON                                           12/5/2019           1.88               49,469         49,576                                  938           1.9%         2.7%

           50,000   594918BH6        MICROSOFT CORP                                              11/3/2022           2.65               48,835         49,008                                1,325           2.7%         2.6%

           50,000   717081DH3        PFIZER INC                                                  6/15/2023           3.00               49,372         49,432                                1,500           3.0%         2.7%

          100,000   912828G95        USA TREASURY NOTE                                          12/31/2019           1.63               98,789         98,641                                1,625           1.6%         5.3%

          100,000   912828S43        USA TREASURY NOTES                                          7/15/2019           0.75               98,867         98,567                                  750           0.8%         5.3%

           50,000   931142EG4        WALMART INC                                                 6/23/2020           2.85               49,904         50,072                                1,425           2.9%         2.7%

          243,144   999809684        PNC GOVT.                                                                                         243,144        243,144               0.02             5,378           2.2%        13.1%


                                              Grand Total                                                                            1,851,976      1,869,550                               34,477          1.9%       100.0%




                                                    See Important Legal Disclosure at the end of this report



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                                      Case 18-09108-RLM-11                   Doc 205         Filed 01/18/19           EOD 01/18/19 22:22:47                 Pg 24 of 190



       Disclosure


This report is for informational purposes only and is intended to be used as a basis for further discussions with PNC Bank, National Association ("PNC") investment professionals and your legal,
accounting and other financial advisors. This report should not be relied upon by you or any third party for any reason, including, without limitation, to make financial, tax or other decisions.

All account data is as of the date of this report and is subject to change without notice. This report is not the official record of your account or any account activity. Custodian statements are the
official record of account for all purposes. PNC does not represent that the value of account assets in this report is accurate. PNC obtains account asset and valuation information from third
parties once a day. Therefore, the information reflected in this report could be different from information shown for your account on third party websites or statements. PNC may receive
inaccurate initial cost basis information on certain account assets, in which case gains and losses may not be accurate.

This report was prepared using proprietary and third party data and software. All such data is provided on an "as is" basis. PNC assumes no obligation to verify or update such data. The
imprecision of such data, malfunctions of software or other technology and programming inaccuracies could compromise the accuracy of this report. PNC makes no representation or warranty
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consequential or any other damages (including lost profits), even if notified of the possibility of such damages, resulting from the use of such data or software.

Past Performance does not guarantee future results. Month-to-date performance data should not be considered final and is subject to change. Manager Returns are net of PNC management
fees, any sub advisors fees, any manager fees, all mutual fund expenses. Asset based pricing fees are not included in net of fee performance; these fees include custodial fees, ADR fees and
foreign taxes. Unless noted as Total Net of Fees: Total Fund Performance results are gross of fees and include reinvestment of dividends and other account earnings. To obtain performance
results net of fees, reductions would need to be made for account level fees, fund level fees and/or manager level fees, as applicable. If such expenses were reflected, account performance
would be lower. When Total Managed performance is displayed along with the Total Fund performance, the restricted assets of the portfolio are not included in the return of the Total Managed
performance return.

This report includes all PNC accounts of which you individually are the sole or joint owner, as well as other PNC accounts ("Non-Ownership Accounts"), if any, in which you have an interest (for
example as a fiduciary, such as a trustee or executor, or beneficiary of a trust) or for which you are the authorized party to act on behalf of the owner or otherwise have been authorized to see
information. Accordingly, this report may include information regarding one or more Non-Ownership Accounts. This means that the information available to you may reflect both assets of which
you are a sole or joint owner and the assets of those Non-Ownership Accounts, where you may not directly own the trust or other account assets and may not be entitled to receive the income
from the trust or other account. Indices included in this report are for purposes of comparing your returns to the returns on a broad-based index of securities believed to be comparable to the
types of securities held in your account(s). Blended Benchmarks- A time weighted return will calculate the actual weight for each asset class and use the benchmark return for those asset
classes to derive the return.




                                                                                                                                                                                                          2
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Debtor Name            USA Gymnastics
United States Bankruptcy Court for the Southern District of Indiana
Case number (if known):                  18-09108                                                                                                              Check if this is an
                                                                                                                                                               amended filing
Official Form 206D
Schedule D - Creditors Who Have Claims Secured by Property                                                                                                                  12/15

Be as complete and accurate as possible
1. Do any creditors have claims secured by debtor's property?
       No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
   X Yes. Fill in all of the information below.
  Part 1:         List Creditors Who Have Secured Claims
2. List in alphabetical order all creditors who have secured claims.If a creditor has more than one
                                                                                                                                       Amount of Claim            Value of collateral
   secured claim, list the creditor separately for each claim.                                                                           Do not deduct the        that supports this
                                                                                                                                         value of collateral      claim
2.1   Creditor's name                                                  Describe debtor's property that is subject to a lien
      AON PREMIUM FINANCE LLC                                          UNEARNED INSURANCE PREMIUM
                                                                       DUE UNDER THE LLOYDS UMBRELLA                                            $222,285.00               UNKNOWN
      Creditor's mailing address                                       POLICY BO595XL5500018029
      200 E RANDOLPH ST
      CHICAGO, IL 60601
                                                                       Describe the lien


      Creditor's email address, if known
                                                                       Is the creditor an insider or related party?

      Date debt was incurred                                               No
                                                                           Yes
      Last four digits of
      account number
                                                                       Is anyone else liable on this claim?
      Do multiple creditors have an interest in the same
      property?                                                            No
             No                                                            Yes. Fill out Schedule H: Codebtors (Official Form 206H).
              Yes. Specify each creditor, including this               As of the petition filing date, the claim is:
              creditor, and its relative priority.
                                                                           Contingent
                                                                           Unliquidated
                                                                           Disputed




2.2   Creditor's name                                                  Describe debtor's property that is subject to a lien
      THE PNC FINANCIAL SERVICES GROUP                                 PNC OPERATING ACCT
                                                                                                                                                 $30,310.33              $400,000.00
      Creditor's mailing address
      D/B/A PNC BANK, N.A.
      ATTN: DOUGLAS MUNDELL, SR. COUNSEL
      300 FIFTH AVENUE
                                                                       Describe the lien
      PITTSBURGH, PA 15222

      Creditor's email address, if known
                                                                       Is the creditor an insider or related party?

      Date debt was incurred                                               No
                                                                           Yes
      Last four digits of   7647
      account number
                                                                       Is anyone else liable on this claim?
      Do multiple creditors have an interest in the same
      property?                                                            No
             No                                                            Yes. Fill out Schedule H: Codebtors (Official Form 206H).
             Yes. Have you already specified the relative              As of the petition filing date, the claim is:
             priority?
             No. Specify each creditor, including this creditor,           Contingent
             and its relative priority.
                                                                           Unliquidated
                                                                           Disputed
             Yes. The relative priority of creditors is specified on
             lines



3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional                                          $272,035.33
   Page, if any.
 Official Form 206D                                        Schedule D: Creditors Who Have Claims Secured by Property                                  1 of 2
           Case 18-09108-RLM-11                            Doc 205               Filed 01/18/19               EOD 01/18/19 22:22:47                      Pg 26 of 190
Debtor Name           USA Gymnastics                                                                                     Case number (if known): 18-09108


 Part 1:          Additional Page(s)
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the                                      Amount of Claim          Value of collateral
  previous page.                                                                                                                       Do not deduct the        that supports this
                                                                                                                                       value of collateral      claim

2.3   Creditor's name                                                  Describe debtor's property that is subject to a lien
      SHARP BUSINESS SYSTEMS                                           PRINTING EQUIPMENT
                                                                                                                                                 $19,440.00             UNKNOWN
      Creditor's mailing address
      ATTN: MIKE BOWMAN
      7330 E. 86TH STREET
      INDIANAPOLIS, IN 46256
                                                                       Describe the lien

      Creditor's email address, if known
                                                                       Is the creditor an insider or related party?

      Date debt was incurred                                               No
                                                                           Yes
      Last four digits of
      account number
                                                                       Is anyone else liable on this claim?
      Do multiple creditors have an interest in the same
      property?                                                            No
             No                                                            Yes. Fill out Schedule H: Codebtors (Official Form 206H).
             Yes. Have you already specified the relative              As of the petition filing date, the claim is:
             priority?
             No. Specify each creditor, including this creditor,           Contingent
             and its relative priority.
                                                                           Unliquidated
                                                                           Disputed
             Yes. The relative priority of creditors is specified on
             lines




 Official Form 206D                                     Schedule D: Creditors Who Have Claims Secured by Property                                      2 of 2
            Case 18-09108-RLM-11                 Doc 205         Filed 01/18/19            EOD 01/18/19 22:22:47                 Pg 27 of 190
Debtor Name            USA Gymnastics
United States Bankruptcy Court for the Southern District of Indiana
Case number (if known):            18-09108                                                                                         Check if this is an
                                                                                                                                    amended filing
Official Form 206E/F
Schedule E/F - Creditors Who Have Claims Unsecured Claims                                                                                          12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on
Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases
(Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach
the Additional Page of that Part included in this form.

  Part 1:        List All Creditors with PRIORITY Unsecured Claims
1. Do any creditors have priority unsecured claims?
    X No. Go to Part 2.
        Yes. Go to line 2.
2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part.If the debtor has more than
   3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.
                                                                                                               Total claim               Priority amount

2.1    Priority creditor's name and mailing address          As of the petition filing date, the claim is:         #Name?
                                                                                                             $___________                  #Name?
                                                                                                                                     $___________
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
                                                             Basis for the claim:
       Date or dates debt was incurred

                                                             Is the claim subject to offset?
       Last 4 digits of account
       number                                                     No
                                                                  Yes
       Specify Code subsection of PRIORITY unsecured
       claim: 11 U.S.C. § 507(a) (      )




Official Form 206E/F                       Schedule E/F: Creditors Who Have Unsecured Claims                                  1 of 152
            Case 18-09108-RLM-11                Doc 205       Filed 01/18/19          EOD 01/18/19 22:22:47                Pg 28 of 190
Debtor Name            USA Gymnastics                                                            Case number (if known): 18-09108

  Part 2:         List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                               Amount of claim

3.1      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $833.75
         A-1 AWARDS INC.
         2500 NORTH RITTER AVENUE                                           Contingent
         INDIANAPOLIS, IN 46218
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 24019
                                                                         11/16/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.2      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $1,149.00
         A-1 AWARDS INC.
         2500 NORTH RITTER AVENUE                                           Contingent
         INDIANAPOLIS, IN 46218
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 24126
                                                                         11/30/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.3      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               UNKNOWN
         ABOOD LAW FIRM
         RE: MILLER                                                      X Contingent
         ATTN: ANDREW P. ABOOD
         246 EAST SAGINAW ST, STE 1
                                                                         X Unliquidated
         EAST LANSING, MI 48823                                          X Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 LITIGATION



         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.4      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $197.29
         ACKMAN, MARY LOU
         1939 BUTLER DR                                                     Contingent
         BARTLETT, IL 60103
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 NOV DEVO CAMP EXP
                                                                         11/14/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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Debtor Name            USA Gymnastics                                                           Case number (if known): 18-09108

   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                               Amount of claim


3.5      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $1,000.00
         ACKMAN, MARY LOU
         1939 BUTLER DR                                                      Contingent
         BARTLETT, IL 60103
                                                                             Unliquidated
                                                                             Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 NOV DEVO CAMP HONOR
                                                                         11/14/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.6      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $60.57
         ACKMAN, MARY LOU
         1939 BUTLER DR                                                      Contingent
         BARTLETT, IL 60103
                                                                             Unliquidated
                                                                             Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 TOPS CAMP-DEC4 EXP
                                                                         12/20/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.7      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $250.00
         ACKMAN, MARY LOU
         1939 BUTLER DR                                                      Contingent
         BARTLETT, IL 60103
                                                                             Unliquidated
                                                                             Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 TOPS CAMP-DEC4 HONOR
                                                                         12/20/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.8      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $200.28
         AFLAC
         1932 WYNNTON ROAD                                                   Contingent
         COLUMBUS, GA 31999
                                                                             Unliquidated
                                                                             Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 FIDELITY - 12/14 P/R
                                                                         12/13/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                               Amount of claim


3.9      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $24.00
         AHSINGER, NICOLE
         406 SUMMERLAND KEY LANE                                            Contingent
         LAFAYETTE, LA 70508
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 WCHAMP EXPENSE
                                                                         11/6/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.10     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               UNKNOWN
         ALLRED MAROKO & GOLDBERG
         RE: JANE PCNE DOE                                               X Contingent
         ATTN: GLORIA ALLRED
         ATTN: NATHAN GOLDBERG
                                                                         X Unliquidated
         6300 WILSHIRE BLVD, 1500                                        X Disputed
         LOS ANGELES, CA 90048
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 LITIGATION



         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.11     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $350.00
         ALVAREZ, YIN
         ADDRESS REDACTED                                                   Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 L10 JR CAMP HONOR
                                                                         12/5/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.12     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                   $3.50
         ALVEY, CANDACE
         178 TRAIL LOOP DR                                                  Contingent
         UNIT 204
         PADUCAH, KY 42001
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 JCI 11/30 EXPENSE
                                                                         11/30/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.13     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $100.00
         ALVEY, CANDACE
         178 TRAIL LOOP DR                                                   Contingent
         UNIT 204
         PADUCAH, KY 42001
                                                                             Unliquidated
                                                                             Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 JCI 11/30 HONOR
                                                                         11/30/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.14     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $62,116.24
         AMERICAN ATHLETIC, INC
         SUNTRUST BANKS, INC.                                                Contingent
         PO BOX 116847
         ATLANTA, GA 30368-6847
                                                                             Unliquidated
                                                                             Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 313025
                                                                         11/6/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.15     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               UNKNOWN
         ANDERSON AGOSTINO & KELLER, PC
         RE: A.A.K. DOE                                                  X Contingent
         ATTN: MICHAEL P. MISCH
         131 SOUTH TAYLOR ST
                                                                         X Unliquidated
         SOUTH BEND, IN 46601                                            X Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 LITIGATION



         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.16     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               UNKNOWN
         ANDRUS ANDERSON LLP
         RE: FREDERICK                                                   X Contingent
         ATTN: LORI E ANDRUS
         ATTN: JENNIE LEE ANDERSON
                                                                         X Unliquidated
         155 MONTGOMERY ST, STE 900                                      X Disputed
         SAN FRANCISCO, CA 94104
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 LITIGATION



         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.17     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               UNKNOWN
         ANDRUS WAGSTAFF, PC
         RE: JANE KR DOE                                                 X Contingent
         ATTN: KIMBERLY DOUGHERTY
         19 BELMONT ST
                                                                         X Unliquidated
         SOUTH EASTON, MI 02375                                          X Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 LITIGATION



         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.18     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $244.91
         ARAMARK REFRESHMENT SERVICES
         8435 GEORGETOWN RD.                                                 Contingent
         #100
         INDIANAPLOIS, IN 46268
                                                                             Unliquidated
                                                                             Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 7088210
                                                                         1/2/2019


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.19     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $33.67
         ARKELL, STEVE
         903 SILVER SPRUCE ST                                                Contingent
         SAN ANTONIO, TX 78232
                                                                             Unliquidated
                                                                             Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 TOPS A 2018 EXPENSE
                                                                         12/4/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.20     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $2,000.00
         ARKELL, STEVE
         903 SILVER SPRUCE ST                                                Contingent
         SAN ANTONIO, TX 78232
                                                                             Unliquidated
                                                                             Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 TOPS A 2018 HONOR
                                                                         12/4/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                               Amount of claim


3.21     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $1,000.00
         ASHE, MICHAEL
         1262 64TH ST.                                                       Contingent
         EMERYVILLE, CA 94608
                                                                             Unliquidated
                                                                             Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 2018 APP LEAD HONOR
                                                                         12/4/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.22     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $221.39
         ASTOIAN, ARMEN N
         ADDRESS REDACTED                                                    Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 NOV 2018 INV EXPEN
                                                                         11/18/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.23     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $2,000.00
         ASTOIAN, ARMEN N
         ADDRESS REDACTED                                                    Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 NOV 2018 INV HONOR
                                                                         11/18/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.24     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $800.00
         ATHLECTICO LLC
         PO BOX 74007019                                                     Contingent
         CHICAGO, IL 60674
                                                                             Unliquidated
                                                                             Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 815875
                                                                         7/31/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.25     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $600.00
         ATHLECTICO LLC
         PO BOX 74007019                                                     Contingent
         CHICAGO, IL 60674
                                                                             Unliquidated
                                                                             Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 816106
                                                                         8/31/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.26     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $150.00
         ATHLECTICO LLC
         PO BOX 74007019                                                     Contingent
         CHICAGO, IL 60674
                                                                             Unliquidated
                                                                             Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 816375
                                                                         10/15/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.27     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $975.00
         ATHLECTICO LLC
         PO BOX 74007019                                                     Contingent
         CHICAGO, IL 60674
                                                                             Unliquidated
                                                                             Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 816845
                                                                         11/30/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.28     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $7,480.30
         ATHLETE REBATE REGION 1 - MEN'S
         130 E WASHINGTON STREET                                             Contingent
         SUITE 700
         INDIANAPOLIS, IN 46204
                                                                             Unliquidated
                                                                             Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 ATHLETE REBATES TO STATE AND REGION



         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                                  Amount of claim


3.29     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                $2,492.50
         ATHLETE REBATE REGION 1 - RHYTHMIC
         130 E WASHINGTON STREET                                               Contingent
         SUITE 700
         INDIANAPOLIS, IN 46204
                                                                               Unliquidated
                                                                               Disputed
                                                                            Basis for the claim:
         Date or dates debt was incurred                                    ATHLETE REBATES TO STATE AND REGION



         Last 4 digits of account number                                    Is the claim subject to offset?
                                                                                 No
                                                                                 Yes




3.30     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                $3,309.10
         ATHLETE REBATE REGION 1 - T&T
         130 E WASHINGTON STREET                                               Contingent
         SUITE 700
         INDIANAPOLIS, IN 46204
                                                                               Unliquidated
                                                                               Disputed
                                                                            Basis for the claim:
         Date or dates debt was incurred                                    ATHLETE REBATES TO STATE AND REGION



         Last 4 digits of account number                                    Is the claim subject to offset?
                                                                                 No
                                                                                 Yes




3.31     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:               $39,166.10
         ATHLETE REBATE REGION 1 - WOMEN'S
         130 E WASHINGTON STREET                                               Contingent
         SUITE 700
         INDIANAPOLIS, IN 46204
                                                                               Unliquidated
                                                                               Disputed
                                                                            Basis for the claim:
         Date or dates debt was incurred                                    ATHLETE REBATES TO STATE AND REGION



         Last 4 digits of account number                                    Is the claim subject to offset?
                                                                                 No
                                                                                 Yes




3.32     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                $2,938.20
         ATHLETE REBATE REGION 2 - MEN'S
         130 E WASHINGTON STREET                                               Contingent
         SUITE 700
         INDIANAPOLIS, IN 46204
                                                                               Unliquidated
                                                                               Disputed
                                                                            Basis for the claim:
         Date or dates debt was incurred                                    ATHLETE REBATES TO STATE AND REGION



         Last 4 digits of account number                                    Is the claim subject to offset?
                                                                                 No
                                                                                 Yes




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                                                                                                                                  Amount of claim


3.33     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                 $926.10
         ATHLETE REBATE REGION 2 - RHYTHMIC
         130 E WASHINGTON STREET                                               Contingent
         SUITE 700
         INDIANAPOLIS, IN 46204
                                                                               Unliquidated
                                                                               Disputed
                                                                            Basis for the claim:
         Date or dates debt was incurred                                    ATHLETE REBATES TO STATE AND REGION



         Last 4 digits of account number                                    Is the claim subject to offset?
                                                                                 No
                                                                                 Yes




3.34     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                $2,986.00
         ATHLETE REBATE REGION 2 - T&T
         130 E WASHINGTON STREET                                               Contingent
         SUITE 700
         INDIANAPOLIS, IN 46204
                                                                               Unliquidated
                                                                               Disputed
                                                                            Basis for the claim:
         Date or dates debt was incurred                                    ATHLETE REBATES TO STATE AND REGION



         Last 4 digits of account number                                    Is the claim subject to offset?
                                                                                 No
                                                                                 Yes




3.35     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:               $17,388.10
         ATHLETE REBATE REGION 2 - WOMEN'S
         130 E WASHINGTON STREET                                               Contingent
         SUITE 700
         INDIANAPOLIS, IN 46204
                                                                               Unliquidated
                                                                               Disputed
                                                                            Basis for the claim:
         Date or dates debt was incurred                                    ATHLETE REBATES TO STATE AND REGION



         Last 4 digits of account number                                    Is the claim subject to offset?
                                                                                 No
                                                                                 Yes




3.36     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                $7,325.40
         ATHLETE REBATE REGION 3 - MEN'S
         130 E WASHINGTON STREET                                               Contingent
         SUITE 700
         INDIANAPOLIS, IN 46204
                                                                               Unliquidated
                                                                               Disputed
                                                                            Basis for the claim:
         Date or dates debt was incurred                                    ATHLETE REBATES TO STATE AND REGION



         Last 4 digits of account number                                    Is the claim subject to offset?
                                                                                 No
                                                                                 Yes




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                                                                                                                                  Amount of claim


3.37     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                $1,372.00
         ATHLETE REBATE REGION 3 - RHYTHMIC
         130 E WASHINGTON STREET                                               Contingent
         SUITE 700
         INDIANAPOLIS, IN 46204
                                                                               Unliquidated
                                                                               Disputed
                                                                            Basis for the claim:
         Date or dates debt was incurred                                    ATHLETE REBATES TO STATE AND REGION



         Last 4 digits of account number                                    Is the claim subject to offset?
                                                                                 No
                                                                                 Yes




3.38     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                $4,945.40
         ATHLETE REBATE REGION 3 - T&T
         130 E WASHINGTON STREET                                               Contingent
         SUITE 700
         INDIANAPOLIS, IN 46204
                                                                               Unliquidated
                                                                               Disputed
                                                                            Basis for the claim:
         Date or dates debt was incurred                                    ATHLETE REBATES TO STATE AND REGION



         Last 4 digits of account number                                    Is the claim subject to offset?
                                                                                 No
                                                                                 Yes




3.39     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:               $38,114.00
         ATHLETE REBATE REGION 3 - WOMEN'S
         130 E WASHINGTON STREET                                               Contingent
         SUITE 700
         INDIANAPOLIS, IN 46204
                                                                               Unliquidated
                                                                               Disputed
                                                                            Basis for the claim:
         Date or dates debt was incurred                                    ATHLETE REBATES TO STATE AND REGION



         Last 4 digits of account number                                    Is the claim subject to offset?
                                                                                 No
                                                                                 Yes




3.40     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                $3,917.80
         ATHLETE REBATE REGION 4 - MEN'S
         130 E WASHINGTON STREET                                               Contingent
         SUITE 700
         INDIANAPOLIS, IN 46204
                                                                               Unliquidated
                                                                               Disputed
                                                                            Basis for the claim:
         Date or dates debt was incurred                                    ATHLETE REBATES TO STATE AND REGION



         Last 4 digits of account number                                    Is the claim subject to offset?
                                                                                 No
                                                                                 Yes




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                                                                                                                                  Amount of claim


3.41     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                $2,060.00
         ATHLETE REBATE REGION 4 - RHYTHMIC
         130 E WASHINGTON STREET                                               Contingent
         SUITE 700
         INDIANAPOLIS, IN 46204
                                                                               Unliquidated
                                                                               Disputed
                                                                            Basis for the claim:
         Date or dates debt was incurred                                    ATHLETE REBATES TO STATE AND REGION



         Last 4 digits of account number                                    Is the claim subject to offset?
                                                                                 No
                                                                                 Yes




3.42     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                $4,573.40
         ATHLETE REBATE REGION 4 - T&T
         130 E WASHINGTON STREET                                               Contingent
         SUITE 700
         INDIANAPOLIS, IN 46204
                                                                               Unliquidated
                                                                               Disputed
                                                                            Basis for the claim:
         Date or dates debt was incurred                                    ATHLETE REBATES TO STATE AND REGION



         Last 4 digits of account number                                    Is the claim subject to offset?
                                                                                 No
                                                                                 Yes




3.43     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:               $26,314.20
         ATHLETE REBATE REGION 4 - WOMEN'S
         130 E WASHINGTON STREET                                               Contingent
         SUITE 700
         INDIANAPOLIS, IN 46204
                                                                               Unliquidated
                                                                               Disputed
                                                                            Basis for the claim:
         Date or dates debt was incurred                                    ATHLETE REBATES TO STATE AND REGION



         Last 4 digits of account number                                    Is the claim subject to offset?
                                                                                 No
                                                                                 Yes




3.44     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                $6,823.30
         ATHLETE REBATE REGION 5 - MEN'S
         130 E WASHINGTON STREET                                               Contingent
         SUITE 700
         INDIANAPOLIS, IN 46204
                                                                               Unliquidated
                                                                               Disputed
                                                                            Basis for the claim:
         Date or dates debt was incurred                                    ATHLETE REBATES TO STATE AND REGION



         Last 4 digits of account number                                    Is the claim subject to offset?
                                                                                 No
                                                                                 Yes




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Debtor Name            USA Gymnastics                                                              Case number (if known): 18-09108

   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                                  Amount of claim


3.45     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                $1,599.20
         ATHLETE REBATE REGION 5 - RHYTHMIC
         130 E WASHINGTON STREET                                               Contingent
         SUITE 700
         INDIANAPOLIS, IN 46204
                                                                               Unliquidated
                                                                               Disputed
                                                                            Basis for the claim:
         Date or dates debt was incurred                                    ATHLETE REBATES TO STATE AND REGION



         Last 4 digits of account number                                    Is the claim subject to offset?
                                                                                 No
                                                                                 Yes




3.46     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                $3,365.30
         ATHLETE REBATE REGION 5 - T&T
         130 E WASHINGTON STREET                                               Contingent
         SUITE 700
         INDIANAPOLIS, IN 46204
                                                                               Unliquidated
                                                                               Disputed
                                                                            Basis for the claim:
         Date or dates debt was incurred                                    ATHLETE REBATES TO STATE AND REGION



         Last 4 digits of account number                                    Is the claim subject to offset?
                                                                                 No
                                                                                 Yes




3.47     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:               $46,190.70
         ATHLETE REBATE REGION 5 - WOMEN'S
         130 E WASHINGTON STREET                                               Contingent
         SUITE 700
         INDIANAPOLIS, IN 46204
                                                                               Unliquidated
                                                                               Disputed
                                                                            Basis for the claim:
         Date or dates debt was incurred                                    ATHLETE REBATES TO STATE AND REGION



         Last 4 digits of account number                                    Is the claim subject to offset?
                                                                                 No
                                                                                 Yes




3.48     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                $2,923.20
         ATHLETE REBATE REGION 6 - MEN'S
         130 E WASHINGTON STREET                                               Contingent
         SUITE 700
         INDIANAPOLIS, IN 46204
                                                                               Unliquidated
                                                                               Disputed
                                                                            Basis for the claim:
         Date or dates debt was incurred                                    ATHLETE REBATES TO STATE AND REGION



         Last 4 digits of account number                                    Is the claim subject to offset?
                                                                                 No
                                                                                 Yes




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Debtor Name            USA Gymnastics                                                              Case number (if known): 18-09108

   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                                  Amount of claim


3.49     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                $1,674.10
         ATHLETE REBATE REGION 6 - RHYTHMIC
         130 E WASHINGTON STREET                                               Contingent
         SUITE 700
         INDIANAPOLIS, IN 46204
                                                                               Unliquidated
                                                                               Disputed
                                                                            Basis for the claim:
         Date or dates debt was incurred                                    ATHLETE REBATES TO STATE AND REGION



         Last 4 digits of account number                                    Is the claim subject to offset?
                                                                                 No
                                                                                 Yes




3.50     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                $3,658.60
         ATHLETE REBATE REGION 6 - T&T
         130 E WASHINGTON STREET                                               Contingent
         SUITE 700
         INDIANAPOLIS, IN 46204
                                                                               Unliquidated
                                                                               Disputed
                                                                            Basis for the claim:
         Date or dates debt was incurred                                    ATHLETE REBATES TO STATE AND REGION



         Last 4 digits of account number                                    Is the claim subject to offset?
                                                                                 No
                                                                                 Yes




3.51     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:               $37,713.10
         ATHLETE REBATE REGION 6 - WOMEN'S
         130 E WASHINGTON STREET                                               Contingent
         SUITE 700
         INDIANAPOLIS, IN 46204
                                                                               Unliquidated
                                                                               Disputed
                                                                            Basis for the claim:
         Date or dates debt was incurred                                    ATHLETE REBATES TO STATE AND REGION



         Last 4 digits of account number                                    Is the claim subject to offset?
                                                                                 No
                                                                                 Yes




3.52     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                $8,296.60
         ATHLETE REBATE REGION 7 - MEN'S
         130 E WASHINGTON STREET                                               Contingent
         SUITE 700
         INDIANAPOLIS, IN 46204
                                                                               Unliquidated
                                                                               Disputed
                                                                            Basis for the claim:
         Date or dates debt was incurred                                    ATHLETE REBATES TO STATE AND REGION



         Last 4 digits of account number                                    Is the claim subject to offset?
                                                                                 No
                                                                                 Yes




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Debtor Name            USA Gymnastics                                                             Case number (if known): 18-09108

   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                                 Amount of claim


3.53     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:               $41,862.70
         ATHLETE REBATE REGION 7 - WOMEN'S
         130 E WASHINGTON STREET                                              Contingent
         SUITE 700
         INDIANAPOLIS, IN 46204
                                                                              Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:
         Date or dates debt was incurred                                   ATHLETE REBATES TO STATE AND REGION



         Last 4 digits of account number                                   Is the claim subject to offset?
                                                                                No
                                                                                Yes




3.54     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $7,341.50
         ATHLETE REBATE REGION 8 - MEN'S
         130 E WASHINGTON STREET                                              Contingent
         SUITE 700
         INDIANAPOLIS, IN 46204
                                                                              Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:
         Date or dates debt was incurred                                   ATHLETE REBATES TO STATE AND REGION



         Last 4 digits of account number                                   Is the claim subject to offset?
                                                                                No
                                                                                Yes




3.55     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:               $52,175.30
         ATHLETE REBATE REGION 8 - WOMEN'S
         130 E WASHINGTON STREET                                              Contingent
         SUITE 700
         INDIANAPOLIS, IN 46204
                                                                              Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:
         Date or dates debt was incurred                                   ATHLETE REBATES TO STATE AND REGION



         Last 4 digits of account number                                   Is the claim subject to offset?
                                                                                No
                                                                                Yes




3.56     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $3,061.40
         ATHLETE REBATE REGION 9 - MEN'S
         130 E WASHINGTON STREET                                              Contingent
         SUITE 700
         INDIANAPOLIS, IN 46204
                                                                              Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:
         Date or dates debt was incurred                                   ATHLETE REBATES TO STATE AND REGION



         Last 4 digits of account number                                   Is the claim subject to offset?
                                                                                No
                                                                                Yes




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Debtor Name            USA Gymnastics                                                           Case number (if known): 18-09108

   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                               Amount of claim


3.57     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $800.00
         ATHLETICO, LTD
         625 ENTERPRISE DRIVE                                               Contingent
         OAKBROOK, IL 60523
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 815875
                                                                         12/20/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.58     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $600.00
         ATHLETICO, LTD
         625 ENTERPRISE DRIVE                                               Contingent
         OAKBROOK, IL 60523
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 816106
                                                                         12/20/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.59     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $1,960.74
         AXIA TECHNOLOGY PARTNERS
         151 N DELAWARE ST                                                  Contingent
         SUITE 1750
         INDIANAPOLIS, IN 46204
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 169881
                                                                         11/30/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.60     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $958.28
         AXIA TECHNOLOGY PARTNERS
         151 N DELAWARE ST                                                  Contingent
         SUITE 1750
         INDIANAPOLIS, IN 46204
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 170196
                                                                         12/31/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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Debtor Name            USA Gymnastics                                                           Case number (if known): 18-09108

   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                               Amount of claim


3.61     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $1,000.00
         BAGGETT, MEGAN
         3434 CRAYRICH DRIVE                                                Contingent
         HOOVER, AL 35226
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 NOV 2018 INV HONOR
                                                                         11/14/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.62     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $250.00
         BAGGETT, MEGAN
         3434 CRAYRICH DRIVE                                                Contingent
         HOOVER, AL 35226
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 TOPS CAMP-DEC4 HONOR
                                                                         12/20/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.63     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $2,200.00
         BAKER, DANIEL
         ADDRESS REDACTED                                                   Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 NOV NT CAMP '18 HON
                                                                         11/28/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.64     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $145.06
         BAKER, DANIEL
         ADDRESS REDACTED                                                   Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 NOV NT CAMP EXPENSE
                                                                         11/28/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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Debtor Name            USA Gymnastics                                                           Case number (if known): 18-09108

   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                               Amount of claim


3.65     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $202.87
         BALERUD, LAURIE
         5151 W. 29TH ST.                                                   Contingent
         #411
         GREELY, CO 80634
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 NOV 2018 DEV EXPENSE
                                                                         11/14/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.66     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $1,000.00
         BALERUD, LAURIE
         5151 W. 29TH ST.                                                   Contingent
         #411
         GREELY, CO 80634
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 NOV 2018 DEV HONOR
                                                                         11/14/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.67     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $197.88
         BALERUD, LAURIE
         5151 W. 29TH ST.                                                   Contingent
         #411
         GREELY, CO 80634
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 TOPS CAMP-DEC4 EXP
                                                                         12/20/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.68     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $250.00
         BALERUD, LAURIE
         5151 W. 29TH ST.                                                   Contingent
         #411
         GREELY, CO 80634
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 TOPS CAMP-DEC4 HONOR
                                                                         12/20/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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Debtor Name            USA Gymnastics                                                           Case number (if known): 18-09108

   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                               Amount of claim


3.69     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $65.00
         BARNARD, TERESA
         1250 NATOMA WAY                                                    Contingent
         UNIT C
         OCEANSIDE, CA 92057
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 JCI 8/18 HONOR/PD
                                                                         8/18/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.70     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $95.70
         BARUTYAN-FONG, ARMINE
         ADDRESS REDACTED                                                   Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 JR PAN AM EXPENSE
                                                                         6/17/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.71     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $381.25
         BARUTYAN-FONG, ARMINE
         ADDRESS REDACTED                                                   Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 SR PANAM EXPENSE
                                                                         9/17/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.72     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $542.09
         BARUTYAN-FONG, ARMINE
         ADDRESS REDACTED                                                   Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 WORLD CHAMPS EXPENSE
                                                                         11/4/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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Debtor Name            USA Gymnastics                                                           Case number (if known): 18-09108

   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                               Amount of claim


3.73     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $11,333.00
         BARUTYAN-FONG, ARMINE
         ADDRESS REDACTED                                                   Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 WORLD OPGOLD/MTEAM
                                                                         11/30/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.74     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $1,000.00
         BARUTYAN-FONG, ARMINE
         ADDRESS REDACTED                                                   Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 WORLDS CLUB SUPPORT
                                                                         11/13/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.75     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $101.78
         BAXTER, DANIELLE
         56 TUXETTE ROAD                                                    Contingent
         THORNTON, NH 03285
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 JCI 11/10 EXPENSE
                                                                         11/10/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.76     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $50.00
         BAXTER, DANIELLE
         56 TUXETTE ROAD                                                    Contingent
         THORNTON, NH 03285
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 JCI 11/10 HONOR
                                                                         11/10/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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Debtor Name            USA Gymnastics                                                             Case number (if known): 18-09108

   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                                 Amount of claim


3.77     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $960.00
         BENCHMARK REHABILITATION PARTNERS
         PO BOX 2314                                                          Contingent
         OOLTEWAH, TN 37363
                                                                              Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:
         Date or dates debt was incurred                                   USA-003
                                                                           10/15/2018


         Last 4 digits of account number                                   Is the claim subject to offset?
                                                                                No
                                                                                Yes




3.78     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $960.00
         BENCHMARK REHABILITATION PARTNERS
         PO BOX 2314                                                          Contingent
         OOLTEWAH, TN 37363
                                                                              Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:
         Date or dates debt was incurred                                   USA-004
                                                                           11/19/2018


         Last 4 digits of account number                                   Is the claim subject to offset?
                                                                                No
                                                                                Yes




3.79     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $1,537.50
         BENCHMARK REHABILITATION PARTNERS
         PO BOX 2314                                                          Contingent
         OOLTEWAH, TN 37363
                                                                              Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:
         Date or dates debt was incurred                                   USA-005
                                                                           11/21/2018


         Last 4 digits of account number                                   Is the claim subject to offset?
                                                                                No
                                                                                Yes




3.80     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $2,400.00
         BENCHMARK REHABILITATION PARTNERS
         PO BOX 2314                                                          Contingent
         OOLTEWAH, TN 37363
                                                                              Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:
         Date or dates debt was incurred                                   USA-006
                                                                           11/27/2018


         Last 4 digits of account number                                   Is the claim subject to offset?
                                                                                No
                                                                                Yes




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Debtor Name            USA Gymnastics                                                                   Case number (if known): 18-09108

   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                                       Amount of claim


3.81     Nonpriority creditor's name and mailing address                        As of the petition filing date, the claim is:                 $840.00
         BENCHMARK REHABILITATION PARTNERS
         PO BOX 2314                                                                Contingent
         OOLTEWAH, TN 37363
                                                                                    Unliquidated
                                                                                    Disputed
                                                                                 Basis for the claim:
         Date or dates debt was incurred                                         USA-006C
                                                                                 11/19/2018


         Last 4 digits of account number                                         Is the claim subject to offset?
                                                                                      No
                                                                                      Yes




3.82     Nonpriority creditor's name and mailing address                        As of the petition filing date, the claim is:               UNKNOWN
         BERG & ANDROPHY
         RE: BMK TRAINING FACILITIES, LTD, ET AL                                 X Contingent
         ATTN: DAVID H. BERG
         ATTN: JOEL M. ANDROPHY
                                                                                 X Unliquidated
         3704 TRAVIS ST                                                          X Disputed
         HOUSTON, TX 77002
                                                                                 Basis for the claim:
         Date or dates debt was incurred                                         LITIGATION



         Last 4 digits of account number                                         Is the claim subject to offset?
                                                                                      No
                                                                                      Yes




3.83     Nonpriority creditor's name and mailing address                        As of the petition filing date, the claim is:                  $44.00
         BLILIE, MARILYN
         5919 MAHOTEA BOONE TR.                                                     Contingent
         WESTLAKE, TX 76262
                                                                                    Unliquidated
                                                                                    Disputed
                                                                                 Basis for the claim:
         Date or dates debt was incurred                                         JCI 10/24 EXPENSE
                                                                                 10/24/2018


         Last 4 digits of account number                                         Is the claim subject to offset?
                                                                                      No
                                                                                      Yes




3.84     Nonpriority creditor's name and mailing address                        As of the petition filing date, the claim is:                 $100.00
         BLILIE, MARILYN
         5919 MAHOTEA BOONE TR.                                                     Contingent
         WESTLAKE, TX 76262
                                                                                    Unliquidated
                                                                                    Disputed
                                                                                 Basis for the claim:
         Date or dates debt was incurred                                         JCI 10/24 HONOR
                                                                                 10/24/2018


         Last 4 digits of account number                                         Is the claim subject to offset?
                                                                                      No
                                                                                      Yes




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Debtor Name            USA Gymnastics                                                           Case number (if known): 18-09108

   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                               Amount of claim


3.85     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $2,842.39
         BMI
         PO BOX 630893                                                      Contingent
         CINCINNATI, OH 45263-0893
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 1239517/11-20-18
                                                                         11/20/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.86     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $59.00
         BOONE, PAMELA RENNER
         68169 EDGEWATER BEACH RD                                           Contingent
         WHITE PIGEON, MI 49099
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 NOV 2018 DEV EXPENSE
                                                                         11/18/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.87     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $1,000.00
         BOONE, PAMELA RENNER
         68169 EDGEWATER BEACH RD                                           Contingent
         WHITE PIGEON, MI 49099
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 NOV 2018 DEV HONOR
                                                                         11/18/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.88     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $59.00
         BOONE, PAMELA RENNER
         68169 EDGEWATER BEACH RD                                           Contingent
         WHITE PIGEON, MI 49099
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 NOV 2018 INV EXPENSE
                                                                         11/18/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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Debtor Name            USA Gymnastics                                                           Case number (if known): 18-09108

   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                               Amount of claim


3.89     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $1,000.00
         BOONE, PAMELA RENNER
         68169 EDGEWATER BEACH RD                                           Contingent
         WHITE PIGEON, MI 49099
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 NOV 2018 INV HONOR
                                                                         11/18/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.90     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $60.00
         BOWER, ALLAN CARL
         1817 PARKRIDGE DR                                                  Contingent
         NORMAN, OK 73071
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 WORLDS EXPENSE
                                                                         11/4/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.91     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               UNKNOWN
         BRAUN KENDRICK FINKBEINER, PLC
         RE: JANE KRA DOE                                                X Contingent
         ATTN: JAMIE HECHT NISIDIS
         4301 FASHION SQUARE BLVD
                                                                         X Unliquidated
         SAGINAW, MI 48603                                               X Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 LITIGATION



         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.92     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $550.00
         BROOKS, MIA ELAINE
         157 CHARLIE GREENLEE ROAD                                          Contingent
         RUTLEDGE, TN 37861
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 TOPS A 12/1-4 HONOR
                                                                         12/4/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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Debtor Name            USA Gymnastics                                                           Case number (if known): 18-09108

   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                               Amount of claim


3.93     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $60.00
         BROWN, CHRISTINA
         ADDRESS REDACTED                                                   Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 RHY OPEN CAMP EXP
                                                                         12/9/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.94     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $1,000.00
         BROWN, CHRISTINA
         ADDRESS REDACTED                                                   Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 RHY OPEN CMP HONOR
                                                                         12/9/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.95     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $18.00
         BROWN, KADEN
         14328 S GRAND MEADOW CIRCLE                                        Contingent
         HERRIMAN, UT 84096
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 WCHAMPS EXPENSE
                                                                         11/6/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.96     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $24.00
         BROWN, REBECCA JEAN
         1289 N 500 W                                                       Contingent
         LEHI, UT 84043
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 WCHAMPS EXPENSE
                                                                         11/6/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                               Amount of claim


3.97     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               UNKNOWN
         BUCKFIRE & BUCKFIRE, PC
         RE: CAMPBELL ET AL.                                             X Contingent
         ATTN: ROBERT J. LANTZY
         29000 INKSTER RD, STE 150
                                                                         X Unliquidated
         SOUTHFIELD, MI 48034                                            X Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 LITIGATION



         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.98     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $1,000.00
         BURNS, GALINA G
         ADDRESS REDACTED                                                   Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 LEVEL 1/2 HONOR
                                                                         12/11/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.99     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $1,000.00
         BURNS, GALINA G
         ADDRESS REDACTED                                                   Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 RHY OPEN CAMP HONOR
                                                                         12/9/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.100    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $1,000.00
         BURNS, GALINA G
         ADDRESS REDACTED                                                   Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 WARMUP EDUC DEVEL
                                                                         12/11/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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Debtor Name            USA Gymnastics                                                           Case number (if known): 18-09108

   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                               Amount of claim


3.101    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $113.58
         BUSEMAN, JEANELLE
         23472 190TH STREET                                                 Contingent
         ROCKFORD, IA 50468
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 JCI 12/1 EXPENSE
                                                                         12/1/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.102    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $65.00
         BUSEMAN, JEANELLE
         23472 190TH STREET                                                 Contingent
         ROCKFORD, IA 50468
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 JCI 12/1 HONOR/PD
                                                                         12/1/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.103    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $27.00
         CAIN, DANIELLE
         7000 W PALMETTO PARK RD                                            Contingent
         SUITE 210
         BOCA RATON, FL 33433
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 DUPL PAYMENT
                                                                         10/16/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.104    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $66.52
         CALDWELL, JANA
         695 TIMBER RIDGE CIRCLE                                            Contingent
         SHERIDAN, AR 72150
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 JCI 12/1 EXPENSE
                                                                         12/1/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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Debtor Name            USA Gymnastics                                                           Case number (if known): 18-09108

   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                               Amount of claim


3.105    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $65.00
         CALDWELL, JANA
         695 TIMBER RIDGE CIRCLE                                            Contingent
         SHERIDAN, AR 72150
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 JCI 12/1 HONOR/PD
                                                                         12/1/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.106    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $500.00
         CALLAHAN, WILLIAM F
         85 LEXINGTON STREET                                                Contingent
         UNIT #1
         HANSON, MA 02341
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 2018 APP LEAD HONOR
                                                                         12/4/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.107    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $1,900.94
         CAREY INTERNATIONAL, INC.
         ACF FINCO I LP                                                     Contingent
         PO BOX 931994
         ATLANTA, GA 31193
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 76241106
                                                                         11/29/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.108    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $1,360.41
         CAREY INTERNATIONAL, INC.
         ACF FINCO I LP                                                     Contingent
         PO BOX 931994
         ATLANTA, GA 31193
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 S0724089
                                                                         12/3/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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Debtor Name            USA Gymnastics                                                           Case number (if known): 18-09108

   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                               Amount of claim


3.109    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $14.42
         CARMODY, HEATHER
         10225 SNOW IRIS WAY                                                Contingent
         SANDY, UT 84092
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 JCI 11/30 EXPENSE
                                                                         11/30/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.110    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $50.00
         CARMODY, HEATHER
         10225 SNOW IRIS WAY                                                Contingent
         SANDY, UT 84092
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 JCI 11/30 HONOR
                                                                         11/30/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.111    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $2,104.74
         CARSON, KATHRYN
         34 OVERLOOK DRIVE                                                  Contingent
         CHAPPAQUA, NY 10514
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 12/3-6 OFFICE VISIT
                                                                         12/6/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.112    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $366.52
         CHAMBERS, KATHY
         3424 LOCH RIDGE DRIVE                                              Contingent
         BIRMINGHAM, AL 35216
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 NOV 2018 INV EXPENSE
                                                                         11/18/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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Debtor Name            USA Gymnastics                                                           Case number (if known): 18-09108

   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                               Amount of claim


3.113    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $1,000.00
         CHAMBERS, KATHY
         3424 LOCH RIDGE DRIVE                                               Contingent
         BIRMINGHAM, AL 35216
                                                                             Unliquidated
                                                                             Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 NOV 2018 INV HONOR
                                                                         11/18/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.114    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $128.52
         CHAMBERS, KATHY
         3424 LOCH RIDGE DRIVE                                               Contingent
         BIRMINGHAM, AL 35216
                                                                             Unliquidated
                                                                             Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 TOPS CAMP-DEC4 EXP
                                                                         12/20/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.115    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $250.00
         CHAMBERS, KATHY
         3424 LOCH RIDGE DRIVE                                               Contingent
         BIRMINGHAM, AL 35216
                                                                             Unliquidated
                                                                             Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 TOPS CAMP-DEC4 HONOR
                                                                         12/20/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.116    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $887.67
         CHAMPION RX
         5481 COMMERCIAL DRIVE                                               Contingent
         #B
         HUNTINGTON BEACH, CA 92649
                                                                             Unliquidated
                                                                             Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 5230
                                                                         11/9/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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Debtor Name            USA Gymnastics                                                           Case number (if known): 18-09108

   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                               Amount of claim


3.117    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               UNKNOWN
         CHARFOOS & CHRISTENSEN, PC
         RE: BUCHANAN ET AL.                                             X Contingent
         ATTN: DAVID W CHRISTENSEN
         ATTN: MARY PAT ROSEN
                                                                         X Unliquidated
         26622 WOODWARD AVE, STE 100                                     X Disputed
         ROYAL OAK, MI 48067
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 LITIGATION



         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.118    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $27.00
         CHAU, KRISTIN
         28050 CARAWAY LANE                                                 Contingent
         SANTA CLARITA, CA 91350
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 INCORRECT MEMBERSHIP
                                                                         9/14/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.119    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $204.00
         CHENG, JOHN
         137 DANBURY RD. #141                                               Contingent
         NEW MILFORD, CT 06776
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 WORLDS EXPENSE
                                                                         11/4/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.120    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $3,920.00
         CHENG, JOHN
         137 DANBURY RD. #141                                               Contingent
         NEW MILFORD, CT 06776
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 WORLDS HONOR/PD
                                                                         11/4/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                               Amount of claim


3.121    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $120.00
         CHERUP, NAOMI
         4029 KEATS DR                                                      Contingent
         TROY, MI 48085
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 TOPS 8/3 HONOR
                                                                         8/3/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.122    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               UNKNOWN
         CHURCHWYBLE PC, A DIVISION OF GREWAL LAW, PLLC
         RE: BOYCE, ET AL.                                               X Contingent
         ATTN: MANVIR S GREWAL/DAVID S MITTLEMAN
         ATTN: NOLAN ERICKSON/JOHN FRASER/JONATHAN BROWN
                                                                         X Unliquidated
         2290 SCIENCE PKWY                                               X Disputed
         OKEMOS, MI 48864
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 LITIGATION



         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.123    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               UNKNOWN
         CLENDENING JOHNSON & BOHRER, P.C
         RE: MIHAEL ANTON                                                X Contingent
         ATTN: LONNIE JOHNSON/CHEYENNE RIKER
         409 W PATTERSON DR, STE 205
                                                                         X Unliquidated
         P.O. BOX 428                                                    X Disputed
         BLOOMINGTON, IN 47402
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 LITIGATION



         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.124    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                   $6.70
         CLEVELAND-CHILDS, KRISTIN
         12209 INGLEHURST DRIVE                                             Contingent
         RALEIGH, NC 27613
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 TT JCI 10/20 EXPENSE
                                                                         10/20/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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Debtor Name            USA Gymnastics                                                           Case number (if known): 18-09108

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                                                                                                                               Amount of claim


3.125    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $420.00
         CLEVELAND-CHILDS, KRISTIN
         12209 INGLEHURST DRIVE                                             Contingent
         RALEIGH, NC 27613
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 TT JCI 10/20 HONOR
                                                                         10/20/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.126    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $113.40
         COLE, DUREE L
         1848 N ADAMS STREET                                                Contingent
         SOUTH BEND, IN 46628
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 TOPS CAMP-DEC4 EXP
                                                                         12/20/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.127    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $1,000.00
         COLE, DUREE L
         1848 N ADAMS STREET                                                Contingent
         SOUTH BEND, IN 46628
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 TOPS CAMP-DEC4 HONOR
                                                                         12/20/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.128    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $74.35
         COLE, LORETTA
         3411 LATHROP ST.                                                   Contingent
         STE. A
         FAIRBANKS, AK 99701
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 JCI 11/11 EXPENSE
                                                                         11/11/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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Debtor Name            USA Gymnastics                                                            Case number (if known): 18-09108

   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                                Amount of claim


3.129    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                   $65.00
         COLE, LORETTA
         3411 LATHROP ST.                                                   Contingent
         STE. A
         FAIRBANKS, AK 99701
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 JCI 11/11 HONOR/PD
                                                                         11/11/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.130    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $41,584.25
         CONGRESS REGION 1
         130 E WASHINGTON STREET                                            Contingent
         SUITE 700
         INDIANAPOLIS, IN 46204
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 SPLIT OF PROFITS AND SILENT AUCTION DUE TO REGION



         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.131    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $5,238.36
         CONGRESS REGION 2
         130 E WASHINGTON STREET                                            Contingent
         SUITE 700
         INDIANAPOLIS, IN 46204
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 SPLIT OF PROFITS AND SILENT AUCTION DUE TO REGION



         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.132    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $13,921.99
         CONGRESS REGION 3
         130 E WASHINGTON STREET                                            Contingent
         SUITE 700
         INDIANAPOLIS, IN 46204
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 SPLIT OF PROFITS AND SILENT AUCTION DUE TO REGION



         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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Debtor Name            USA Gymnastics                                                            Case number (if known): 18-09108

   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                                Amount of claim


3.133    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $15,672.70
         CONGRESS REGION 4
         130 E WASHINGTON STREET                                            Contingent
         SUITE 700
         INDIANAPOLIS, IN 46204
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 SPLIT OF PROFITS AND SILENT AUCTION DUE TO REGION



         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.134    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $20,000.00
         CONGRESS REGION 5
         130 E WASHINGTON STREET                                            Contingent
         SUITE 700
         INDIANAPOLIS, IN 46204
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 SPLIT OF PROFITS AND SILENT AUCTION DUE TO REGION



         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.135    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $28,056.53
         CONGRESS REGION 8
         130 E WASHINGTON STREET                                            Contingent
         SUITE 700
         INDIANAPOLIS, IN 46204
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 SPLIT OF PROFITS AND SILENT AUCTION DUE TO REGION



         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.136    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $207.86
         CONNER, PATTI
         7401 TOPEKA AVE                                                    Contingent
         LUBBOCK, TX 79424
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 TT WORLDS EXPENSE
                                                                         11/14/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                               Amount of claim


3.137    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $500.00
         CORBITT, JONATHAN
         787 BYRD AVENUE                                                    Contingent
         BRIDGEWATER, NJ 08807
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 2018 APP LEAD HONOR
                                                                         12/4/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.138    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $38.71
         CORRIGAN, GEOFFREY
         1000 S STATE STREET                                                Contingent
         ANN ARBOR, MI 48109
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 DEC1-4 WINTER CUP
                                                                         12/1/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.139    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $27.00
         COWEN, JEFF
         1362 GILMORE LAKE RD                                               Contingent
         SUTH LAKE TAHOE, CA 96150
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 DUPL PAYMENT
                                                                         10/11/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.140    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $27.00
         COWEN, JEFF
         1362 GILMORE LAKE RD                                               Contingent
         SUTH LAKE TAHOE, CA 96150
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 DUPL PAYMENT
                                                                         10/11/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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Debtor Name            USA Gymnastics                                                           Case number (if known): 18-09108

   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                               Amount of claim


3.141    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $12.00
         CRAWFORD, CAITLYN
         12810 TOURNAMENT DR                                                Contingent
         RESTON, VA 20191
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 WCHAMPS EXPENSE
                                                                         11/6/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.142    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $500.00
         CURTH, MICHAEL
         8 LUBBER STREET                                                    Contingent
         STONY BROOK, NY 11790
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 2018 APP LEAD HONOR
                                                                         12/4/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.143    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                   $6.70
         CUTILLO, BARBARA
         4072 DARIUS DR                                                     Contingent
         ENOLA, PA 17025
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 JCI 11/12 EXPENSE
                                                                         11/12/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.144    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $50.00
         CUTILLO, BARBARA
         4072 DARIUS DR                                                     Contingent
         ENOLA, PA 17025
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 JCI 11/12 HONOR
                                                                         11/12/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                                 Amount of claim


3.145    Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $200.00
         DAVIS, EMILY F
         9614 LIMESTONE POND                                                  Contingent
         SAN ANTONIO, TX 78254
                                                                              Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:
         Date or dates debt was incurred                                   DECEMBER EXPENSE
                                                                           12/3/2018


         Last 4 digits of account number                                   Is the claim subject to offset?
                                                                                No
                                                                                Yes




3.146    Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:               UNKNOWN
         DAWID & GATTI PLLC
         RE: ALI                                                           X Contingent
         ATTN: MICHAEL J. GATTI
         402 W LIBERTY ST
                                                                           X Unliquidated
         ANN ARBOR, MI 48103                                               X Disputed
                                                                           Basis for the claim:
         Date or dates debt was incurred                                   LITIGATION



         Last 4 digits of account number                                   Is the claim subject to offset?
                                                                                No
                                                                                Yes




3.147    Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:               UNKNOWN
         DEBORAH GORDON LAW
         RE: P.S. DOE                                                      X Contingent
         ATTN: DEBORAH L. GORDON
         33 BLOOMFIELD HILLS PKWY, STE 220
                                                                           X Unliquidated
         BLOOMFIELD HILLS, MI 48304                                        X Disputed
                                                                           Basis for the claim:
         Date or dates debt was incurred                                   LITIGATION



         Last 4 digits of account number                                   Is the claim subject to offset?
                                                                                No
                                                                                Yes




3.148    Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                  $24.30
         DEWANE, MARIAN
         P.O. BOX 2137                                                        Contingent
         BOISE, ID 83701
                                                                              Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:
         Date or dates debt was incurred                                   JCI 11/16 EXPENSE
                                                                           11/16/2018


         Last 4 digits of account number                                   Is the claim subject to offset?
                                                                                No
                                                                                Yes




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                                                                                                                               Amount of claim


3.149    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $115.00
         DEWANE, MARIAN
         P.O. BOX 2137                                                      Contingent
         BOISE, ID 83701
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 JCI 11/16 HONOR/PD
                                                                         11/16/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.150    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $122.43
         DEWEERD, SHERYL J
         5833 W BRADSHAW RD                                                 Contingent
         LUDINGTON, MI 49431
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 NOV 2018 DEV EXPENSE
                                                                         11/18/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.151    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $1,000.00
         DEWEERD, SHERYL J
         5833 W BRADSHAW RD                                                 Contingent
         LUDINGTON, MI 49431
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 NOV 2018 DEV HONOR
                                                                         11/14/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.152    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $197.42
         DEWEERD, SHERYL J
         5833 W BRADSHAW RD                                                 Contingent
         LUDINGTON, MI 49431
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 NOV 2018 INV EXPENSE
                                                                         11/18/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.153    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $1,000.00
         DEWEERD, SHERYL J
         5833 W BRADSHAW RD                                                 Contingent
         LUDINGTON, MI 49431
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 NOV 2018 INV HONOR
                                                                         11/18/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.154    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $427.96
         DIAB, ALEX M
         ADDRESS REDACTED                                                   Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 NOV EXPENSES
                                                                         11/25/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.155    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               UNKNOWN
         DOE
                                                                         X Contingent
                                                                         X Unliquidated
                                                                         X Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 LITIGATION



         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.156    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $59.00
         DUARTE, JOCELYN
         421 S BIXEL STREET                                                 Contingent
         SUITE A
         LOS ANGELES, CA 90017
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MBRSHP DUPL PYMT
                                                                         8/21/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.157    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                   $6.70
         EBERHARDT, BRENDA
         4008 ELLEN DRIVE                                                   Contingent
         MARRERO, LA 70072-6222
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 JCI 11/10 EXPENSE
                                                                         11/10/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.158    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $50.00
         EBERHARDT, BRENDA
         4008 ELLEN DRIVE                                                   Contingent
         MARRERO, LA 70072-6222
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 JCI 11/10 HONOR
                                                                         11/10/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.159    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $27.00
         EDLUND, STACEY
         2806 E OBSIDIAN AVE                                                Contingent
         POST FALLS, ID 83854
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MBRSHIP REFUND
                                                                         11/26/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.160    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               UNKNOWN
         EFRAIN GONZALEZ JR.
         RE: EFRAIN GONZALEZ JR.                                         X Contingent
         1168 BEASLEY HILLS LANE
         HOUSTON, TX 77008
                                                                         X Unliquidated
                                                                         X Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 LITIGATION



         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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Debtor Name            USA Gymnastics                                                           Case number (if known): 18-09108

   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                               Amount of claim


3.161    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $163.27
         ELFENBEIN, MYRA
         8806 CHURCH FIELD LANE                                              Contingent
         LAUREL, MD 207089
                                                                             Unliquidated
                                                                             Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 TECH MEETING EXPENSE
                                                                         12/11/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.162    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $2,140.13
         ELITE SPORTSWEAR, L.P.
         PO BOX 16400                                                        Contingent
         READING, PA 19612-6400
                                                                             Unliquidated
                                                                             Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 828591
                                                                         11/5/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.163    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $468.00
         ELITE SPORTSWEAR, L.P.
         PO BOX 16400                                                        Contingent
         READING, PA 19612-6400
                                                                             Unliquidated
                                                                             Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 830436
                                                                         11/8/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.164    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                   $7.00
         ELY, JEANA
         2305 COUNTY ROAD 1222                                               Contingent
         BLANCHARD, OK 73010
                                                                             Unliquidated
                                                                             Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 JCI 11/30 EXPENSE
                                                                         11/30/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                               Amount of claim


3.165    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $50.00
         ELY, JEANA
         2305 COUNTY ROAD 1222                                              Contingent
         BLANCHARD, OK 73010
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 JCI 11/30 HONOR
                                                                         11/30/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.166    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $76.80
         EM KAY SKY LLC
         906 S WOOSTER STREET                                               Contingent
         #301
         LOS ANGELES, CA 90035
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 RHY SR PAN AM EXP
                                                                         10/2/2016


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.167    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $500.00
         EM KAY SKY LLC
         906 S WOOSTER STREET                                               Contingent
         #301
         LOS ANGELES, CA 90035
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 RHY SR PAN AM HONOR
                                                                         10/2/2016


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.168    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                   $9.16
         ENGLEDOW GROUP
         1100 EAST 116TH ST.                                                Contingent
         CARMEL, IN 46032
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 514888 DEC1-4
                                                                         12/1/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.169    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $2,152.35
         ENTERPRISE SERVICES
         PO BOX 402383                                                       Contingent
         ATLANTA, GA 30384
                                                                             Unliquidated
                                                                             Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 18321627
                                                                         11/19/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.170    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $1,758.57
         ENTERPRISE SERVICES
         PO BOX 402383                                                       Contingent
         ATLANTA, GA 30384
                                                                             Unliquidated
                                                                             Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 19090215
                                                                         10/29/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.171    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $528.49
         ENTERPRISE SERVICES
         PO BOX 402383                                                       Contingent
         ATLANTA, GA 30384
                                                                             Unliquidated
                                                                             Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 19392683
                                                                         11/26/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.172    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $1,202.46
         ENTERPRISE SERVICES
         PO BOX 402383                                                       Contingent
         ATLANTA, GA 30384
                                                                             Unliquidated
                                                                             Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 19480183
                                                                         12/3/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                               Amount of claim


3.173    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $2,208.49
         ENTERPRISE SERVICES
         PO BOX 402383                                                      Contingent
         ATLANTA, GA 30384
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 19554181-A
                                                                         12/10/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.174    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $118.00
         EPIC GYMNASTICS
         4688 S COMMERCE DR                                                 Contingent
         MURRAY, UT 84107
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 CK OVERAGE
                                                                         10/4/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.175    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $45.77
         EVANS, PAMELA GODWARD
         8030 E. AVALON DR.                                                 Contingent
         SCOTTSDALE, AZ 85251
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 JCI 11/30 EXPENSE
                                                                         11/30/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.176    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $115.00
         EVANS, PAMELA GODWARD
         8030 E. AVALON DR.                                                 Contingent
         SCOTTSDALE, AZ 85251
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 JCI 11/30 HONOR/PD
                                                                         11/30/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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Debtor Name            USA Gymnastics                                                              Case number (if known): 18-09108

   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                                  Amount of claim


3.177    Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                  $59.00
         EVEREST, REGINA
         6035 6TH PLACE                                                         Contingent
         VERO BEACH, FL 32968
                                                                                Unliquidated
                                                                                Disputed
                                                                            Basis for the claim:
         Date or dates debt was incurred                                    DUPL PAYMENT REFUND
                                                                            11/27/2018


         Last 4 digits of account number                                    Is the claim subject to offset?
                                                                                 No
                                                                                 Yes




3.178    Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                 $300.00
         FEDERATION INTE DE GYMNASTIQUE FIG
         RUE DES OEUCHES 10                                                     Contingent
         CASE POSTALE 359
         FRANCE
                                                                                Unliquidated
                                                                                Disputed
                                                                            Basis for the claim:
         Date or dates debt was incurred                                    63376
                                                                            11/26/2018


         Last 4 digits of account number                                    Is the claim subject to offset?
                                                                                 No
                                                                                 Yes




3.179    Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                 $300.00
         FEDERATION INTE DE GYMNASTIQUE FIG
         RUE DES OEUCHES 10                                                     Contingent
         CASE POSTALE 359
         FRANCE
                                                                                Unliquidated
                                                                                Disputed
                                                                            Basis for the claim:
         Date or dates debt was incurred                                    63382
                                                                            11/27/2018


         Last 4 digits of account number                                    Is the claim subject to offset?
                                                                                 No
                                                                                 Yes




3.180    Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                 $300.00
         FEDERATION INTE DE GYMNASTIQUE FIG
         RUE DES OEUCHES 10                                                     Contingent
         CASE POSTALE 359
         FRANCE
                                                                                Unliquidated
                                                                                Disputed
                                                                            Basis for the claim:
         Date or dates debt was incurred                                    63477
                                                                            12/7/2018


         Last 4 digits of account number                                    Is the claim subject to offset?
                                                                                 No
                                                                                 Yes




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Debtor Name            USA Gymnastics                                                             Case number (if known): 18-09108

   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                                 Amount of claim


3.181    Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $300.00
         FEDOSOV, OLEG
         6512 W 130TH AVENUE                                                  Contingent
         CEDAR LAKE, IN 46303
                                                                              Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:
         Date or dates debt was incurred                                   DUPL PYMT CK 59540
                                                                           6/20/2014


         Last 4 digits of account number                                   Is the claim subject to offset?
                                                                                No
                                                                                Yes




3.182    Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $1,250.00
         FEELEY, CAMILLA
         254 RED OAK LANE                                                     Contingent
         HIGHLAND PARK, IL 60035
                                                                              Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:
         Date or dates debt was incurred                                   CHOREO REIMBURSE
                                                                           10/10/2018


         Last 4 digits of account number                                   Is the claim subject to offset?
                                                                                No
                                                                                Yes




3.183    Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:               UNKNOWN
         FIEGER LAW
         RE: ESPINOSA                                                      X Contingent
         ATTN: TODD J. WEGLARZ
         19390 W 10 MILE RD
                                                                           X Unliquidated
         SOUTHFIELD, MI 48075                                              X Disputed
                                                                           Basis for the claim:
         Date or dates debt was incurred                                   LITIGATION



         Last 4 digits of account number                                   Is the claim subject to offset?
                                                                                No
                                                                                Yes




3.184    Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:               UNKNOWN
         FIEGER, FIEGER, KENNEY & HARRINGTON, PC
         RE: KOWALSKI                                                      X Contingent
         ATTN: GEOFFREY N FIEGER
         ATTN: JAMES J. HARRINGTON
                                                                           X Unliquidated
         19390 WEST 10 MILE RD                                             X Disputed
         SOUTHFIELD, MI 48075
                                                                           Basis for the claim:
         Date or dates debt was incurred                                   LITIGATION



         Last 4 digits of account number                                   Is the claim subject to offset?
                                                                                No
                                                                                Yes




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Debtor Name            USA Gymnastics                                                           Case number (if known): 18-09108

   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                               Amount of claim


3.185    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $75.00
         FINALFORMS
         442 WALTERS ROAD                                                   Contingent
         CHAGRIN FALLS, OH 44022
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 003554CC
                                                                         12/15/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.186    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $21,333.00
         FIRST STATE GYMNASTICS
         ADDRESS REDACTED                                                   Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 WORLD OPGOLD/MTEAM
                                                                         11/30/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.187    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $59.00
         FITZSIMMONS, TIM
         13801 ARTIC AVENUE                                                 Contingent
         ROCKVILLE, MD 20853
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 DUPL PAYMENT
                                                                         11/2/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.188    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $37,480.04
         FLEISHMANHILLARD INC
         PO BOX 771733                                                      Contingent
         ST LOUIS, MO 63177
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 1797415
                                                                         11/26/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                               Amount of claim


3.189    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $60.00
         FLOYD, CIARA
         14030 FM 1560                                                      Contingent
         APT 2108
         HELOTES, TX 78023
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 TOPS 8/4 HONOR
                                                                         8/4/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.190    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $60.00
         FORBES, HEATHER M
         1170 WHITE CHAPEL                                                  Contingent
         ALGONGUIN, IL 60102
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 NOV DEVO CAMP EXP
                                                                         11/14/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.191    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $1,000.00
         FORBES, HEATHER M
         1170 WHITE CHAPEL                                                  Contingent
         ALGONGUIN, IL 60102
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 NOV DEVO CAMP HONOR
                                                                         11/14/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.192    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $30.00
         FORBES, HEATHER M
         1170 WHITE CHAPEL                                                  Contingent
         ALGONGUIN, IL 60102
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 TOPS CAMP-DEC4 EXP
                                                                         12/20/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.193    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $250.00
         FORBES, HEATHER M
         1170 WHITE CHAPEL                                                  Contingent
         ALGONGUIN, IL 60102
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 TOPS CAMP-DEC4 HONOR
                                                                         12/20/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.194    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $51.60
         FORGAN, CHEVONNE
         196 OLD MILITARY ROAD                                              Contingent
         LAKE PLACID, NY 12946
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 WAGC CAMP HONOR
                                                                         9/5/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.195    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $24.00
         FRANKE, AMBER
         4316 CHARLES COURT                                                 Contingent
         HILLIARD, OH 43026
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 WCHAMPS EXPENSE
                                                                         11/6/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.196    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $268.00
         G3 GLOBAL SERVICES
         1951 N MILITARY TRAIL                                              Contingent
         SUITE D
         WEST PALM BEACH, FL 33409
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 USAGYMRUS-EXP
                                                                         11/16/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.197    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $352.84
         GALLARDO, CHRISTIAN
         ADDRESS REDACTED                                                   Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 WRLD SELECT EXPENSE
                                                                         10/13/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.198    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $35,935.55
         GALT HOUSE HOTEL
         140 N FOURTH STREET                                                Contingent
         LOUISVILLE, KY 40202
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 9015 REG 5 CONGRESS
                                                                         9/26/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.199    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $350.00
         GARDNER, BETH
         7613 W FM 93                                                       Contingent
         BELTON, TX 76513
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 R102 12/2 HONOR/PD
                                                                         12/2/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.200    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $293.51
         GARDNER, BETH
         7613 W FM 93                                                       Contingent
         BELTON, TX 76513
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 R301 12/1 EXPENSE
                                                                         12/1/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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Debtor Name            USA Gymnastics                                                           Case number (if known): 18-09108

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                                                                                                                               Amount of claim


3.201    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $350.00
         GARDNER, BETH
         7613 W FM 93                                                       Contingent
         BELTON, TX 76513
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 R301 12/1 HONOR/PD
                                                                         12/1/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.202    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $100.00
         GATSCHET, KATHERINE
         3609 SW RANDOLPH AVENUE                                            Contingent
         TOPEKA, KS 66611
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 JCI 12/01 HONOR
                                                                         12/1/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.203    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                   $6.70
         GATSCHET, KATHERINE
         3609 SW RANDOLPH AVENUE                                            Contingent
         TOPEKA, KS 66611
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 JCI 12/1 EXPENSE
                                                                         12/1/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.204    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $59.00
         GAWRON, LAURA
         62236 CLOVERLEAF DRIVE                                             Contingent
         EAST AMBERST, NY 14051
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 DUPL PAYMENT
                                                                         10/15/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                               Amount of claim


3.205    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $1,105.00
         GERBER CIANO KELLY BRADY LLP
         228 PARK AVE SOUTH                                                 Contingent
         SUITE 97572
         NEW YORK, NY 10003
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 04479
                                                                         11/20/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.206    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $18.00
         GESUELLI, CODY
         904 WILLOWBROOK DR SE                                              Contingent
         APT 2
         HUNTSVILLE, AL 07748
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 WCHAMPS EXPENSE
                                                                         11/6/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.207    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $3,000.00
         GLIELMI, THOMAS
         ADDRESS REDACTED                                                   Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 WORLD MAKING TEAM
                                                                         11/30/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.208    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $8,500.00
         GLOBAL SPECTRUM
         650 OKEECHOBEE BLVD                                                Contingent
         WEST PALM BEACH, FL 33401
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 01-071719
                                                                         1/3/2019


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                               Amount of claim


3.209    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $873.98
         GLUCKSTEIN, JEFFREY
         60 OCEAN BOULEVARD                                                 Contingent
         ATLANTIC HIGHLANDS, NJ 07716
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 NOV 2018 TRAINING
                                                                         12/10/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.210    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               UNKNOWN
         GOLDMAN SCARLATO & PENNY, PC
         RE: JANE LB DOE ET AL.                                          X Contingent
         ATTN: MELISSA FRY HAGUE
         8 TOWER BRIDGE
                                                                         X Unliquidated
         161 WASHINGTON ST, STE 1025                                     X Disputed
         CONSHOHOCKEN, PA 19428
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 LITIGATION



         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.211    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               UNKNOWN
         GOWER LAW PLC
         RE: LADRIGUE                                                    X Contingent
         ATTN: JESSICA ROSE RIEFFEL
         514 E MIDLAND ST
                                                                         X Unliquidated
         BAY CITY, MI 48706                                              X Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 LITIGATION



         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.212    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $50.00
         GRAYSON, DIANNE
         907 W. KROLL AVE.                                                  Contingent
         GILBERT, AZ 85033
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 JCI 11/30 HONOR
                                                                         11/30/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                               Amount of claim


3.213    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               UNKNOWN
         GRUEL MILLS NIMS & PYLMAN PLLC
         RE: WAMPLER ET AL.                                              X Contingent
         ATTN: THOMAS R. BEHM
         99 MONROE AVE, N.W, STE 800
                                                                         X Unliquidated
         GRAND RAPIDS, MI 49503                                          X Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 LITIGATION



         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.214    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               UNKNOWN
         GRUEL MILLS NIMS & PYLMAN PLLC
         RE: JANE N. DOE                                                 X Contingent
         ATTN: THOMAS R. BEHM
         99 MONROE AVE, N.W, STE 800
                                                                         X Unliquidated
         GRAND RAPIDS, MI 49503                                          X Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 LITIGATION



         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.215    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               UNKNOWN
         GRUEL MILLS NIMS & PYLMAN PLLC
         RE: JANES A AND B DOE ET AL.                                    X Contingent
         ATTN: THOMAS R. BEHM
         99 MONROE AVE, N.W, STE 800
                                                                         X Unliquidated
         GRAND RAPIDS, MI 49503                                          X Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 LITIGATION



         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.216    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $450.00
         GYMNASTICS GURU CONSULTING
         20 BOTT LANE                                                       Contingent
         TOWACO, NJ 07082
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REG 4 CONG HONOR
                                                                         6/17/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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Debtor Name            USA Gymnastics                                                           Case number (if known): 18-09108

   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                               Amount of claim


3.217    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $125.00
         H2H SERVICES LLC
         ADDRESS REDACTED                                                   Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 NOV SHOSTAK TRAIN
                                                                         12/1/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.218    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $125.00
         H2H SERVICES LLC
         ADDRESS REDACTED                                                   Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OCT SHOSTAK TRAIN
                                                                         11/1/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.219    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $50.00
         H2H SERVICES LLC
         ADDRESS REDACTED                                                   Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 SHOSTAK NOV 2018
                                                                         12/1/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.220    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $175.00
         H2H SERVICES LLC
         ADDRESS REDACTED                                                   Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 SHOSTAK SEPT TRAIN
                                                                         10/1/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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Debtor Name            USA Gymnastics                                                           Case number (if known): 18-09108

   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                               Amount of claim


3.221    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $27.00
         HALFMANN, LYNN
         PO BOX 181328                                                      Contingent
         DENVER, CO 80218
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 DUPL PAYMENT
                                                                         10/19/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.222    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $17.36
         HALL, HEIDI
         PO BOX 385                                                         Contingent
         SANGERVILLE, ME 04479
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 JCI 11/25 EXPENSE
                                                                         11/25/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.223    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $50.00
         HALL, HEIDI
         PO BOX 385                                                         Contingent
         SANGERVILLE, ME 04479
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 JCI 11/25 HONOR
                                                                         11/25/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.224    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $24.00
         HALLWIG, BOB
         9200 GAITHER ROAD                                                  Contingent
         GAITHERSBURG, MD 20877
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 WCHAMPS EXPENSE
                                                                         11/6/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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Debtor Name            USA Gymnastics                                                           Case number (if known): 18-09108

   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                               Amount of claim


3.225    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $77.76
         HAMILTON, CHERYL
         21 ARIZONA STATE DR                                                Contingent
         NEWARK, DE 19713
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 NOV '18 NT CAMP EXP
                                                                         11/28/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.226    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $1,700.00
         HAMILTON, CHERYL
         21 ARIZONA STATE DR                                                Contingent
         NEWARK, DE 19713
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 NOV 18 NT CAMP HONOR
                                                                         11/28/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.227    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $127.43
         HAMILTON, CHERYL
         21 ARIZONA STATE DR                                                Contingent
         NEWARK, DE 19713
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 WMN COMM MTG EXP
                                                                         11/12/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.228    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $186.40
         HAMILTON, CHERYL
         21 ARIZONA STATE DR                                                Contingent
         NEWARK, DE 19713
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 WORLDS EXPENSES
                                                                         11/10/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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Debtor Name            USA Gymnastics                                                           Case number (if known): 18-09108

   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                               Amount of claim


3.229    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $27.00
         HANEY, JILL
         5 COLUMBIA DR REAR                                                 Contingent
         WILLIAMSVILLE, NY 14221
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 DUPL PAYMENT
                                                                         10/16/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.230    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $500.00
         HANEY, MAGGIE
         ADDRESS REDACTED                                                   Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 COACH SUPPORT
                                                                         10/15/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.231    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $11,333.00
         HANEY, MAGGIE
         ADDRESS REDACTED                                                   Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 WORLD OPGOLD/MTEAM
                                                                         11/30/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.232    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                    $2.89
         HANFORD, DEANNA
         14798 LAURELWOOD STREET                                            Contingent
         POWAY, CA 92064
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 TT JCI 11/4 EXPENSE
                                                                         11/4/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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Debtor Name            USA Gymnastics                                                           Case number (if known): 18-09108

   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                               Amount of claim


3.233    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $630.00
         HANFORD, DEANNA
         14798 LAURELWOOD STREET                                            Contingent
         POWAY, CA 92064
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 TT JCI 11/4 HONOR
                                                                         11/4/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.234    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $500.00
         HATTERSLEY, ADAM ROGER
         5833 TULIP FLOWER DRIVE                                            Contingent
         RIVERVIEW, FL 33578
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 2018 APP LEAD HONOR
                                                                         12/4/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.235    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $43.60
         HAWK, RAYETTA
         3206 LUPINE DRIVE                                                  Contingent
         INDIANAPOLIS, IN 46224
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 TOPS CAMP-DEC4 EXP
                                                                         12/20/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.236    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $1,000.00
         HAWK, RAYETTA
         3206 LUPINE DRIVE                                                  Contingent
         INDIANAPOLIS, IN 46224
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 TOPS CAMP-DEC4 HONOR
                                                                         12/20/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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Debtor Name            USA Gymnastics                                                           Case number (if known): 18-09108

   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                               Amount of claim


3.237    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $60.24
         HAWK, RENEE
         8039 STATE PARK                                                    Contingent
         CENTER LINE, MI 48015
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 TOPS CAMP-DEC4 EXP
                                                                         12/20/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.238    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $1,000.00
         HAWK, RENEE
         8039 STATE PARK                                                    Contingent
         CENTER LINE, MI 48015
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 TOPS CAMP-DEC4 HONOR
                                                                         12/20/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.239    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $433.30
         HEBERT, DANTE
         9402 GARRETT RD                                                    Contingent
         MAURICE, LA 70555
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 CA/NV TDC HONOR
                                                                         10/27/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.240    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                   $6.70
         HEBERT, DANTE
         9402 GARRETT RD                                                    Contingent
         MAURICE, LA 70555
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 TT JCI 10/27 EXPENSE
                                                                         10/27/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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Debtor Name            USA Gymnastics                                                           Case number (if known): 18-09108

   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                               Amount of claim


3.241    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $60.00
         HEBERT, DANTE
         9402 GARRETT RD                                                    Contingent
         MAURICE, LA 70555
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 TT JCI 10/27 HONOR
                                                                         10/27/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.242    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                   $6.70
         HEBERT, DANTE
         9402 GARRETT RD                                                    Contingent
         MAURICE, LA 70555
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 TT JCI 10/6 EXPENSE
                                                                         10/6/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.243    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $360.00
         HEBERT, DANTE
         9402 GARRETT RD                                                    Contingent
         MAURICE, LA 70555
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 TT JCI 10/6 HONOR
                                                                         10/6/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.244    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                   $6.70
         HEBERT, DANTE
         9402 GARRETT RD                                                    Contingent
         MAURICE, LA 70555
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 TT JCI 11/17 EXPENSE
                                                                         11/17/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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Debtor Name            USA Gymnastics                                                           Case number (if known): 18-09108

   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                               Amount of claim


3.245    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $390.00
         HEBERT, DANTE
         9402 GARRETT RD                                                     Contingent
         MAURICE, LA 70555
                                                                             Unliquidated
                                                                             Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 TT JCI 11/17 HONOR
                                                                         11/17/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.246    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $50.00
         HEISLER, RITA
         8 HICKORY DR                                                        Contingent
         HORSEHEADS, NY 14845
                                                                             Unliquidated
                                                                             Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 JCI 9/22 HONOR
                                                                         9/22/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.247    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $16,770.69
         HILDER & ASSOCIATES PC
         819 LOVETT BLVD                                                     Contingent
         HOUSTON, TX 77006
                                                                             Unliquidated
                                                                             Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 13439
                                                                         12/2/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.248    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $1,356.97
         HILDER & ASSOCIATES PC
         819 LOVETT BLVD                                                     Contingent
         HOUSTON, TX 77006
                                                                             Unliquidated
                                                                             Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 13440
                                                                         12/2/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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Debtor Name            USA Gymnastics                                                               Case number (if known): 18-09108

   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                                   Amount of claim


3.249    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:                 $500.00
         HILL, RONALD
         245 E PAGE STREET                                                       Contingent
         ST PAUL, MN 55107
                                                                                 Unliquidated
                                                                                 Disputed
                                                                             Basis for the claim:
         Date or dates debt was incurred                                     2018 APP LEAD HONOR
                                                                             12/4/2018


         Last 4 digits of account number                                     Is the claim subject to offset?
                                                                                  No
                                                                                  Yes




3.250    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:               UNKNOWN
         HILLIARD MARTINEZ GONZALES, LLP
         RE: MKG DOE                                                         X Contingent
         ATTN: ROBERT C. HILLIARD,/JESSICA J. PRICHETT
         ATTN: ALEXANDER HILLIARD
                                                                             X Unliquidated
         719 SOUTH SHORELINE BLVD                                            X Disputed
         CORPUS CHRISTI, TX 78401
                                                                             Basis for the claim:
         Date or dates debt was incurred                                     LITIGATION



         Last 4 digits of account number                                     Is the claim subject to offset?
                                                                                  No
                                                                                  Yes




3.251    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:               UNKNOWN
         HILLIARD MARTINEZ GONZALES, LLP
         RE: JANE KJTM DOE                                                   X Contingent
         ATTN: ROBERT C. HILLIARD,/JESSICA J. PRICHETT
         ATTN: ALEXANDER HILLIARD
                                                                             X Unliquidated
         719 SOUTH SHORELINE BLVD                                            X Disputed
         CORPUS CHRISTI, TX 78401
                                                                             Basis for the claim:
         Date or dates debt was incurred                                     LITIGATION



         Last 4 digits of account number                                     Is the claim subject to offset?
                                                                                  No
                                                                                  Yes




3.252    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:                 $662.22
         HILTON GARDEN INN INDIANAPOLIS DOWNTOWN
         10 EAST MARKET ST.                                                      Contingent
         INDIANAPOLIS, IN 46204
                                                                                 Unliquidated
                                                                                 Disputed
                                                                             Basis for the claim:
         Date or dates debt was incurred                                     39574
                                                                             9/8/2018


         Last 4 digits of account number                                     Is the claim subject to offset?
                                                                                  No
                                                                                  Yes




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Debtor Name            USA Gymnastics                                                            Case number (if known): 18-09108

   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                               Amount of claim


3.253    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $20,351.48
         HOLIDAY INN SARASOTA AIRPORT
         8009 15TH ST E                                                     Contingent
         SARASOTA, FL 34243
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 TRAINING CAMP LODGING
                                                                         12/5/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.254    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $105.00
         HOWARD, TREVOR
         1290 FAHLANDER DR                                                  Contingent
         COLUMBUS, OH 43229
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 COTTBUS PDIEM
                                                                         11/5/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.255    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $800.00
         HUMPHREY, TERIN
         114 SE 2ND STREET                                                  Contingent
         BLUE SPRINGS, MO 64014
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 NOV NT CAMP '18 HON
                                                                         11/28/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.256    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $40.40
         HUMPHREY, TERIN
         114 SE 2ND STREET                                                  Contingent
         BLUE SPRINGS, MO 64014
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 NOV NT CAMP'18 EXPEN
                                                                         11/28/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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Debtor Name            USA Gymnastics                                                           Case number (if known): 18-09108

   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                               Amount of claim


3.257    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $223.19
         HUNGER, MICHAEL
         ADDRESS REDACTED                                                   Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 NOV 2018 DEV EXP
                                                                         11/14/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.258    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $1,500.00
         HUNGER, MICHAEL
         ADDRESS REDACTED                                                   Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 NOV 2018 DEV HONOR
                                                                         11/14/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.259    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $223.19
         HUNGER, MICHAEL
         ADDRESS REDACTED                                                   Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 NOV 2018 INV EXPENSE
                                                                         11/18/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.260    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $2,000.00
         HUNGER, MICHAEL
         ADDRESS REDACTED                                                   Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 NOV 2018 INV HONOR
                                                                         11/18/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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Debtor Name            USA Gymnastics                                                           Case number (if known): 18-09108

   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                               Amount of claim


3.261    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $42.53
         HUNGER, MICHAEL
         ADDRESS REDACTED                                                   Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 TOPS CAMP DEC4 EXP
                                                                         12/20/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.262    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $500.00
         HUNGER, MICHAEL
         ADDRESS REDACTED                                                   Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 TOPS CAMP THRU DEC 4
                                                                         12/20/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.263    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               UNKNOWN
         HUNT & TUEGEL PLLC
         RE: WHITEHURST, ET AL.                                          X Contingent
         ATTN: MICHELLE SIMPSON TUEGEL
         425 AUSTIN AVE
                                                                         X Unliquidated
         ALICO BUILDING, STE 1208                                        X Disputed
         WACO, TX 76703
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 LITIGATION



         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.264    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               UNKNOWN
         HUNT & TUEGEL PLLC
         RE: TASHA SCHWIKERT-WARREN                                      X Contingent
         ATTN: MICHELLE SIMPSON TUEGEL
         425 AUSTIN AVE
                                                                         X Unliquidated
         ALICO BUILDING, STE 1208                                        X Disputed
         WACO, TX 76703
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 LITIGATION



         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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Debtor Name            USA Gymnastics                                                           Case number (if known): 18-09108

   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                               Amount of claim


3.265    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               UNKNOWN
         HUTCHINS ET AL.
                                                                         X Contingent
                                                                         X Unliquidated
                                                                         X Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 LITIGATION



         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.266    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $70.59
         IAVARONE, GEORGEANN
         32471 VIA LOS SANTOS                                               Contingent
         SAN JUAN CAPISTRANO, CA 92675
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 JCI 11/03 EXPENSE
                                                                         11/3/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.267    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $105.00
         IAVARONE, GEORGEANN
         32471 VIA LOS SANTOS                                               Contingent
         SAN JUAN CAPISTRANO, CA 92675
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 JCI 11/03 HONOR/PD
                                                                         11/3/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.268    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $18.42
         IAVARONE, GEORGEANN
         32471 VIA LOS SANTOS                                               Contingent
         SAN JUAN CAPISTRANO, CA 92675
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 JCI 12/1 EXPENSE
                                                                         12/1/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                               Amount of claim


3.269    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $115.00
         IAVARONE, GEORGEANN
         32471 VIA LOS SANTOS                                               Contingent
         SAN JUAN CAPISTRANO, CA 92675
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 JCI 12/1 HONOR/PD
                                                                         12/1/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.270    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $12.00
         IAVARONE, GEORGEANN
         32471 VIA LOS SANTOS                                               Contingent
         SAN JUAN CAPISTRANO, CA 92675
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 USAG NSF BANK FEE
                                                                         12/5/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.271    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $249.42
         IRON MOUNTAIN
         PO BOX 27128                                                       Contingent
         NEW YORK, NY 10087-7128
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 AHYY543 DEC1-4
                                                                         12/1/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.272    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $2,200.00
         IVANOV, IVAN YORDANOV
         ADDRESS REDACTED                                                   Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 NOV NT '18 CAMP HONO
                                                                         11/28/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                               Amount of claim


3.273    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $39.57
         IVANOV, IVAN YORDANOV
         ADDRESS REDACTED                                                   Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 NOV NT CAMP '18 EXP
                                                                         11/28/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.274    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               UNKNOWN
         JAMI JONES PLLC
         RE: JANE BR2 DOE                                                X Contingent
         ATTN: JAMI W JONES
         43494 WOODWARD AVE , STE 200
                                                                         X Unliquidated
         BLOOMFIELD HILLS, MI 48302                                      X Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 LITIGATION



         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.275    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               UNKNOWN
         JANE B95 DOE
                                                                         X Contingent
                                                                         X Unliquidated
                                                                         X Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 LITIGATION



         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.276    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               UNKNOWN
         JANE C. DOE
                                                                         X Contingent
                                                                         X Unliquidated
                                                                         X Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 LITIGATION



         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                               Amount of claim


3.277    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               UNKNOWN
         JANE DOE
                                                                         X Contingent
                                                                         X Unliquidated
                                                                         X Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 LITIGATION



         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.278    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               UNKNOWN
         JANE DOE 02
                                                                         X Contingent
                                                                         X Unliquidated
                                                                         X Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 LITIGATION



         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.279    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               UNKNOWN
         JANE E-1 DOE
                                                                         X Contingent
                                                                         X Unliquidated
                                                                         X Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 LITIGATION



         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.280    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               UNKNOWN
         JANE E-1 DOE, ET AL.
                                                                         X Contingent
                                                                         X Unliquidated
                                                                         X Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 LITIGATION



         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                               Amount of claim


3.281    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               UNKNOWN
         JANE J-1 DOE
                                                                         X Contingent
                                                                         X Unliquidated
                                                                         X Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 LITIGATION



         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.282    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               UNKNOWN
         JANE JD DOE
                                                                         X Contingent
                                                                         X Unliquidated
                                                                         X Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 LITIGATION



         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.283    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               UNKNOWN
         JANE LM DOE
                                                                         X Contingent
                                                                         X Unliquidated
                                                                         X Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 LITIGATION



         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.284    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               UNKNOWN
         JANE MPW DOE
                                                                         X Contingent
                                                                         X Unliquidated
                                                                         X Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 LITIGATION



         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                               Amount of claim


3.285    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               UNKNOWN
         JANE R DOES ET AL.
                                                                         X Contingent
                                                                         X Unliquidated
                                                                         X Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 LITIGATION



         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.286    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $1,000.00
         JANTZI, SARAH
         ADDRESS REDACTED                                                   Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 SR PAN AM MEDAL SPT
                                                                         11/30/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.287    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $353.30
         JANTZI, SARAH
         ADDRESS REDACTED                                                   Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 WORLD 2018 EXPENSE
                                                                         11/4/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.288    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $11,333.00
         JANTZI, SARAH
         ADDRESS REDACTED                                                   Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 WORLD OPGOLD/MTEAM
                                                                         11/30/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                                 Amount of claim


3.289    Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                  $12.00
         JENKINS, LACEY
         10053 E CO. RD 550 N                                                 Contingent
         MATTOON, IL 61938
                                                                              Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:
         Date or dates debt was incurred                                   WCHAMPS EXPENSE
                                                                           11/6/2018


         Last 4 digits of account number                                   Is the claim subject to offset?
                                                                                No
                                                                                Yes




3.290    Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:               UNKNOWN
         JOHN F1 DOE, ET AL.
                                                                           X Contingent
                                                                           X Unliquidated
                                                                           X Disputed
                                                                           Basis for the claim:
         Date or dates debt was incurred                                   LITIGATION



         Last 4 digits of account number                                   Is the claim subject to offset?
                                                                                No
                                                                                Yes




3.291    Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:               UNKNOWN
         JOHN R. LEWIS, JR., ESQ., P.C.
         RE: RICHARD CARLSON                                               X Contingent
         ATTN: JOHN R. LEWIS, JR.
         4 WEST GATE RD
                                                                           X Unliquidated
         FARMINGDALE, NY 11735                                             X Disputed
                                                                           Basis for the claim:
         Date or dates debt was incurred                                   LITIGATION



         Last 4 digits of account number                                   Is the claim subject to offset?
                                                                                No
                                                                                Yes




3.292    Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:               $11,546.00
         JOHNS HOPKINS ALL CHILDREN'S HOSPITAL INC
         SPORTS MED/USAG/ATTN: FINANCE                                        Contingent
         501 6TH AVE SOUTH
         ST PETERSBURG, FL 33701
                                                                              Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:
         Date or dates debt was incurred                                   71210-004
                                                                           11/28/2018


         Last 4 digits of account number                                   Is the claim subject to offset?
                                                                                No
                                                                                Yes




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   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                               Amount of claim


3.293    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               UNKNOWN
         JOHNSON LAW, PLC
         RE: JONUSKA                                                     X Contingent
         ATTN: THOMAS W WAUN
         10683 S SAGINAW ST, STE D
                                                                         X Unliquidated
         GRAND BLANC, MI 48439                                           X Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 LITIGATION



         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.294    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $15.00
         JOHNSON, AMELIA
         20961 BIG WOODS ROAD                                               Contingent
         DICKERSON, MD 20842
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 CK 5519 OVERPAYMENT
                                                                         11/16/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.295    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $102.81
         JOYE, KIMBERLEE
         900 W SUMMIT DRIVE                                                 Contingent
         UNIT 5
         DALTON, GA 30721
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 JCI 11/17 EXPENSE
                                                                         11/17/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.296    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $100.00
         JOYE, KIMBERLEE
         900 W SUMMIT DRIVE                                                 Contingent
         UNIT 5
         DALTON, GA 30721
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 JCI 11/17 HONOR
                                                                         11/17/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                               Amount of claim


3.297    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $1,000.00
         JUSZCZYK, MICHAEL
         5950 MEADOW BROOK LANE                                             Contingent
         CUMMING, GA 30040
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 2018 APP LEAD HONOR
                                                                         12/4/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.298    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $259.31
         JUSZCZYK, MICHAEL
         5950 MEADOW BROOK LANE                                             Contingent
         CUMMING, GA 30040
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MENS QUAL EXPENSE
                                                                         7/15/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.299    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $11.79
         KARDOS, ANNETTE
         1107 ADA DRIVE                                                     Contingent
         NORTH HUNTINGDON, PA 15642
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 JCI 11/25 EXPENSE
                                                                         11/25/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.300    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $100.00
         KARDOS, ANNETTE
         1107 ADA DRIVE                                                     Contingent
         NORTH HUNTINGDON, PA 15642
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 JCI 11/25 HONOR
                                                                         11/25/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                                Amount of claim


3.301    Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is:                  $59.00
         KIM, JUNE
         616 S JUNE STREET                                                   Contingent
         LOS ANGELES, CA 90005
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  DUPLICATE PAYMENT
                                                                          11/2/2018


         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.302    Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is:                  $60.00
         KING, CAROLINE
         1120 TIBBETTS-WICK                                                  Contingent
         GIRARD, OH 44420
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  TOPS 6/15 HONOR
                                                                          6/15/2018


         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.303    Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is:                  $60.00
         KING, CAROLINE
         1120 TIBBETTS-WICK                                                  Contingent
         GIRARD, OH 44420
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  TOPS 7/20 HONOR
                                                                          7/20/2018


         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.304    Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is:               UNKNOWN
         KIOUSIS LAW PC
         RE: JANE DOE MJ                                                  X Contingent
         ATTN: EFSTATHIOS T. KIOUSIS
         1985 WEST BIG BEAVER RD, STE 300
                                                                          X Unliquidated
         TROY, MI 48084                                                   X Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  LITIGATION



         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




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   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                               Amount of claim


3.305    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $163.24
         KLIMOUK, NATALYA
         916 KNOLLWOOD DR                                                   Contingent
         BUFFALO GROVE, IL 60089
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 CLINICIAN MEALS/CHIC
                                                                         12/1/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.306    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $121.34
         KOLL, THOMAS
         7701 DAVIS CIRCLE                                                  Contingent
         OMAHA, NE 68134
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 2018 PROG EXPENSE
                                                                         12/31/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.307    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               UNKNOWN
         KOLLER TRIAL LAW, PLLC
         RE: DAVIS & KANALY                                              X Contingent
         ATTN: A. LAURIE KOLLER
         320 SOUTH BOSTON, SUITE 1130
                                                                         X Unliquidated
         TULSA, OK 74103                                                 X Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 LITIGATION



         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.308    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               UNKNOWN
         KOLLER TRIAL LAW, PLLC
         RE: DAVIS                                                       X Contingent
         ATTN: A. LAURIE KOLLER
         320 SOUTH BOSTON, SUITE 1130
                                                                         X Unliquidated
         TULSA, OK 74103                                                 X Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 LITIGATION



         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                               Amount of claim


3.309    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $500.00
         KOZITSKAYA, NATALYA
         ADDRESS REDACTED                                                   Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 RHY BUDAPEST HONOR
                                                                         8/26/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.310    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $31.00
         KOZMA, TINA
         385 SARVER ROAD                                                    Contingent
         SARVER, PA 16055
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 DUPL PAYMENT
                                                                         9/10/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.311    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $1,000.00
         KRENK, GEORGE
         14490 LOVERIDGE STREET                                             Contingent
         MARCELLUS, MI 49067
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 2018 APP LEAD HONOR
                                                                         12/4/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.312    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $24,990.00
         LAKE FRANCES RETREATS
         272 LAKE FRANCES ROAD                                              Contingent
         CROSSVILLE, TN 38571
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 12/1-4 TOPS-A
                                                                         12/1/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                                    Amount of claim


3.313    Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is:               $27,930.00
         LAKE FRANCES RETREATS
         272 LAKE FRANCES ROAD                                                   Contingent
         CROSSVILLE, TN 38571
                                                                                 Unliquidated
                                                                                 Disputed
                                                                              Basis for the claim:
         Date or dates debt was incurred                                      12/4-7 TOPS-B
                                                                              12/1/2018


         Last 4 digits of account number                                      Is the claim subject to offset?
                                                                                   No
                                                                                   Yes




3.314    Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is:                  $15.00
         LANDES, JESSIE
         63 GATES ST                                                             Contingent
         FRAMINGHAM, MA 01702
                                                                                 Unliquidated
                                                                                 Disputed
                                                                              Basis for the claim:
         Date or dates debt was incurred                                      DUPL PAYMENT REFUND
                                                                              11/30/2018


         Last 4 digits of account number                                      Is the claim subject to offset?
                                                                                   No
                                                                                   Yes




3.315    Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is:               $36,333.00
         LANDI, LAURENT
         ADDRESS REDACTED                                                        Contingent
                                                                                 Unliquidated
                                                                                 Disputed
                                                                              Basis for the claim:
         Date or dates debt was incurred                                      WORLD OPGOLD/MTEAM
                                                                              11/30/2018


         Last 4 digits of account number                                      Is the claim subject to offset?
                                                                                   No
                                                                                   Yes




3.316    Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is:               UNKNOWN
         LAW OFFICE OF MATTHEW A. FERRI, PLLC
         RE: JANE RG DOE                                                      X Contingent
         ATTN: MATTHEW A. FERRI
         6001 N ADAMS RD, STE 135
                                                                              X Unliquidated
         BLOOMFIELD HILLS, MI 48304                                           X Disputed
                                                                              Basis for the claim:
         Date or dates debt was incurred                                      LITIGATION



         Last 4 digits of account number                                      Is the claim subject to offset?
                                                                                   No
                                                                                   Yes




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   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                                 Amount of claim


3.317    Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:               UNKNOWN
         LAW OFFICES OF BEREZNOFF & LITTLE
         RE: BROWN                                                         X Contingent
         ATTN: GREGORY M. BEREZNOFF
         ATTN: RONDA M. LITTLE
                                                                           X Unliquidated
         2684 WEST ELEVEN MILE RD                                          X Disputed
         BERKLEY, MI 48072
                                                                           Basis for the claim:
         Date or dates debt was incurred                                   LITIGATION



         Last 4 digits of account number                                   Is the claim subject to offset?
                                                                                No
                                                                                Yes




3.318    Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:               UNKNOWN
         LAW OFFICES OF BEREZNOFF & LITTLE
         RE: PRESTON                                                       X Contingent
         ATTN: GREGORY M. BEREZNOFF
         ATTN: RONDA M. LITTLE
                                                                           X Unliquidated
         2684 WEST ELEVEN MILE RD                                          X Disputed
         BERKLEY, MI 48072
                                                                           Basis for the claim:
         Date or dates debt was incurred                                   LITIGATION



         Last 4 digits of account number                                   Is the claim subject to offset?
                                                                                No
                                                                                Yes




3.319    Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:               UNKNOWN
         LAW OFFICES OF JARED S. RAPP PLLC
         RE: MB45 DOE                                                      X Contingent
         ATTN: JARED S RAPP
         4105 LAKERIDGE LN
                                                                           X Unliquidated
         BLOOMFIELD HILLS, MI 48302                                        X Disputed
                                                                           Basis for the claim:
         Date or dates debt was incurred                                   LITIGATION



         Last 4 digits of account number                                   Is the claim subject to offset?
                                                                                No
                                                                                Yes




3.320    Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:               UNKNOWN
         LAW OFFICES OF JOHNSTON, SZTYKIEL, & HUNT, PC
         RE: NAGLE                                                         X Contingent
         ATTN: JOSEPH N FRASER
         3250 W BIG BEAVER RD, STE 500
                                                                           X Unliquidated
         TROY, MI 48084                                                    X Disputed
                                                                           Basis for the claim:
         Date or dates debt was incurred                                   LITIGATION



         Last 4 digits of account number                                   Is the claim subject to offset?
                                                                                No
                                                                                Yes




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   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                                 Amount of claim


3.321    Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:               UNKNOWN
         LAW OFFICES OF JOHNSTON, SZTYKIEL, & HUNT, PC
         RE: MORRIS                                                        X Contingent
         ATTN: JOSEPH N FRASER
         3250 W BIG BEAVER RD, STE 500
                                                                           X Unliquidated
         TROY, MI 48084                                                    X Disputed
                                                                           Basis for the claim:
         Date or dates debt was incurred                                   LITIGATION



         Last 4 digits of account number                                   Is the claim subject to offset?
                                                                                No
                                                                                Yes




3.322    Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:               UNKNOWN
         LAW OFFICES OF JOHNSTON, SZTYKIEL, & HUNT, PC
         RE: WILLIAMS                                                      X Contingent
         ATTN: JOSEPH N FRASER
         3250 W BIG BEAVER RD, STE 500
                                                                           X Unliquidated
         TROY, MI 48084                                                    X Disputed
                                                                           Basis for the claim:
         Date or dates debt was incurred                                   LITIGATION



         Last 4 digits of account number                                   Is the claim subject to offset?
                                                                                No
                                                                                Yes




3.323    Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:               UNKNOWN
         LAW OFFICES OF JOHNSTON, SZTYKIEL, & HUNT, PC
         RE: ZALENSKI                                                      X Contingent
         ATTN: JOSEPH N FRASER
         3250 W BIG BEAVER RD, STE 500
                                                                           X Unliquidated
         TROY, MI 48084                                                    X Disputed
                                                                           Basis for the claim:
         Date or dates debt was incurred                                   LITIGATION



         Last 4 digits of account number                                   Is the claim subject to offset?
                                                                                No
                                                                                Yes




3.324    Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $923.00
         LAZ PARKING LIMITED LLC
         15 LEWIS STREET                                                      Contingent
         HARTFORD, CT 06103
                                                                              Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:
         Date or dates debt was incurred                                   MA20818108
                                                                           10/14/2018


         Last 4 digits of account number                                   Is the claim subject to offset?
                                                                                No
                                                                                Yes




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   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                               Amount of claim


3.325    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $54.00
         LET IT SHINE PARENTS CLUB
         1892 GENERAL GEORGE PATTON DR.                                     Contingent
         FRANKLIN, TN 37067
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 JOHNSON/HOLTZ REF
                                                                         10/5/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.326    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $123.14
         LEXISNEXIS
         28544 NETWORK PLACE                                                Contingent
         CHICAGO, IL 60673-1285
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 3091787314
                                                                         11/30/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.327    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $15.88
         LEXISNEXIS
         28544 NETWORK PLACE                                                Contingent
         CHICAGO, IL 60673-1285
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 3091833096-A
                                                                         12/31/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.328    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $150.00
         LIPSEY, AUGUSTA
         3705 MILLER ROAD                                                   Contingent
         KALAMAZOO, MI 49001
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 JCI 10/13 FACIL RENT
                                                                         10/13/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                               Amount of claim


3.329    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               UNKNOWN
         LIPTON LAW CENTER, PC
         RE: REHBERGER DOE ET AL.                                        X Contingent
         ATTN: MARC LIPTON
         ATTN: RONALD K. WEINER
                                                                         X Unliquidated
         18930 W TEN MILE RD                                             X Disputed
         SOUTHFIELD, MI 48075
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 LITIGATION



         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.330    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               UNKNOWN
         LIPTON LAW CENTER, PC
         RE: AC DOE                                                      X Contingent
         ATTN: MARC LIPTON
         ATTN: RONALD K. WEINER
                                                                         X Unliquidated
         18930 W TEN MILE RD                                             X Disputed
         SOUTHFIELD, MI 48075
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 LITIGATION



         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.331    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $350.00
         LIU, JIAN
         ADDRESS REDACTED                                                   Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 L10 JR CAMP HONOR
                                                                         12/5/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.332    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $12.00
         LOCKETT, KILEY
         1702 TIMINGO GATE WAY                                              Contingent
         OCEANSIDE, CA 92054
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 WCHAMPS EXPENSE
                                                                         11/6/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                               Amount of claim


3.333    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $65.00
         LOMAS, SUSAN K
         513 GLEN GROVE LANE                                                Contingent
         ORLANDO, FL 32839
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 JCI 12/2 HONOR/PD
                                                                         12/2/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.334    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $12.00
         LOWELL, KRISTLE A.
         14484 CREEKVIEW DR.                                                Contingent
         ORLAND PARK, IL 60467-7151
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 WCHAMPS EXPENSE
                                                                         11/6/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.335    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $1,000.00
         LUCARELLO, LEONARD
         341 CYPRESS DRIVE                                                  Contingent
         MASTIC BEACH, NY 11951
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 2018 APP LEAD HONOR
                                                                         12/4/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.336    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $350.00
         LUCAS, JOHN
         ADDRESS REDACTED                                                   Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 SR TM CAMP HONOR
                                                                         12/19/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.337    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $350.00
         LUNDY, ROBERT
         ADDRESS REDACTED                                                   Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 L10 JR CAMP HONOR
                                                                         12/5/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.338    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                   $6.70
         LUTSKA, BRANT
         92 STATE ST.                                                       Contingent
         PERTH AMBOY, NJ 08861
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 JCI 11/29 EXPENSE
                                                                         11/29/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.339    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $100.00
         LUTSKA, BRANT
         92 STATE ST.                                                       Contingent
         PERTH AMBOY, NJ 08861
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 JCI 11/29 HONOR
                                                                         11/29/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.340    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $59.00
         MACKINGA, KELLY
         181 SOUTH MIRASOL WAY                                              Contingent
         ATASCADERO, CA 93422
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 ATH REFUND
                                                                         10/12/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                               Amount of claim


3.341    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $59.00
         MACKINGA, KELLY
         181 SOUTH MIRASOL WAY                                              Contingent
         ATASCADERO, CA 93422
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 CXLD MEMBERRSHIP
                                                                         9/13/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.342    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $4,935.27
         MAIN EVENT APPAREL
         6880 HILLSDALE COURT                                               Contingent
         INDIANAPOLIS, IN 46250
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 142575
                                                                         10/12/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.343    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $2,787.06
         MAIN EVENT APPAREL
         6880 HILLSDALE COURT                                               Contingent
         INDIANAPOLIS, IN 46250
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 142578
                                                                         10/12/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.344    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $563.75
         MAIN EVENT APPAREL
         6880 HILLSDALE COURT                                               Contingent
         INDIANAPOLIS, IN 46250
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 143867
                                                                         10/31/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                               Amount of claim


3.345    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $46.00
         MAIN EVENT APPAREL
         6880 HILLSDALE COURT                                               Contingent
         INDIANAPOLIS, IN 46250
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 143873
                                                                         10/31/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.346    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $1,150.00
         MAIN EVENT APPAREL
         6880 HILLSDALE COURT                                               Contingent
         INDIANAPOLIS, IN 46250
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 144447
                                                                         11/12/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.347    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $416.00
         MAIN EVENT APPAREL
         6880 HILLSDALE COURT                                               Contingent
         INDIANAPOLIS, IN 46250
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 144610
                                                                         11/14/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.348    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $192.10
         MAIN EVENT APPAREL
         6880 HILLSDALE COURT                                               Contingent
         INDIANAPOLIS, IN 46250
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 144611
                                                                         11/14/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                               Amount of claim


3.349    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $670.50
         MAIN EVENT APPAREL
         6880 HILLSDALE COURT                                               Contingent
         INDIANAPOLIS, IN 46250
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 145480
                                                                         11/28/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.350    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $670.50
         MAIN EVENT APPAREL
         6880 HILLSDALE COURT                                               Contingent
         INDIANAPOLIS, IN 46250
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 145480
                                                                         11/28/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.351    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $79.00
         MAIN EVENT APPAREL
         6880 HILLSDALE COURT                                               Contingent
         INDIANAPOLIS, IN 46250
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 145504
                                                                         11/28/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.352    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $79.00
         MAIN EVENT APPAREL
         6880 HILLSDALE COURT                                               Contingent
         INDIANAPOLIS, IN 46250
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 145504
                                                                         11/28/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                                   Amount of claim


3.353    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:               UNKNOWN
         MANLY, STEWART & FINALDI
         RE: WIEBER                                                          X Contingent
         ATTN: JOHN C. MANLY/VINCE W FINALDI
         ATTN: ALEX E CUNNY
                                                                             X Unliquidated
         19100 VON KARMAN AVE , STE 800                                      X Disputed
         IRVINE, CA 92612
                                                                             Basis for the claim:
         Date or dates debt was incurred                                     LITIGATION



         Last 4 digits of account number                                     Is the claim subject to offset?
                                                                                  No
                                                                                  Yes




3.354    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:               UNKNOWN
         MANLY, STEWART & FINALDI
         RE: JANE DOE 0384                                                   X Contingent
         ATTN: JOHN C. MANLY/VINCE W FINALDI
         ATTN: ALEX E CUNNY
                                                                             X Unliquidated
         19100 VON KARMAN AVE, STE 800                                       X Disputed
         IRVINE, CA 92612
                                                                             Basis for the claim:
         Date or dates debt was incurred                                     LITIGATION

         12/11/2018
         Last 4 digits of account number                                     Is the claim subject to offset?
         0384
                                                                                  No
                                                                                  Yes




3.355    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:               UNKNOWN
         MANLY, STEWART & FINALDI
         RE: TIFFANY THOMAS LOPEZ                                            X Contingent
         ATTN: JOHN C. MANLY/VINCE W FINALDI
         ATTN: ALEX E CUNNY
                                                                             X Unliquidated
         19100 VON KARMAN AVE , STE 800                                      X Disputed
         IRVINE, CA 92612
                                                                             Basis for the claim:
         Date or dates debt was incurred                                     LITIGATION



         Last 4 digits of account number                                     Is the claim subject to offset?
                                                                                  No
                                                                                  Yes




3.356    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:               UNKNOWN
         MANLY, STEWART & FINALDI
         RE: MARONEY                                                         X Contingent
         ATTN: JOHN C. MANLY/VINCE W FINALDI
         ATTN: ALEX E CUNNY
                                                                             X Unliquidated
         19100 VON KARMAN AVE , STE 800                                      X Disputed
         IRVINE, CA 92612
                                                                             Basis for the claim:
         Date or dates debt was incurred                                     LITIGATION



         Last 4 digits of account number                                     Is the claim subject to offset?
                                                                                  No
                                                                                  Yes




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   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                                   Amount of claim


3.357    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:               UNKNOWN
         MANLY, STEWART & FINALDI
         RE: RAISMAN                                                         X Contingent
         ATTN: JOHN C. MANLY/VINCE W FINALDI
         ATTN: ALEX E CUNNY
                                                                             X Unliquidated
         19100 VON KARMAN AVE , STE 800                                      X Disputed
         IRVINE, CA 92612
                                                                             Basis for the claim:
         Date or dates debt was incurred                                     LITIGATION



         Last 4 digits of account number                                     Is the claim subject to offset?
                                                                                  No
                                                                                  Yes




3.358    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:               UNKNOWN
         MANLY, STEWART & FINALDI
         RE: DENHOLLANDER                                                    X Contingent
         ATTN: JOHN C. MANLY/VINCE W FINALDI
         ATTN: ALEX E CUNNY
                                                                             X Unliquidated
         19100 VON KARMAN AVE , STE 800                                      X Disputed
         IRVINE, CA 92612
                                                                             Basis for the claim:
         Date or dates debt was incurred                                     LITIGATION



         Last 4 digits of account number                                     Is the claim subject to offset?
                                                                                  No
                                                                                  Yes




3.359    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:               UNKNOWN
         MANLY, STEWART & FINALDI
         RE: DENHOLLANDER, ET AL.                                            X Contingent
         ATTN: JOHN C. MANLY/VINCE W FINALDI
         ATTN: ALEX E CUNNY
                                                                             X Unliquidated
         19100 VON KARMAN AVE , STE 800                                      X Disputed
         IRVINE, CA 92612
                                                                             Basis for the claim:
         Date or dates debt was incurred                                     LITIGATION



         Last 4 digits of account number                                     Is the claim subject to offset?
                                                                                  No
                                                                                  Yes




3.360    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:               UNKNOWN
         MANLY, STEWART & FINALDI
         RE: JANE EL DOE                                                     X Contingent
         ATTN: JOHN C. MANLY/VINCE W FINALDI
         ATTN: ALEX E CUNNY
                                                                             X Unliquidated
         19100 VON KARMAN AVE , STE 800                                      X Disputed
         IRVINE, CA 92612
                                                                             Basis for the claim:
         Date or dates debt was incurred                                     LITIGATION



         Last 4 digits of account number                                     Is the claim subject to offset?
                                                                                  No
                                                                                  Yes




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   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                                   Amount of claim


3.361    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:               UNKNOWN
         MANLY, STEWART & FINALDI
         RE: JANE AJ DOE                                                     X Contingent
         ATTN: JOHN C. MANLY/VINCE W FINALDI
         ATTN: ALEX E CUNNY
                                                                             X Unliquidated
         19100 VON KARMAN AVE , STE 800                                      X Disputed
         IRVINE, CA 92612
                                                                             Basis for the claim:
         Date or dates debt was incurred                                     LITIGATION



         Last 4 digits of account number                                     Is the claim subject to offset?
                                                                                  No
                                                                                  Yes




3.362    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:                 $600.00
         MARA D.H.SMITH, GREAT PLAY
         ADDRESS REDACTED                                                       Contingent
                                                                                Unliquidated
                                                                                Disputed
                                                                             Basis for the claim:
         Date or dates debt was incurred                                     RHY OPEN CAMP HONOR
                                                                             12/7/2018


         Last 4 digits of account number                                     Is the claim subject to offset?
                                                                                  No
                                                                                  Yes




3.363    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:                 $350.00
         MARKS, JACOB
         1013 WEST 37TH STREET                                                  Contingent
         ERIE, PA 16509
                                                                                Unliquidated
                                                                                Disputed
                                                                             Basis for the claim:
         Date or dates debt was incurred                                     OCT L/8-9 HONOR
                                                                             10/22/2018


         Last 4 digits of account number                                     Is the claim subject to offset?
                                                                                  No
                                                                                  Yes




3.364    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:                 $350.00
         MCARTHUR, SAMUEL THOMAS
         ADDRESS REDACTED                                                       Contingent
                                                                                Unliquidated
                                                                                Disputed
                                                                             Basis for the claim:
         Date or dates debt was incurred                                     L10 JR CAMP HONOR
                                                                             12/5/2018


         Last 4 digits of account number                                     Is the claim subject to offset?
                                                                                  No
                                                                                  Yes




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                                                                                                                               Amount of claim


3.365    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $70.00
         MCCLURE, BRETT
         412 S NEVADA AVENUE                                                Contingent
         #404
         COLORADO SPRINGS, CO 80903
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 WORLDS PER DIEM
                                                                         10/9/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.366    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $50.94
         MCDIARMID, PATRICIA
         2 CHRISTOPHER CIRCLE                                               Contingent
         WILBRAHAM, MA 01095
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 JCI 12/1 EXPENSE
                                                                         12/1/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.367    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $65.00
         MCDIARMID, PATRICIA
         2 CHRISTOPHER CIRCLE                                               Contingent
         WILBRAHAM, MA 01095
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 JCI 12/1 HONOR/PD
                                                                         12/1/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.368    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $62.01
         MCDONALD, LINDA
         2752 SHELLY LANE                                                   Contingent
         AURORA, IL 60504
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 JCI 12/3 EXPENSE
                                                                         12/3/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                               Amount of claim


3.369    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $115.00
         MCDONALD, LINDA
         2752 SHELLY LANE                                                   Contingent
         AURORA, IL 60504
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 JCI 12/3 HONOR/PD
                                                                         12/3/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.370    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               UNKNOWN
         MCKEEN & ASSOCIATES, PC
         RE: EPPLE ET AL                                                 X Contingent
         ATTN: BRIAN J. MCKEEN
         ATTN: STEVEN C. HURBIS
                                                                         X Unliquidated
         645 GRISWOLD ST, STE 4200                                       X Disputed
         DETROIT, MI 48226
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 LITIGATION



         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.371    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               UNKNOWN
         MCKEEN & ASSOCIATES, PC
         RE: PAYNE, ET AL.                                               X Contingent
         ATTN: BRIAN J. MCKEEN
         ATTN: STEVEN C. HURBIS
                                                                         X Unliquidated
         645 GRISWOLD ST, STE 4200                                       X Disputed
         DETROIT, MI 48226
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 LITIGATION



         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.372    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $1,000.00
         MCNAMEE, TOM
         3488 E LOREN VON DRIVE                                             Contingent
         SALT LAKE CITY, UT 84124
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 2018 APP LEAD HONOR
                                                                         12/4/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                               Amount of claim


3.373    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $59.00
         MCVIGE, JEROMY
         22 WYNGATE LN                                                      Contingent
         WILLIAMSVILLE, NY 14221
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 DUPL PAYMENT
                                                                         10/15/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.374    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $65.00
         MEDEIROS, CYDNI
         442 N 3836 E                                                       Contingent
         RIGBY, ID 83442
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 JCI 11/16 HONOR/PD
                                                                         11/16/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.375    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $500.00
         MEEKER, BRIAN
         2008 GIRARD AVE. S                                                 Contingent
         MINNEAPOLIS, MN 55405
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 2018 APP LEAD HONOR
                                                                         12/4/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.376    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $527.49
         MELTON, SEAN
         ADDRESS REDACTED                                                   Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 DEC NT CAMP EXPENSE
                                                                         12/13/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.377    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $1,000.00
         MELTON, SEAN
         ADDRESS REDACTED                                                   Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 US CHAMPS PRIZE
                                                                         10/10/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.378    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $868.93
         MG ELITE
         ADDRESS REDACTED                                                   Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 SEPT-NOV EXPENSE
                                                                         11/4/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.379    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $1,000.00
         MG ELITE
         ADDRESS REDACTED                                                   Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 WORLD CLUB SUPPORT
                                                                         11/13/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.380    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $350.00
         MICROSULTING
         4870 1/2 MCCONNELL AVE                                             Contingent
         LOS ANGELES, CA 90066
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 FSTARS HONOR
                                                                         11/11/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                               Amount of claim


3.381    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               UNKNOWN
         MIKE MORSE LAW FIRM, PLLC
         RE: JANE M.P. DOE                                               X Contingent
         ATTN: JENNIFER G. DAMICO
         24901 NORTHWESTERN HWY, STE 700
                                                                         X Unliquidated
         SOUTHFIELD, MI 48075                                            X Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 LITIGATION



         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.382    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               UNKNOWN
         MIKE MORSE LAW FIRM, PLLC
         RE: HOVINGA                                                     X Contingent
         ATTN: JENNIFER G. DAMICO
         24901 NORTHWESTERN HWY, STE 700
                                                                         X Unliquidated
         SOUTHFIELD, MI 48075                                            X Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 LITIGATION



         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.383    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $59.00
         MILLERS GYMNASTICS ODESSA
         2911 E HWY 80                                                      Contingent
         ODESSA, TX 79762
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 DALY-CK OVERAGE
                                                                         11/20/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.384    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $71.11
         MITZEL, ELIZABETH ANN
         2872 COAST CIRCLE                                                  Contingent
         #201
         HUNTINGTON BEACH, CA 92649
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 TOPS A CAMP EXPENSE
                                                                         12/11/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                               Amount of claim


3.385    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $1,250.00
         MITZEL, ELIZABETH ANN
         2872 COAST CIRCLE                                                  Contingent
         #201
         HUNTINGTON BEACH, CA 92649
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 TOPS A CAMP HONOR
                                                                         12/11/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.386    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $193.67
         MONAHAN, SUSAN
         6221 WESTGATE DRIVE                                                Contingent
         #1004
         ORLANDO, FL 32835
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 JCI 12/2 EXPENSE
                                                                         12/2/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.387    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $115.00
         MONAHAN, SUSAN
         6221 WESTGATE DRIVE                                                Contingent
         #1004
         ORLANDO, FL 32835
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 JCI 12/2 HONOR/PD
                                                                         12/2/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.388    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $1,000.00
         MONMOUTH GYMNASTICS
         ADDRESS REDACTED                                                   Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 GREAVES CHOREOGRAPHY
                                                                         11/30/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                               Amount of claim


3.389    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $1,000.00
         MONMOUTH GYMNASTICS
         ADDRESS REDACTED                                                   Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MCCUSKER CHOREOGRAPH
                                                                         11/30/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.390    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $47.90
         MOORE, TARYN LEIGH
         3011 SAND DRIVE                                                    Contingent
         HUNSTVILLE, TX 77340
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 WORLD EXP ADV DUE
                                                                         12/7/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.391    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $19.77
         MORANO, CINDY
         6511 W. 59TH STREET                                                Contingent
         CHICAGO, IL 60638
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 NOV 2018 INV EXPENSE
                                                                         11/18/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.392    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $1,000.00
         MORANO, CINDY
         6511 W. 59TH STREET                                                Contingent
         CHICAGO, IL 60638
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 NOV 2018 INV HONOR
                                                                         11/18/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                                 Amount of claim


3.393    Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $1,000.00
         MORANO, CINDY
         6511 W. 59TH STREET                                                  Contingent
         CHICAGO, IL 60638
                                                                              Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:
         Date or dates debt was incurred                                   TOPS CAMP-DEC4
                                                                           12/20/2018


         Last 4 digits of account number                                   Is the claim subject to offset?
                                                                                No
                                                                                Yes




3.394    Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $350.00
         MORRIS, GLENN BATEMAN
         1004 LAUREL COVE                                                     Contingent
         BUDA, TX 78610
                                                                              Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:
         Date or dates debt was incurred                                   L10 JR CAMP HONOR
                                                                           12/5/2018


         Last 4 digits of account number                                   Is the claim subject to offset?
                                                                                No
                                                                                Yes




3.395    Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                UNKNOWN
         MURPHY & SPAGNUOLO, PC
         RE: HAGAMAN                                                       X Contingent
         ATTN: RICHARD A. CASCARILLA/GARY L. BENDER
         2123 UNIVERSITY PARK DR, STE 130
                                                                           X Unliquidated
         OKEMOS, MI 48864                                                  X Disputed
                                                                           Basis for the claim:
         Date or dates debt was incurred                                   LITIGATION



         Last 4 digits of account number                                   Is the claim subject to offset?
                                                                                No
                                                                                Yes




3.396    Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                UNKNOWN
         MURPHY & SPAGNUOLO, PC
         RE: JANE R6 DOE ET AL.                                            X Contingent
         ATTN: RICHARD A. CASCARILLA/GARY L. BENDER
         2123 UNIVERSITY PARK DR, STE 130
                                                                           X Unliquidated
         OKEMOS, MI 48864                                                  X Disputed
                                                                           Basis for the claim:
         Date or dates debt was incurred                                   LITIGATION



         Last 4 digits of account number                                   Is the claim subject to offset?
                                                                                No
                                                                                Yes




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   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                                  Amount of claim


3.397    Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                UNKNOWN
         MURPHY & SPAGNUOLO, PC
         RE: DICKMAN                                                        X Contingent
         ATTN: RICHARD A. CASCARILLA/GARY L. BENDER
         2123 UNIVERSITY PARK DR, STE 130
                                                                            X Unliquidated
         OKEMOS, MI 48864                                                   X Disputed
                                                                            Basis for the claim:
         Date or dates debt was incurred                                    LITIGATION



         Last 4 digits of account number                                    Is the claim subject to offset?
                                                                                 No
                                                                                 Yes




3.398    Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                 $100.00
         NATIONAL ACADEMY OF ARTISTIC GYMNASTICS ATTN: LINDA MULVIHILL
         1205 OAK PATCH ROAD                                                   Contingent
         EUGENE, OR 97402
                                                                               Unliquidated
                                                                               Disputed
                                                                            Basis for the claim:
         Date or dates debt was incurred                                    CK#13132 OVERPAYMENT
                                                                            11/13/2018


         Last 4 digits of account number                                    Is the claim subject to offset?
                                                                                 No
                                                                                 Yes




3.399    Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                 $100.00
         NATIONAL ASSOCIATION OFSPORTSCOMMISSIONS NASC
         9916 CARVER ROAD SUITE 100                                            Contingent
         CINCINNATI, OH 45242
                                                                               Unliquidated
                                                                               Disputed
                                                                            Basis for the claim:
         Date or dates debt was incurred                                    DILLON/1856/USAG
                                                                            12/1/2018


         Last 4 digits of account number                                    Is the claim subject to offset?
                                                                                 No
                                                                                 Yes




3.400    Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                 $627.73
         NATIONAL CAR RENTAL
         PO BOX 402383                                                         Contingent
         ATLANTA, GA 30384
                                                                               Unliquidated
                                                                               Disputed
                                                                            Basis for the claim:
         Date or dates debt was incurred                                    19088124
                                                                            10/29/2018


         Last 4 digits of account number                                    Is the claim subject to offset?
                                                                                 No
                                                                                 Yes




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   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                               Amount of claim


3.401    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $161.40
         NATIONAL CAR RENTAL
         PO BOX 402383                                                       Contingent
         ATLANTA, GA 30384
                                                                             Unliquidated
                                                                             Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 19245420
                                                                         11/12/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.402    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $533.72
         NATIONAL CAR RENTAL
         PO BOX 402383                                                       Contingent
         ATLANTA, GA 30384
                                                                             Unliquidated
                                                                             Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 19480800
                                                                         12/3/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.403    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $464.96
         NATIONAL CAR RENTAL
         PO BOX 402383                                                       Contingent
         ATLANTA, GA 30384
                                                                             Unliquidated
                                                                             Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 19554472-A
                                                                         12/10/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.404    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $45,645.03
         NATIONAL TRAVEL SYSTEMS-CORPORATE OFFICE
         4314 S. LOOP 289                                                    Contingent
         SUITE 300
         LUBBOCK, TX 79413
                                                                             Unliquidated
                                                                             Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 WORLD/WAGC BAL DUE
                                                                         12/4/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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   Part 2:        List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                               Amount of claim


3.405    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                UNKNOWN
         NC DOE
                                                                         X Contingent
                                                                         X Unliquidated
                                                                         X Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 LITIGATION



         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.406    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $20.00
         NCSI - SPORTSENGINE
         PO BOX 74008982                                                     Contingent
         CHICAGO, IL 60674
                                                                             Unliquidated
                                                                             Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 644907
                                                                         11/1/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.407    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $500.00
         NESBITT, ROBERT C.
         17 RAVEN LANE                                                       Contingent
         ALISO VIEJO, CA 92656
                                                                             Unliquidated
                                                                             Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 2018 APP LEAD HONOR
                                                                         12/4/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.408    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $24.00
         NORTH START GYMNASTICS
         723 BYRNE IND DRIVE                                                 Contingent
         ROCKFORD, MI 49341
                                                                             Unliquidated
                                                                             Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 JUDGE REQUEST REFUND
                                                                         11/1/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                               Amount of claim


3.409    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                UNKNOWN
         O’KEEFE LAW, PLLC
         RE: THE ESTATE OF MEGAN SIMON                                   X Contingent
         ATTN: PATRICK WILLIAM O’KEEFE
         3893 OKEMOS RD, STE B1
                                                                         X Unliquidated
         OKEMOS, MI 48864                                                X Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 LITIGATION



         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.410    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $57.00
         OBIANWU, MARTIN
         PO BOX 921                                                         Contingent
         ROANOKE, TX 76262
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 DUPL PAYMENT
                                                                         10/10/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.411    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $400.00
         OH, ALYSSA NICOLE
         ADDRESS REDACTED                                                   Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OCT/NOV FUNDING
                                                                         12/3/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.412    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $12.00
         OH, ALYSSA NICOLE
         819 WILD BERRY LANE                                                Contingent
         ROCKLIN, CA 95765
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 WCHAMPS EXPENSE
                                                                         11/6/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.413    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $122.98
         OKINO-BENSON, ELIZABETH ANNA
         ADDRESS REDACTED                                                   Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 NOV 2018 INV EXPENSE
                                                                         11/18/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.414    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $2,000.00
         OKINO-BENSON, ELIZABETH ANNA
         ADDRESS REDACTED                                                   Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 NOV 2018 INV HONOR
                                                                         11/18/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.415    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $62.22
         OKINO-BENSON, ELIZABETH ANNA
         ADDRESS REDACTED                                                   Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OCT INV 2018 EXPENSE
                                                                         10/25/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.416    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $2,000.00
         OKINO-BENSON, ELIZABETH ANNA
         ADDRESS REDACTED                                                   Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OCT INV 2018 HONOR
                                                                         10/25/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                               Amount of claim


3.417    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                UNKNOWN
         OLSMAN, MACKENZIE, PEACOCK & WALLACE, PC
         RE: KJ                                                          X Contingent
         ATTN: DONNA M. MACKENZIE
         ATTN: EMILY G. THOMAS
                                                                         X Unliquidated
         2684 WEST ELEVEN MILE RD                                        X Disputed
         BERKLEY, MI 48072
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 LITIGATION



         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.418    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                UNKNOWN
         OLSMAN, MACKENZIE, PEACOCK & WALLACE, PC
         RE: JANE DOE ME                                                 X Contingent
         ATTN: DONNA M. MACKENZIE
         ATTN: EMILY G. THOMAS
                                                                         X Unliquidated
         2684 WEST ELEVEN MILE RD                                        X Disputed
         BERKLEY, MI 48072
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 LITIGATION



         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.419    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $64.69
         OTTERSON, NICOLE
         27445 E. 160TH AVE.                                                Contingent
         BRIGHTON, CO 80603
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 JCI 11/4 EXPENSE
                                                                         11/4/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.420    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $100.00
         OTTERSON, NICOLE
         27445 E. 160TH AVE.                                                Contingent
         BRIGHTON, CO 80603
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 JCI 11/4 HONOR
                                                                         11/4/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                               Amount of claim


3.421    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $24.27
         OTTERSON, NICOLE
         27445 E. 160TH AVE.                                                Contingent
         BRIGHTON, CO 80603
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 JCI 12/2 EXPENSE
                                                                         12/2/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.422    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $115.00
         OTTERSON, NICOLE
         27445 E. 160TH AVE.                                                Contingent
         BRIGHTON, CO 80603
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 JCI 12/2 HONOR/PD
                                                                         12/2/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.423    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $12.00
         PADILLA, RUBEN ALONZO
         4654 MAMMOUTH LANE                                                 Contingent
         OAKLEY, CA 94561
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 WCHAMPS EXPENSE
                                                                         11/6/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.424    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                UNKNOWN
         PALMA & PRINCE, PA
         RE: WILLIAM O. WEST                                             X Contingent
         ATTN: RUSSELL S PRINCE
         8270 WOODLAND CENTER BLVD
                                                                         X Unliquidated
         TAMPA, FL 33614                                                 X Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 LITIGATION



         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                                Amount of claim


3.425    Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is:                $1,000.00
         PANICHAS, PATRICIA
         9 SHERMAN LANE                                                      Contingent
         HAMDEN, CT 06514
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  WMN WORLDS HONOR
                                                                          11/4/2018


         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.426    Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is:                 $328.11
         PANICHAS, PATRICIA
         9 SHERMAN LANE                                                      Contingent
         HAMDEN, CT 06514
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  WORLDS EXPENSE
                                                                          11/4/2018


         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.427    Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is:                UNKNOWN
         PANISH SHEA & BOYLE LLP
         RE: JORDAN SCHWIKERT-COBBS                                       X Contingent
         ATTN: KEVIN R. BOYLE
         ATTN: JESSE CREED
                                                                          X Unliquidated
         11111 SANTA MONICA BLVD, STE 700                                 X Disputed
         LOS ANGELES, CA 90025
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  LITIGATION



         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.428    Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is:                UNKNOWN
         PANISH SHEA & BOYLE LLP
         RE: JANE ED DOE                                                  X Contingent
         ATTN: KEVIN R. BOYLE
         ATTN: JESSE CREED
                                                                          X Unliquidated
         11111 SANTA MONICA BLVD, STE 700                                 X Disputed
         LOS ANGELES, CA 90025
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  LITIGATION



         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




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                                                                                                                                Amount of claim


3.429    Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is:                UNKNOWN
         PANISH SHEA & BOYLE LLP
         RE: BAKER                                                        X Contingent
         ATTN: KEVIN R. BOYLE
         ATTN: JESSE CREED
                                                                          X Unliquidated
         11111 SANTA MONICA BLVD, STE 700                                 X Disputed
         LOS ANGELES, CA 90025
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  LITIGATION



         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.430    Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is:                  $27.00
         PEMBERTON, MATT
         7131 SHADY HOLLOW RD                                                Contingent
         CANTON, OH 44718
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  DUPLICATE PAYMENT
                                                                          10/1/2018


         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.431    Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is:                 $168.05
         PERSKAIA, TATIANA
         7633 HAMELIN LANE                                                   Contingent
         GAINESVILLE, VA 20155
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  US CHAMPS EXPENSE
                                                                          8/21/2018


         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.432    Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is:                $3,375.00
         PERSKAIA, TATIANA
         7633 HAMELIN LANE                                                   Contingent
         GAINESVILLE, VA 20155
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  US CHAMPS HONOR
                                                                          8/21/2018


         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




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   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                                  Amount of claim


3.433    Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                 $126.32
         PERSKAIA, TATIANA
         7633 HAMELIN LANE                                                     Contingent
         GAINESVILLE, VA 20155
                                                                               Unliquidated
                                                                               Disputed
                                                                            Basis for the claim:
         Date or dates debt was incurred                                    US CLASSIC EXPENSE
                                                                            8/21/2018


         Last 4 digits of account number                                    Is the claim subject to offset?
                                                                                 No
                                                                                 Yes




3.434    Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                $1,350.00
         PERSKAIA, TATIANA
         7633 HAMELIN LANE                                                     Contingent
         GAINESVILLE, VA 20155
                                                                               Unliquidated
                                                                               Disputed
                                                                            Basis for the claim:
         Date or dates debt was incurred                                    US CLASSIC HONOR
                                                                            8/21/2018


         Last 4 digits of account number                                    Is the claim subject to offset?
                                                                                 No
                                                                                 Yes




3.435    Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                $2,100.00
         PINNACLE SOLUTIONS INC
         152 E WASHINGTON ST                                                   Contingent
         INDIANAPOLIS, IN 46204
                                                                               Unliquidated
                                                                               Disputed
                                                                            Basis for the claim:
         Date or dates debt was incurred                                    395025489
                                                                            12/5/2018


         Last 4 digits of account number                                    Is the claim subject to offset?
                                                                                 No
                                                                                 Yes




3.436    Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                UNKNOWN
         PITT, MCGEHEE, PALMER & RIVERS, PC
         RE: DOES 1-21                                                      X Contingent
         ATTN: MICHAEL L. PITT/MEGAN A. BONANNI
         ATTN: BETH M. RIVERS/ROBIN B. WAGNER
                                                                            X Unliquidated
         117 W 4TH ST, STE 200                                              X Disputed
         ROYAL OAK, MI 48067
                                                                            Basis for the claim:
         Date or dates debt was incurred                                    LITIGATION



         Last 4 digits of account number                                    Is the claim subject to offset?
                                                                                 No
                                                                                 Yes




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   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                                  Amount of claim


3.437    Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                UNKNOWN
         PITT, MCGEHEE, PALMER & RIVERS, PC
         RE: DOE 01                                                         X Contingent
         ATTN: MICHAEL L. PITT/MEGAN A. BONANNI
         ATTN: BETH M. RIVERS/ROBIN B. WAGNER
                                                                            X Unliquidated
         117 W 4TH ST, STE 200                                              X Disputed
         ROYAL OAK, MI 48067
                                                                            Basis for the claim:
         Date or dates debt was incurred                                    LITIGATION



         Last 4 digits of account number                                    Is the claim subject to offset?
                                                                                 No
                                                                                 Yes




3.438    Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                UNKNOWN
         PITT, MCGEHEE, PALMER & RIVERS, PC
         RE: DOE 02                                                         X Contingent
         ATTN: MICHAEL L. PITT/MEGAN A. BONANNI
         ATTN: BETH M. RIVERS/ROBIN B. WAGNER
                                                                            X Unliquidated
         117 W 4TH ST, STE 200                                              X Disputed
         ROYAL OAK, MI 48067
                                                                            Basis for the claim:
         Date or dates debt was incurred                                    LITIGATION



         Last 4 digits of account number                                    Is the claim subject to offset?
                                                                                 No
                                                                                 Yes




3.439    Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                UNKNOWN
         PITT, MCGEHEE, PALMER & RIVERS, PC
         RE: DOE 03                                                         X Contingent
         ATTN: MICHAEL L. PITT/MEGAN A. BONANNI
         ATTN: BETH M. RIVERS/ROBIN B. WAGNER
                                                                            X Unliquidated
         117 W 4TH ST, STE 200                                              X Disputed
         ROYAL OAK, MI 48067
                                                                            Basis for the claim:
         Date or dates debt was incurred                                    LITIGATION



         Last 4 digits of account number                                    Is the claim subject to offset?
                                                                                 No
                                                                                 Yes




3.440    Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                UNKNOWN
         PITT, MCGEHEE, PALMER & RIVERS, PC
         RE: DOE 04                                                         X Contingent
         ATTN: MICHAEL L. PITT/MEGAN A. BONANNI
         ATTN: BETH M. RIVERS/ROBIN B. WAGNER
                                                                            X Unliquidated
         117 W 4TH ST, STE 200                                              X Disputed
         ROYAL OAK, MI 48067
                                                                            Basis for the claim:
         Date or dates debt was incurred                                    LITIGATION



         Last 4 digits of account number                                    Is the claim subject to offset?
                                                                                 No
                                                                                 Yes




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   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                                  Amount of claim


3.441    Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                UNKNOWN
         PITT, MCGEHEE, PALMER & RIVERS, PC
         RE: DOE 05                                                         X Contingent
         ATTN: MICHAEL L. PITT/MEGAN A. BONANNI
         ATTN: BETH M. RIVERS/ROBIN B. WAGNER
                                                                            X Unliquidated
         117 W 4TH ST, STE 200                                              X Disputed
         ROYAL OAK, MI 48067
                                                                            Basis for the claim:
         Date or dates debt was incurred                                    LITIGATION



         Last 4 digits of account number                                    Is the claim subject to offset?
                                                                                 No
                                                                                 Yes




3.442    Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                UNKNOWN
         PITT, MCGEHEE, PALMER & RIVERS, PC
         RE: JANE DOE 01, A MINOR                                           X Contingent
         ATTN: MICHAEL L. PITT/MEGAN A. BONANNI
         ATTN: BETH M. RIVERS/ROBIN B. WAGNER
                                                                            X Unliquidated
         117 W 4TH ST, STE 200                                              X Disputed
         ROYAL OAK, MI 48067
                                                                            Basis for the claim:
         Date or dates debt was incurred                                    LITIGATION



         Last 4 digits of account number                                    Is the claim subject to offset?
                                                                                 No
                                                                                 Yes




3.443    Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                UNKNOWN
         PITT, MCGEHEE, PALMER & RIVERS, PC
         RE: JANE DOE 03                                                    X Contingent
         ATTN: MICHAEL L. PITT/MEGAN A. BONANNI
         ATTN: BETH M. RIVERS/ROBIN B. WAGNER
                                                                            X Unliquidated
         117 W 4TH ST, STE 200                                              X Disputed
         ROYAL OAK, MI 48067
                                                                            Basis for the claim:
         Date or dates debt was incurred                                    LITIGATION



         Last 4 digits of account number                                    Is the claim subject to offset?
                                                                                 No
                                                                                 Yes




3.444    Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                UNKNOWN
         PITT, MCGEHEE, PALMER & RIVERS, PC
         RE: JANE DOE 04                                                    X Contingent
         ATTN: MICHAEL L. PITT/MEGAN A. BONANNI
         ATTN: BETH M. RIVERS/ROBIN B. WAGNER
                                                                            X Unliquidated
         117 W 4TH ST, STE 200                                              X Disputed
         ROYAL OAK, MI 48067
                                                                            Basis for the claim:
         Date or dates debt was incurred                                    LITIGATION



         Last 4 digits of account number                                    Is the claim subject to offset?
                                                                                 No
                                                                                 Yes




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   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                                  Amount of claim


3.445    Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                UNKNOWN
         PITT, MCGEHEE, PALMER & RIVERS, PC
         RE: JANE DOE 05                                                    X Contingent
         ATTN: MICHAEL L. PITT/MEGAN A. BONANNI
         ATTN: BETH M. RIVERS/ROBIN B. WAGNER
                                                                            X Unliquidated
         117 W 4TH ST, STE 200                                              X Disputed
         ROYAL OAK, MI 48067
                                                                            Basis for the claim:
         Date or dates debt was incurred                                    LITIGATION



         Last 4 digits of account number                                    Is the claim subject to offset?
                                                                                 No
                                                                                 Yes




3.446    Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                  $40.40
         PLENTOVICH, DEVANY
         17015 NICKLEEN STREET                                                 Contingent
         ANCHORAGE, AK 99516
                                                                               Unliquidated
                                                                               Disputed
                                                                            Basis for the claim:
         Date or dates debt was incurred                                    JCI 11/05 EXPENSE
                                                                            11/5/2018


         Last 4 digits of account number                                    Is the claim subject to offset?
                                                                                 No
                                                                                 Yes




3.447    Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                $6,479.00
         PLEWS SHADLEY RACHER & BRAUN LLP
         1346 N DELAWARE STREET                                                Contingent
         INDIANAPOLIS, IN 46202
                                                                               Unliquidated
                                                                               Disputed
                                                                            Basis for the claim:
         Date or dates debt was incurred                                    241242
                                                                            10/24/2018


         Last 4 digits of account number                                    Is the claim subject to offset?
                                                                                 No
                                                                                 Yes




3.448    Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                 $315.00
         PLEWS SHADLEY RACHER & BRAUN LLP
         1346 N DELAWARE STREET                                                Contingent
         INDIANAPOLIS, IN 46202
                                                                               Unliquidated
                                                                               Disputed
                                                                            Basis for the claim:
         Date or dates debt was incurred                                    241243
                                                                            10/24/2018


         Last 4 digits of account number                                    Is the claim subject to offset?
                                                                                 No
                                                                                 Yes




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                                                                                                                                Amount of claim


3.449    Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is:                $87,880.36
         PLEWS SHADLEY RACHER & BRAUN LLP
         1346 N DELAWARE STREET                                              Contingent
         INDIANAPOLIS, IN 46202
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  241391
                                                                          10/24/2018


         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.450    Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is:                   $38.31
         POLIAROUSH, DMITRI
         ADDRESS REDACTED                                                    Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  TT WORLDS EXPENSE
                                                                          10/30/2018


         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.451    Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is:                   $36.48
         PORTER, ALICE ELIZABETH
         3919 BERRY RIDGE DR                                                 Contingent
         HOLT, MI 48842
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  NOV 2018 DEV EXPENSE
                                                                          11/14/2018


         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.452    Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is:                 $1,000.00
         PORTER, ALICE ELIZABETH
         3919 BERRY RIDGE DR                                                 Contingent
         HOLT, MI 48842
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  NOV 2018 DEV HONOR
                                                                          11/14/2018


         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




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                                                                                                                               Amount of claim


3.453    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $63.91
         PORTER, ALICE ELIZABETH
         3919 BERRY RIDGE DR                                                Contingent
         HOLT, MI 48842
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 NOV 2018 INV EXPENSE
                                                                         11/14/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.454    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $1,000.00
         PORTER, ALICE ELIZABETH
         3919 BERRY RIDGE DR                                                Contingent
         HOLT, MI 48842
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 NOV 2018 INV HONOR
                                                                         11/14/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.455    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $36.48
         PORTER, ALICE ELIZABETH
         3919 BERRY RIDGE DR                                                Contingent
         HOLT, MI 48842
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 TOPS CAMP DEC 4 EXP
                                                                         12/20/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.456    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $250.00
         PORTER, ALICE ELIZABETH
         3919 BERRY RIDGE DR                                                Contingent
         HOLT, MI 48842
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 TOPS CAMP THRU DEC 4
                                                                         12/20/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.457    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $10.92
         PORTER, JENNIFER LYNN
         10604 BOSTON AVE                                                   Contingent
         LUBBOCK, TX 79423
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 JCI 11/20 EXPENSE
                                                                         11/20/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.458    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $50.00
         PORTER, JENNIFER LYNN
         10604 BOSTON AVE                                                   Contingent
         LUBBOCK, TX 79423
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 JCI 11/20 HONOR
                                                                         11/20/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.459    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $500.00
         PORTILLO, JONATHAN MICHAEL
         12609 ZUNI STREET                                                  Contingent
         #304
         BROOMFIELD, CO 80020
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 2018 APP LEAD HONOR
                                                                         12/4/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.460    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $1,750.00
         POSITIVE COACHING ALLIANCE
         1001 N RENGSTORFF AVE                                              Contingent
         SUITE 101
         MOUNTAIN VIEW, CA 94043
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 INV-71352
                                                                         8/1/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.461    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $22.48
         POWERS-BASINGER, LORI
         677 PROVIDENCE AVE                                                 Contingent
         UNIT F
         COLUMBUS, OH 43214
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 JCI 11/11 EXPENSE
                                                                         11/11/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.462    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $100.00
         POWERS-BASINGER, LORI
         677 PROVIDENCE AVE                                                 Contingent
         UNIT F
         COLUMBUS, OH 43214
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 JCI 11/11 HONOR
                                                                         11/11/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.463    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $169.14
         POWERS-BASINGER, LORI
         677 PROVIDENCE AVE                                                 Contingent
         UNIT F
         COLUMBUS, OH 43214
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 JCI 11/29 EXPENSE
                                                                         11/29/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.464    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $115.00
         POWERS-BASINGER, LORI
         677 PROVIDENCE AVE                                                 Contingent
         UNIT F
         COLUMBUS, OH 43214
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 JCI 11/29 HONOR/PD
                                                                         11/29/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.465    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $465.50
         PROTRAININGS, LLC
         6452 FULTON ST E                                                   Contingent
         SUITE 1
         ADA, MI 49301
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 1203201818
                                                                         12/3/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.466    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $36.73
         RAGLE, SHEILA
         1870 EAGLE SUMMIT COURT                                            Contingent
         LAWRENCEVILLE, GA 30043
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 JCI 11/17 EXPENSE
                                                                         11/17/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.467    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $100.00
         RAGLE, SHEILA
         1870 EAGLE SUMMIT COURT                                            Contingent
         LAWRENCEVILLE, GA 30043
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 JCI 11/17 HONOR
                                                                         11/17/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.468    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $24.00
         RAINER, CHELSEA
         27315 N 65TH LANE                                                  Contingent
         PHOENIX, AZ 85083
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 WCHAMPS EXPENSE
                                                                         11/6/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                                   Amount of claim


3.469    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:                 $350.00
         RAINER, TRAVIS MICHAEL
         ADDRESS REDACTED                                                       Contingent
                                                                                Unliquidated
                                                                                Disputed
                                                                             Basis for the claim:
         Date or dates debt was incurred                                     L10 JR CAMP HONOR
                                                                             12/5/2018


         Last 4 digits of account number                                     Is the claim subject to offset?
                                                                                  No
                                                                                  Yes




3.470    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:                  $65.07
         RED LERILLE'S HEALTH & RACQUET CLUB
         301 DOUCET ROAD                                                        Contingent
         LAFAYETTE, LA 70503
                                                                                Unliquidated
                                                                                Disputed
                                                                             Basis for the claim:
         Date or dates debt was incurred                                     DEC 66845R0B
                                                                             11/23/2018


         Last 4 digits of account number                                     Is the claim subject to offset?
                                                                                  No
                                                                                  Yes




3.471    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:                  $63.99
         RED LERILLE'S HEALTH & RACQUET CLUB
         301 DOUCET ROAD                                                        Contingent
         LAFAYETTE, LA 70503
                                                                                Unliquidated
                                                                                Disputed
                                                                             Basis for the claim:
         Date or dates debt was incurred                                     DEC 71540R0B
                                                                             11/23/2018


         Last 4 digits of account number                                     Is the claim subject to offset?
                                                                                  No
                                                                                  Yes




3.472    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:                  $24.00
         RENKERT, ALEXANDER
         17 W GATE STREET                                                       Contingent
         COLUMBUS, OH 43206
                                                                                Unliquidated
                                                                                Disputed
                                                                             Basis for the claim:
         Date or dates debt was incurred                                     WCHAMPS EXPENSE
                                                                             11/6/2018


         Last 4 digits of account number                                     Is the claim subject to offset?
                                                                                  No
                                                                                  Yes




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   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                               Amount of claim


3.473    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $60.00
         RENOUD, ELIZABETH FRANCES
         2525 BARRY ROAD ROAD                                               Contingent
         #910
         PEARLAND, TX 77581
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 TOPS 8/4 HONOR
                                                                         8/4/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.474    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $1,575.00
         RESNICK, NEIL
         ADDRESS REDACTED                                                   Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 NOV 2018 DEV HONOR
                                                                         11/13/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.475    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $12.00
         RICE, ANGEL
         19 BUFORD VILLAGE WALK                                             Contingent
         BUFORD, GA 30518
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 WCHAMPS EXPENSE
                                                                         11/6/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.476    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                UNKNOWN
         RIZZOBRYAN, PC
         RE: MYERS                                                       X Contingent
         ATTN: DEVIN R. DAY
         220 LYON, NW, STE 200
                                                                         X Unliquidated
         GRAND RAPIDS, MI 49503                                          X Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 LITIGATION



         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                               Amount of claim


3.477    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $22.70
         ROBERTS, RYAN STEVEN
         11426 CANETUCK LANE                                                Contingent
         NORTHPORT, AL 35475
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 TOPS CAMP-DEC4 FUEL
                                                                         12/20/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.478    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $30.00
         RODRIGUEZ, JOSEPH
         22774 RENFORD ST                                                   Contingent
         NOVI, MI 48375
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 TOPS 8/3 HONOR
                                                                         8/3/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.479    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $270.00
         ROETHLE, NICOLE
         4512 W 73RD COURT                                                  Contingent
         MERRILLVILLE, IN 46410
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 TT JCI 11/17 HONOR
                                                                         11/17/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.480    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $50.40
         ROGALS, MICHAEL
         196 OLD MILITARY ROAD                                              Contingent
         LAKE PLACID, NY 12946
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 WAGC CAMP HONOR
                                                                         9/5/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.481    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $600.00
         ROTH, MARY M
         10707 DOWNING STREET                                               Contingent
         CARMEL, IN 46033
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 JUDGE ACCRED HONOR
                                                                         12/6/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.482    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                UNKNOWN
         SABRINA VEGA
                                                                         X Contingent
                                                                         X Unliquidated
                                                                         X Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 LITIGATION



         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.483    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $23.16
         SAMPSON, JENNIFER
         543 HEINEL DRIVE                                                   Contingent
         ROSEVILLE, MN 55113
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 JCI 10/24 EXPENSE
                                                                         10/24/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.484    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $115.00
         SAMPSON, JENNIFER
         543 HEINEL DRIVE                                                   Contingent
         ROSEVILLE, MN 55113
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 JCI 10/24 HONOR/PD
                                                                         10/24/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.485    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $97.40
         SAMPSON, JENNIFER
         543 HEINEL DRIVE                                                   Contingent
         ROSEVILLE, MN 55113
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 JCI 9/9 EXPENSE
                                                                         9/9/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.486    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $115.00
         SAMPSON, JENNIFER
         543 HEINEL DRIVE                                                   Contingent
         ROSEVILLE, MN 55113
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 JCI 9/9 HONOR/PD
                                                                         9/9/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.487    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $27.00
         SAMUELSON, JOSHUA
         1131 SASCO HILL ROAD                                               Contingent
         FAIRFIELD, CT 06824
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 DUPL PAYMENT
                                                                         10/9/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.488    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $350.00
         SARGSYAN, PAVEL
         ADDRESS REDACTED                                                   Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 L10 JR CAMP HONOR
                                                                         12/5/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.489    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $59.00
         SCARBERRY, KELLY
         953 REYNOLDS CIRCLE                                                Contingent
         OREGON, OH 43616
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 DUPLICATE PAYMENT
                                                                         10/16/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.490    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $57.81
         SCHNELLER, CAROLYN LOUISE
         ADDRESS REDACTED                                                   Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 TOPS CAMP EXP
                                                                         12/20/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.491    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $250.00
         SCHNELLER, CAROLYN LOUISE
         ADDRESS REDACTED                                                   Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 TOPS CAMP THRU DEC 4
                                                                         12/20/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.492    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $500.00
         SCHOTT, DEAN
         317 61ST AVENUE                                                    Contingent
         GREELEY, CO 80634
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 2018 APP LEAD HONOR
                                                                         12/4/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                                  Amount of claim


3.493    Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                  $12.00
         SCHULTZ, GRETCHEN
         247 DUNLEITH DR                                                       Contingent
         DESTREHAN, LA 70047
                                                                               Unliquidated
                                                                               Disputed
                                                                            Basis for the claim:
         Date or dates debt was incurred                                    WCHAMPS EXPENSE
                                                                            11/6/2018


         Last 4 digits of account number                                    Is the claim subject to offset?
                                                                                 No
                                                                                 Yes




3.494    Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                $9,080.00
         SECURITY CONCEPTS GROUP
         848 N RAINBOW BLVD                                                    Contingent
         #4852
         LAS VEGAS, NV 89107
                                                                               Unliquidated
                                                                               Disputed
                                                                            Basis for the claim:
         Date or dates debt was incurred                                    1028
                                                                            11/19/2018


         Last 4 digits of account number                                    Is the claim subject to offset?
                                                                                 No
                                                                                 Yes




3.495    Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                $4,720.00
         SECURITY CONCEPTS GROUP
         848 N RAINBOW BLVD                                                    Contingent
         #4852
         LAS VEGAS, NV 89107
                                                                               Unliquidated
                                                                               Disputed
                                                                            Basis for the claim:
         Date or dates debt was incurred                                    TOPS CAMP THRU DEC 4
                                                                            12/20/2018


         Last 4 digits of account number                                    Is the claim subject to offset?
                                                                                 No
                                                                                 Yes




3.496    Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                UNKNOWN
         SEIKALY STEWART & BENNETT, PC
         RE: A.G. AND A.W. DOES ET AL.                                      X Contingent
         ATTN: JEFFREY T. STEWART, TIFFANY R. ELLIS
         30445 NORTHWESTERN HWY, STE 250
                                                                            X Unliquidated
         FARMINGTON HILLS, MI 48334                                         X Disputed
                                                                            Basis for the claim:
         Date or dates debt was incurred                                    LITIGATION



         Last 4 digits of account number                                    Is the claim subject to offset?
                                                                                 No
                                                                                 Yes




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                                                                                                                               Amount of claim


3.497    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $105.44
         SHADENKO, TATYANA
         ADDRESS REDACTED                                                   Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 NOV NT CAMP EXPENSE
                                                                         11/28/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.498    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $24.73
         SHANE, KELLY
         8416 SONOMA VALLEY DR NE                                           Contingent
         ALBUQUERQUE, NM 87122
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 JCI 10/28 EXPENSE
                                                                         10/28/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.499    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $100.00
         SHANE, KELLY
         8416 SONOMA VALLEY DR NE                                           Contingent
         ALBUQUERQUE, NM 87122
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 JCI 10/28 HONOR
                                                                         10/28/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.500    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                   $6.81
         SHARIPOV, RUSTAM
         THE OHIO STATE UNIVERSITY                                          Contingent
         1160 STEELWOOD RD.
         COLUMBUS, OH 43212
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 COTTBUS EXPENSE
                                                                         11/25/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                               Amount of claim


3.501    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $113.60
         SHARP ELECTRONICS CORPORATION
         DBA SHARP BUSINESS SYSTEMS                                         Contingent
         DEPT. CH 14288
         PALATINE, IL 60055-4288
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 9001516862
                                                                         11/10/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.502    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $500.00
         SHAW, EVAN
         1313 W SHANNON STREET                                              Contingent
         CHANDLER, AZ 85224
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 2018 APP LEAD HONOR
                                                                         12/4/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.503    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $1,000.00
         SHERMAN, MARK
         5607 MERRIMAC AVE                                                  Contingent
         DALLAS, TX 75206
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 2018 APP LEAD HONOR
                                                                         12/4/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.504    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $136.88
         SHERMAN,LAUREL
         905 MT. ZOAR                                                       Contingent
         ELMIRA, NY 14904
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 JCI 11/16 EXPENSE
                                                                         11/16/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.505    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $115.00
         SHERMAN,LAUREL
         905 MT. ZOAR                                                       Contingent
         ELMIRA, NY 14904
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 JCI 11/16 HONOR/PD
                                                                         11/16/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.506    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $149.25
         SHOSTAK, ALIAKSEI
         ADDRESS REDACTED                                                   Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 DEC TRAINING EXPENSE
                                                                         12/7/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.507    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $150.00
         SHRADER, ALYSSA MICHELLE
         1566 GARDEN VISTA GROVE                                            Contingent
         COLORADO SPRINGS, CO 80904
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 111018-1
                                                                         11/10/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.508    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $12.00
         SIMPSON, OLIVIA
         3207 CR 7630                                                       Contingent
         LUBBOCK, TX 79423
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 WCHAMPS EXPENSE
                                                                         11/6/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                                  Amount of claim


3.509    Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                UNKNOWN
         SINAS, DRAMIS, BRAKE, BOUGHTON , MCINTYRE, P.C.
         RE: JANE DOE 0224, ET AL.                                          X Contingent
         ATTN: JAMES F. GRAVES/JONATHON K. HOMA
         ATTN: JACQUELYN DUPLER
                                                                            X Unliquidated
         3380 PINE TREE RD                                                  X Disputed
         LANSING, MI 48911
                                                                            Basis for the claim:
         Date or dates debt was incurred                                    LITIGATION



         Last 4 digits of account number                                    Is the claim subject to offset?
         0224
                                                                                 No
                                                                                 Yes




3.510    Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                  $59.00
         SMITH, MARY
         1704 WEST ACRES ROAD                                                  Contingent
         JOLIET, IL 60435
                                                                               Unliquidated
                                                                               Disputed
                                                                            Basis for the claim:
         Date or dates debt was incurred                                    DUPLICATE PAYMENT
                                                                            11/2/2018


         Last 4 digits of account number                                    Is the claim subject to offset?
                                                                                 No
                                                                                 Yes




3.511    Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                  $77.20
         SMITH, ROBIN
         46 CHELMSWORTH                                                        Contingent
         BELLA VISTA, AR 72715
                                                                               Unliquidated
                                                                               Disputed
                                                                            Basis for the claim:
         Date or dates debt was incurred                                    NOV 2018 INV EXPENSE
                                                                            11/18/2018


         Last 4 digits of account number                                    Is the claim subject to offset?
                                                                                 No
                                                                                 Yes




3.512    Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                $1,030.00
         SMITH, ROBIN
         46 CHELMSWORTH                                                        Contingent
         BELLA VISTA, AR 72715
                                                                               Unliquidated
                                                                               Disputed
                                                                            Basis for the claim:
         Date or dates debt was incurred                                    NOV 2018 INV HON/PD
                                                                            11/18/2018


         Last 4 digits of account number                                    Is the claim subject to offset?
                                                                                 No
                                                                                 Yes




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                                                                                                                               Amount of claim


3.513    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $142.40
         SMITH, ROBIN
         46 CHELMSWORTH                                                     Contingent
         BELLA VISTA, AR 72715
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 TOPS A 2018 EXP
                                                                         12/4/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.514    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $1,030.00
         SMITH, ROBIN
         46 CHELMSWORTH                                                     Contingent
         BELLA VISTA, AR 72715
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 TOPS A 2018 HON/PD
                                                                         12/4/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.515    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                UNKNOWN
         SOMMERS SCHWARTZ, PC
         RE: MEALY, ET AL.                                               X Contingent
         ATTN: LISA M. ESSER
         1 TOWNE SQUARE, STE 1700
                                                                         X Unliquidated
         SOUTHFIELD, MI 48076                                            X Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 LITIGATION



         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.516    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $14.26
         SPENCER, BRIANNA LEIGH
         805 ELM HURST DRIVE                                                Contingent
         PAPILLION, NE 68046
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 JCI 11/7 EXPENSES
                                                                         11/7/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.517    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                   $50.00
         SPENCER, BRIANNA LEIGH
         805 ELM HURST DRIVE                                                Contingent
         PAPILLION, NE 68046
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 JCI 11/7 HONOR
                                                                         11/7/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.518    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $469.00
         SPORT GRAPHICS, INC.
         3423 PARK DAVIS CIRCLE                                             Contingent
         INDIANAPOLIS, IN 46235-2397
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 736999 R102 BOOKLETS
                                                                         11/9/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.519    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $620.00
         SPORT GRAPHICS, INC.
         3423 PARK DAVIS CIRCLE                                             Contingent
         INDIANAPOLIS, IN 46235-2397
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 737216 S&R AP CHECKS
                                                                         11/15/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.520    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $35,905.00
         SPORT GRAPHICS, INC.
         3423 PARK DAVIS CIRCLE                                             Contingent
         INDIANAPOLIS, IN 46235-2397
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 737268 MBSHP PRINT
                                                                         11/19/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.521    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $1,854.00
         SPORT GRAPHICS, INC.
         3423 PARK DAVIS CIRCLE                                             Contingent
         INDIANAPOLIS, IN 46235-2397
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 737343 STATIONARY
                                                                         11/20/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.522    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $475.00
         SPORT GRAPHICS, INC.
         3423 PARK DAVIS CIRCLE                                             Contingent
         INDIANAPOLIS, IN 46235-2397
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 737537 BUSINES CARDS
                                                                         11/27/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.523    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $318.39
         SPORT GRAPHICS, INC.
         3423 PARK DAVIS CIRCLE                                             Contingent
         INDIANAPOLIS, IN 46235-2397
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 737754 MBR MAIL/PSTG
                                                                         11/30/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.524    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $1,078.00
         SPORT GRAPHICS, INC.
         3423 PARK DAVIS CIRCLE                                             Contingent
         INDIANAPOLIS, IN 46235-2397
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 737892 PODIUM STOR
                                                                         11/30/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.525    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $29,401.89
         SPORT GRAPHICS, INC.
         3423 PARK DAVIS CIRCLE                                             Contingent
         INDIANAPOLIS, IN 46235-2397
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 737977 ATH CARD MAIL
                                                                         11/30/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.526    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $7,967.66
         SPORT GRAPHICS, INC.
         3423 PARK DAVIS CIRCLE                                             Contingent
         INDIANAPOLIS, IN 46235-2397
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 738009 NOV FULFILL
                                                                         11/30/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.527    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $4,279.84
         SPORT GRAPHICS, INC.
         3423 PARK DAVIS CIRCLE                                             Contingent
         INDIANAPOLIS, IN 46235-2397
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 739104-A DEC FULFILL
                                                                         12/31/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.528    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $710.39
         STAPLES BUSINESS CREDIT
         PO BOX 105638                                                      Contingent
         ATLANTA, GA 30348
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 1621925250
                                                                         11/25/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.529    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $339,999.96
         STEVE PENNEY
         11121 MIRADO LANE                                                  Contingent
         FISHERS, IN 46037
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 BALANCE OF SEVERANCE AGREEMENT
                                                                         12/1/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.530    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                    $12.00
         STEVENS, JESSICA
         4217 SOUTHFIELD ROAD                                               Contingent
         ELLICOTT CITY, MD 21042
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 WCHAMPS EXPENSE
                                                                         11/6/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.531    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $1,884.26
         STREAMLINE PRODUCTS AND SERVICES LLC
         12420 SOUTHEASTERN AVE                                             Contingent
         INDIANAPOLIS, IN 46259
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 536
                                                                         12/20/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.532    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $3,000.00
         SUAREZ, CASIMIRO
         ADDRESS REDACTED                                                   Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 WORLD MAKING TEAM
                                                                         11/30/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.533    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $90.00
         SUAREZ, CASIMIRO
         ADDRESS REDACTED                                                   Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 WORLDS EXPENSE
                                                                         11/4/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.534    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $500.00
         SWENY, CAMERON
         1200 CEDAR COVE                                                    Contingent
         ROYSE CITY, TX 75189
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 2018 APP LEAD HONOR
                                                                         12/4/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.535    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $59.00
         TANGUAY, KELLY
         82 WHEATHERSTONE PLACE                                             Contingent
         LAKE OSWEGO, OR 97035
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 DUPL PAYMENT
                                                                         10/11/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.536    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $1,600.00
         TEGTMEYER, JENNA BRITTNEY
         ADDRESS REDACTED                                                   Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 TRAIN CAMP HONOR
                                                                         12/1/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                                    Amount of claim


3.537    Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is:                $8,025.49
         THE ALEXANDER
         333 SOUTH DELAWARE STREET                                                Contingent
         INDIANAPOLIS, IN 46204
                                                                                  Unliquidated
                                                                                  Disputed
                                                                              Basis for the claim:
         Date or dates debt was incurred                                      UGYM001/NOV 11,18
                                                                              11/14/2018


         Last 4 digits of account number                                      Is the claim subject to offset?
                                                                                   No
                                                                                   Yes




3.538    Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is:                UNKNOWN
         THE COLEMAN JUSTICE CENTER
         RE: JANE A DOE ET AL.                                                X Contingent
         ATTN: APRIL KREGER
         ATTN: JUDY C. COLEMAN
                                                                              X Unliquidated
         17286 FARMINGTON RD                                                  X Disputed
         LIVONIA, MI 48152
                                                                              Basis for the claim:
         Date or dates debt was incurred                                      LITIGATION



         Last 4 digits of account number                                      Is the claim subject to offset?
                                                                                   No
                                                                                   Yes




3.539    Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is:                 $350.00
         THE HYBRID PERSPECTIVE, LLC
         32 BOW STREET                                                            Contingent
         BEVERLY, MA 01915
                                                                                  Unliquidated
                                                                                  Disputed
                                                                              Basis for the claim:
         Date or dates debt was incurred                                      1006
                                                                              9/10/2018


         Last 4 digits of account number                                      Is the claim subject to offset?
                                                                                   No
                                                                                   Yes




3.540    Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is:                $1,418.75
         THE LAW OFC OF THOMAS M. JAMES, P.C.
         PO BOX 60506                                                             Contingent
         COLORADO SPRINGS, CO 80960
                                                                                  Unliquidated
                                                                                  Disputed
                                                                              Basis for the claim:
         Date or dates debt was incurred                                      12192
                                                                              12/3/2018


         Last 4 digits of account number                                      Is the claim subject to offset?
                                                                                   No
                                                                                   Yes




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                                                                                                                                    Amount of claim


3.541    Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is:                $1,718.75
         THE LAW OFC OF THOMAS M. JAMES, P.C.
         PO BOX 60506                                                            Contingent
         COLORADO SPRINGS, CO 80960
                                                                                 Unliquidated
                                                                                 Disputed
                                                                              Basis for the claim:
         Date or dates debt was incurred                                      NOVEMBER 2018 LEGAL
                                                                              11/1/2018


         Last 4 digits of account number                                      Is the claim subject to offset?
                                                                                   No
                                                                                   Yes




3.542    Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is:                UNKNOWN
         THE LAW OFFICE OF ANTHONY M. SPAGNUOLO
         RE: ALLEN                                                            X Contingent
         ATTN: ANTHONY M. SPAGNUOLO
         808 W LAKE LANSING RD, STE 104
                                                                              X Unliquidated
         EAST LANSING, MI 48823                                               X Disputed
                                                                              Basis for the claim:
         Date or dates debt was incurred                                      LITIGATION



         Last 4 digits of account number                                      Is the claim subject to offset?
                                                                                   No
                                                                                   Yes




3.543    Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is:                UNKNOWN
         THE LAW OFFICE OF ANTHONY M. SPAGNUOLO
         RE: CHAMPION ET AL.                                                  X Contingent
         ATTN: ANTHONY M. SPAGNUOLO
         808 W LAKE LANSING RD, STE 104
                                                                              X Unliquidated
         EAST LANSING, MI 48823                                               X Disputed
                                                                              Basis for the claim:
         Date or dates debt was incurred                                      LITIGATION



         Last 4 digits of account number                                      Is the claim subject to offset?
                                                                                   No
                                                                                   Yes




3.544    Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is:                UNKNOWN
         THE LAW OFFICE OF WHITNEY D. ACKERMAN
         RE: ALL OLYMPIA GYMNASTIC CENTER INC., ET AL.                        X Contingent
         ATTN: WHITNEY D. ACKERMAN, JONATHAN A. RAPEL
         858 S BEDFORD ST, STE 301
                                                                              X Unliquidated
         LOS ANGELES, CA 90035                                                X Disputed
                                                                              Basis for the claim:
         Date or dates debt was incurred                                      LITIGATION



         Last 4 digits of account number                                      Is the claim subject to offset?
                                                                                   No
                                                                                   Yes




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                                                                                                                                Amount of claim


3.545    Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is:                UNKNOWN
         THE MIKE COX LAW FIRM, PLLC
         RE: JANE K.K. DOE                                                X Contingent
         ATTN: MICHAEL A. COX
         ATTN: MELISSA WOJNAR-RAYCRAFT
                                                                          X Unliquidated
         17430 LAUREL PARK DR N, STE 120E                                 X Disputed
         LIVONIA, MI 48152
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  LITIGATION



         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.546    Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is:                 $863.10
         TILL, KIMBERLY
         1965 BROADWAY                                                       Contingent
         #17A
         NEW YORK, NY 10023
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  BOD MEETING EXPENSE
                                                                          11/20/2018


         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.547    Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is:                 $104.63
         TRAMPOLINE AND TUMBLING EXPRESS
         PO BOX 82036                                                        Contingent
         LAFAYETTE, LA 70598
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  SHOSTAK TRAINING
                                                                          9/10/2018


         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.548    Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is:                $1,081.58
         TRANS-EXPEDITE, INC
         PO BOX 679042                                                       Contingent
         DALLAS, TX 75267
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  IND 5696719 00
                                                                          8/22/2018


         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




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                                                                                                                               Amount of claim


3.549    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                   $2.05
         TREVETHAN, DONNALYN
         21195 E EASTMAN AVE                                                Contingent
         AURORA, CO 80013
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 JCI 12/4 EXPENSE
                                                                         12/4/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.550    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $65.00
         TREVETHAN, DONNALYN
         21195 E EASTMAN AVE                                                Contingent
         AURORA, CO 80013
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 JCI 12/4 HONOR/PD
                                                                         12/4/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.551    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $59.00
         TRIVEDI, HEATHER
         19 CHURCH TAVERN ROAD                                              Contingent
         SOUTH SALEM, NY 10590
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 DUPLICATE PAYMENT
                                                                         10/1/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.552    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $281.33
         TROXEL, TRACY
         156 BLUE BIRD LANE                                                 Contingent
         GAYS MILLS, WI 54631
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 TOPS B 2018 EXP
                                                                         12/4/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.553    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                   $55.00
         UMPHREY, CHAINEY
         1415 MELWOOD DR                                                    Contingent
         SAN JOE, CA 95054
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 TOPS A/B EXPENSE
                                                                         12/2/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.554    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $1,775.00
         UMPHREY, CHAINEY
         1415 MELWOOD DR                                                    Contingent
         SAN JOE, CA 95054
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 TOPS A/B HONOR/PD
                                                                         12/2/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.555    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $11,590.00
         UNITED STATES OLYMPIC COMMITTEE
         ADDRESS REDACTED                                                   Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 INV0022295
                                                                         11/20/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.556    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $105.32
         UPS
         LOCKBOX 577                                                        Contingent
         CAROL STREAM, IL 60132-0577
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 0000430224488
                                                                         12/1/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                               Amount of claim


3.557    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $73.72
         UPS
         LOCKBOX 577                                                        Contingent
         CAROL STREAM, IL 60132-0577
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 0000430224498
                                                                         12/8/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.558    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $295.24
         VAN FAROWE, MARENE MARGARET
         2792 24TH AVENUE                                                   Contingent
         HUDSONVILLE, MI 49426
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 TOPS CAMP THRU DEC 4
                                                                         12/20/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.559    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $250.00
         VAN FAROWE, MARENE MARGARET
         2792 24TH AVENUE                                                   Contingent
         HUDSONVILLE, MI 49426
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 TOPS DEC 4
                                                                         12/20/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.560    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $70.00
         VAN WICKLEN, COLIN
         2900 OAK TREE AVE                                                  Contingent
         APT #7203
         NORMAN, OK 73072
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 WORLDS PER DIEM
                                                                         10/9/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                               Amount of claim


3.561    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                UNKNOWN
         VANDEVEER GARZIA, PC
         RE: DOES AC, BC ET AL.                                          X Contingent
         ATTN: DAVID Q. HOUBECK
         840 W LONG LAKE RD, STE 600
                                                                         X Unliquidated
         TROY, MI 48098                                                  X Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 LITIGATION



         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.562    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $700.00
         VERNYI, IGOR
         ADDRESS REDACTED                                                   Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 L10 JR CAMP HONOR
                                                                         12/5/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.563    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $59.00
         WAINSCOTT, TABITHA
         4509 CHERBOURG WAY                                                 Contingent
         PENSACOLA, FL 32505
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 DUPL PAYMENT
                                                                         10/10/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.564    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $131.76
         WALLACE, MARILYN JOYCE
         5705 SONOMA TRACE                                                  Contingent
         CANE RIDGE, TN 37013
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 NOV 2018 INV EXPENSE
                                                                         11/18/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                               Amount of claim


3.565    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $1,000.00
         WALLACE, MARILYN JOYCE
         5705 SONOMA TRACE                                                  Contingent
         CANE RIDGE, TN 37013
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 NOV 2018 INV HONOR
                                                                         11/18/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.566    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $12.00
         WEBSTER, CHEYENNE SARAH LEE
         406 SUMMERLAND KEY LANE                                            Contingent
         LAFAYETTE, LA 70508
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 AZE VISA EXPENSE
                                                                         11/28/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.567    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                UNKNOWN
         WENDY M. SCHILLER-NICHOLS
         RE: JANE NLF-1 DOE                                              X Contingent
         3452 E LAKE LANSING RD
         EAST LANSING, MI 48823
                                                                         X Unliquidated
                                                                         X Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 LITIGATION



         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.568    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                UNKNOWN
         WENDY M. SCHILLER-NICHOLS
         RE: JANE NLF-2 DOE                                              X Contingent
         3452 E LAKE LANSING RD
         EAST LANSING, MI 48823
                                                                         X Unliquidated
                                                                         X Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 LITIGATION



         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                                Amount of claim


3.569    Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is:                UNKNOWN
         WENDY M. SCHILLER-NICHOLS
         RE: JANE NLF-3 DOE                                               X Contingent
         3452 E LAKE LANSING RD
         EAST LANSING, MI 48823
                                                                          X Unliquidated
                                                                          X Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  LITIGATION



         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.570    Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is:                UNKNOWN
         WENDY M. SCHILLER-NICHOLS
         RE: NLF-4 DOE                                                    X Contingent
         3452 E LAKE LANSING RD
         EAST LANSING, MI 48823
                                                                          X Unliquidated
                                                                          X Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  LITIGATION



         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.571    Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is:                UNKNOWN
         WHITE LAW PLLC
         RE: LEMKE, ET AL.                                                X Contingent
         ATTN: H. JAMES WHITE/ALEXANDER S RUSEK
         ATTN: BRITTANY M. NICHOL
                                                                          X Unliquidated
         2549 JOLLY RD, STE 340                                           X Disputed
         OKEMOS, MI 48864
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  LITIGATION



         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.572    Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is:                 $172.17
         WHITE, KEVIN
         142 APPLE BLOSSOM DR.                                               Contingent
         BRANDON, MS 39047
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  BOD MEETING EXPENSE
                                                                          11/15/2018


         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




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   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                               Amount of claim


3.573    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $60.00
         WHITE, LLOYD DOUGLAS
         3317 FM 44E                                                        Contingent
         DEKALB, TX 75559
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 TOPS 7/21 HONOR
                                                                         7/21/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.574    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $60.00
         WHITE, LLOYD DOUGLAS
         3317 FM 44E                                                        Contingent
         DEKALB, TX 75559
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 TOPS 8/3 HONOR
                                                                         8/3/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.575    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $60.00
         WHITESELL, MCKENNA
         16079 FOX CHASE LANE                                               Contingent
         CUPEPER, VA 22701
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 TOPS 8/5 HONOR
                                                                         8/5/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.576    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $500.00
         WIEGING, PETER
         6242 W KENT DRIVE                                                  Contingent
         CHANDLER, AZ 85226
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 2018 APP LEAD HONOR
                                                                         12/4/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                               Amount of claim


3.577    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $1,000.00
         WILKE FLEURY HOFFELT BIRNEY GOULD LLP
         400 CAPITOL MALL                                                    Contingent
         22ND FLOOR
         SACRAMENTO, CA 95814
                                                                             Unliquidated
                                                                             Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 151265
                                                                         12/4/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.578    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $110.92
         WILLIAMS, CAROL
         14402 MODESTA                                                       Contingent
         SAN ANTONIO, TX 78247
                                                                             Unliquidated
                                                                             Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 JCI 12/2 EXPENSE
                                                                         12/2/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.579    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $100.00
         WILLIAMS, CAROL
         14402 MODESTA                                                       Contingent
         SAN ANTONIO, TX 78247
                                                                             Unliquidated
                                                                             Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 JCI 12/2 HONOR
                                                                         12/2/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.580    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $3,000.00
         WILLIAMS, MARK
         ADDRESS REDACTED                                                    Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 WORLD MAKING TEAM
                                                                         11/30/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                               Amount of claim


3.581    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $3,000.00
         WILLIAMS, MARK
         ADDRESS REDACTED                                                   Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 WORLDS MAKING TEAM
                                                                         11/30/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.582    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $750.00
         WILLIAMS, TANAYA
         177 VIA HAVARRE                                                    Contingent
         MERRITT ISLAND, FL 32953
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 R102/103 11/03-4 HON
                                                                         11/4/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.583    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $168.02
         WILLIAMS, TANAYA
         177 VIA HAVARRE                                                    Contingent
         MERRITT ISLAND, FL 32953
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 R102/103 11/3-4 EXP
                                                                         11/4/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.584    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                   $7.45
         WILLIS, BILLIE
         222 NE ALPINE DR.                                                  Contingent
         PLAINVIEW, TX 79072
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 TT JCI 10/6 EXPENSE
                                                                         10/6/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                               Amount of claim


3.585    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $390.00
         WILLIS, BILLIE
         222 NE ALPINE DR.                                                   Contingent
         PLAINVIEW, TX 79072
                                                                             Unliquidated
                                                                             Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 TT JCI 10/6 HONOR
                                                                         10/6/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.586    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $2,714.05
         WIPFLI LLP
         12359 SUNRISE VALLEY DRIVE                                          Contingent
         SUITE 130
         RESTON, VA 20191
                                                                             Unliquidated
                                                                             Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 INV11445
                                                                         11/30/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.587    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $174.51
         WIPFLI LLP
         12359 SUNRISE VALLEY DRIVE                                          Contingent
         SUITE 130
         RESTON, VA 20191
                                                                             Unliquidated
                                                                             Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 INV11656-B
                                                                         12/31/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.588    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $2,862.10
         WISE COACHES INC
         1312 CENTRAL COURT                                                  Contingent
         HERMITAGE, TN 37076
                                                                             Unliquidated
                                                                             Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 26306
                                                                         12/6/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                               Amount of claim


3.589    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $130.80
         WRIGHT, CASEY
         1807 HOURGLASS DRIVE                                               Contingent
         CARMEL, IN 46032
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 R5-2018 CONG EXPENSE
                                                                         9/16/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.590    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $450.00
         WRIGHT, CASEY
         1807 HOURGLASS DRIVE                                               Contingent
         CARMEL, IN 46032
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 R5-2018 CONG HONOR
                                                                         9/16/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.591    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $150.00
         WRIGHT, CASEY
         1807 HOURGLASS DRIVE                                               Contingent
         CARMEL, IN 46032
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 SEPT BUSINESS ARTICL
                                                                         10/12/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.592    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $2,750.00
         YANKOVA, SONYA
         2754 WOODMERE DRIVE                                                Contingent
         DARIEN, IL 60561
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 SEPT/OCT CAMP HONOR
                                                                         11/14/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                               Amount of claim


3.593    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $821.10
         YODER, ALEC D
         4540 DESANTIS COURT                                                Contingent
         APT 305
         COLUMBUS, OH 43214
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 SEPT-DEC EXPENSE
                                                                         12/4/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.594    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $70.00
         YODER, ALEC D
         4540 DESANTIS COURT                                                Contingent
         APT 305
         COLUMBUS, OH 43214
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 WORLDS PER DIEM
                                                                         10/9/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.595    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $59.00
         ZAPATA, CESAR
         1206 SW 46TH AVENUE                                                Contingent
         DEERFIELD BEACH, FL 33442
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 DUPL PAYMENT
                                                                         11/2/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.596    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $3,333.00
         ZMESKAL-BURDETTE, KIM
         ADDRESS REDACTED                                                   Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 WORLD OPGOLD/MTEAM
                                                                         11/30/2018


         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                        Amount of claim




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  Part 4:         Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.




5a. Total claims from Part 1                                                                                                   $0.00


5b. Total claims from Part 2                                                                                           $1,647,152.91



5c. Total claims of Parts 1 and 2
                                                                                                                       $1,647,152.91
    Lines 5a + 5b = 5c




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United States Bankruptcy Court for the Southern District of Indiana
Case number (if known):                18-09108


                                                                                                                                         Check if this is an
                                                                                                                                         amended filing
Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                  12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.


  1. Does the debtor have any executory contracts or unexpired leases?
         No. Check this box and file this form with the court with the debtor's other schedules. There is nothing else to report on this form.

      X Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official
         Form 206A/B)


                                                                                            State the name and mailing address for all other parties with
 2. List all contracts and unexpired leases                                                 whom the debtor has an executory contract or unexpired lease

         State what the contract or     CONTRACT/AGREEMENT                                   3RD LEVEL INC, DBA 3RD LEVEL CONSULTING
         lease is for and the nature    LICENSE AGREEMENT                                    ATTN: FRANK SAHLEIN
2.1                                     BUSINESS MANAGEMENT SUCCESS COURSE                   412 S 13TH ST, STE 412
         of the debtor's interest
                                        FOUNDATION SERIES                                    BOISE, ID 83702


         State the term remaining       Unknown
         List the contract number of
         any government contract        Not Available


         State what the contract or     CONTRACT/AGREEMENT                                   ALIAKSEI SHOSTACK
         lease is for and the nature    ATHLETE SUPPORT                                      ADDRESS REDACTED
2.2                                     2018 ROAD TO EXCELLENCE - TOKYO 2020
         of the debtor's interest


         State the term remaining       12/31/2018
         List the contract number of
         any government contract        Not Available


         State what the contract or     CONTRACT/AGREEMENT                                   ALYSSA OH
         lease is for and the nature    ATHLETE SUPPORT                                      ADDRESS REDACTED
2.3                                     2018 ROAD TO EXCELLENCE - TOKYO 2020
         of the debtor's interest


         State the term remaining       12/31/2018
         List the contract number of
         any government contract        Not Available


         State what the contract or     CONTRACT/AGREEMENT                                   AUSTRING INVESTIGATIONS LLC
         lease is for and the nature    INDEPENDENT CONTRACTOR                               ATTN: NANCY AUSTRING
2.4                                     INVESTIGATOR                                         P.O. BOX 961
         of the debtor's interest
                                                                                             GIG HARBOUR, WA 98335


         State the term remaining       Unknown
         List the contract number of
         any government contract        Not Available


         State what the contract or     CONTRACT/AGREEMENT                                   CARISSA LAUGHON
         lease is for and the nature    INDEPENDENT CONTRACTOR                               ADDRESS REDACTED
2.5                                     ACROBATIC HIGH-PERFORMANCE ADMINISTRATOR
         of the debtor's interest


         State the term remaining       12/31/2018
         List the contract number of
         any government contract        Not Available



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          Additional Page(s) if Debtor has More Executory Contracts or Unexpired Leases
      Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

      List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease
          State what the contract or    CONTRACT/AGREEMENT                           CISION US INC.
          lease is for and the nature   SERVICE AGREEMENT                            ATTN: JOSH KOWALKOWSKI
2.6                                     MEDIA INFLUENCING AND SUPPORT                1 PRUDENTIAL PLAZA, 7TH FL
          of the debtor's interest
                                                                                     130 E RANDOLPH ST
                                                                                     CHICAGO, IL 60601

          State the term remaining      10/31/2019
          List the contract number of
          any government contract       Not Available


          State what the contract or    CONTRACT/AGREEMENT                           DAVID KRUSE
          lease is for and the nature   INDEPENDENT CONTRACTOR                       ADDRESS REDACTED
2.7                                     ATHLETE CARE COORDINATOR
          of the debtor's interest


          State the term remaining      12/31/2018
          List the contract number of
          any government contract       Not Available


          State what the contract or    CONTRACT/AGREEMENT                           DEARY BROS. INC.
          lease is for and the nature   SPONSORSHIP AGREEMENT                        DBA DEARY'S GYMNASTICS SUPPLY
2.8                                                                                  ATTN: JOHN DEARY, VICE PRESIDENT
          of the debtor's interest
                                                                                     17 LUCIENNE AVE
                                                                                     DANIELSON, CT 06239

          State the term remaining      12/31/2021
          List the contract number of
          any government contract       Not Available


          State what the contract or    CONTRACT/AGREEMENT                           DUSTY RITTER
          lease is for and the nature   INDEPENDENT CONTRACTOR                       ADDRESS REDACTED
2.9                                     JUNIOR OLYMPIC PROGRAM COORDINATOR
          of the debtor's interest


          State the term remaining      12/31/2019
          List the contract number of
          any government contract       Not Available


          State what the contract or    CONTRACT/AGREEMENT                           ELENA SAVENKOVA
          lease is for and the nature   INDEPENDENT CONTRACTOR                       ADDRESS REDACTED
2.10                                    RHYTHMIC DEVELOPMENT COORDINATOR
          of the debtor's interest


          State the term remaining      12/31/2018
          List the contract number of
          any government contract       Not Available


          State what the contract or    CONTRACT/AGREEMENT                           ELITE SPORTSWEAR, L.P.
          lease is for and the nature   SPONSORSHIP AGREEMENT                        ATTN: CEO
2.11                                                                                 2136 N 13TH ST.
          of the debtor's interest
                                                                                     P.O. BOX 64000
                                                                                     READING, PA 19612

          State the term remaining      12/31/2020
          List the contract number of
          any government contract       Not Available




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       Additional Page(s) if Debtor has More Executory Contracts or Unexpired Leases
   Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

   List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease
       State what the contract or    CONTRACT/AGREEMENT                           EPIGNOSIS LLC
       lease is for and the nature   SAAS LMS AGREEMENT AND                       ATTN: ATHANASIOS PAPANGELIS, CTO
2.12                                 TALENTLMS PREMIUM UNLIMITED PLAN             315 MONTGOMERY ST, 8TH FL
       of the debtor's interest
                                                                                  SAN FRANCISCO, CA 94104


       State the term remaining      11/30/2019
       List the contract number of
       any government contract       Not Available


       State what the contract or    AUTOMOBILE                                   EVEREST DENALI INSURANCE COMPANY
       lease is for and the nature                                                477 MARTINSVILLE RD
2.13                                                                              P.O. BOX 830
       of the debtor's interest
                                                                                  LIBERTY CORNER, NJ 07938-0830


       State the term remaining
       List the contract number of
       any government contract


       State what the contract or    SEXUAL ABUSE & MOLESTATION POLICY            EVEREST DENALI INSURANCE COMPANY
       lease is for and the nature                                                477 MARTINSVILLE RD
2.14                                                                              P.O. BOX 830
       of the debtor's interest
                                                                                  LIBERTY CORNER, NJ 07938-0830


       State the term remaining
       List the contract number of
       any government contract


       State what the contract or    GENERAL LIABILITY                            EVEREST DENALI INSURANCE COMPANY
       lease is for and the nature                                                477 MARTINSVILLE RD
2.15                                                                              P.O. BOX 830
       of the debtor's interest
                                                                                  LIBERTY CORNER, NJ 07938-0830


       State the term remaining
       List the contract number of
       any government contract


       State what the contract or    EXCESS LIABILITY                             EVEREST DENALI INSURANCE COMPANY
       lease is for and the nature                                                477 MARTINSVILLE RD
2.16                                                                              P.O. BOX 830
       of the debtor's interest
                                                                                  LIBERTY CORNER, NJ 07938-0830


       State the term remaining
       List the contract number of
       any government contract


       State what the contract or    D&O EXCESS LIABILITY                         EVEREST DENALI INSURANCE COMPANY
       lease is for and the nature                                                477 MARTINSVILLE RD
2.17                                                                              P.O. BOX 830
       of the debtor's interest
                                                                                  LIBERTY CORNER, NJ 07938-0830


       State the term remaining
       List the contract number of
       any government contract




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       Additional Page(s) if Debtor has More Executory Contracts or Unexpired Leases
   Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

   List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease
       State what the contract or    CONTRACT/AGREEMENT                           EVO ATHLETICS
       lease is for and the nature   COMMERCIAL LEASE                             ATTN: AIMEE BOORMAN
2.18                                                                              7188 EAST 15TH ST, UNIT 2
       of the debtor's interest
                                                                                  SARASOTA, FL 34243


       State the term remaining      Unknown
       List the contract number of
       any government contract       Not Available


       State what the contract or    CONTRACT/AGREEMENT                           GEORGIANNA ARAGON
       lease is for and the nature   INDEPENDENT CONTRACTOR                       820 VIA ELEGANTE NW
2.19                                 INVESTIGATOR                                 ALBUQUERQUE, NM 87113
       of the debtor's interest


       State the term remaining      Unknown
       List the contract number of
       any government contract       Not Available


       State what the contract or    CONTRACT/AGREEMENT                           GLOBAL SPECTRUM LP
       lease is for and the nature   LICENSE AGREEMENT                            DBA SPECTRA VENUE MANAGEMENT
2.20                                 PALM BEACH CONVENTION CENTER                 PALM BEACH COUNTY CONV CTR
       of the debtor's interest
                                     2019 USA GYMNASTICS T&T STARS & STRIPES      ATTN: GENERAL MANAGER
                                     CHAMPIONSHIPS                                650 OKEECHOBEE BLVD.
                                                                                  WEST PALM BEACH, FL 33401
       State the term remaining      07/21/2019
       List the contract number of
       any government contract       Not Available


       State what the contract or    CONTRACT/AGREEMENT                           GOOGLE INC.
       lease is for and the nature   LICENSE AGREEMENT                            1600 AMPHITHEATER PARKWAY
2.21                                 YOUTUBE PARTNER PROGRAM                      MOUNTAIN VIEW, CA 94043
       of the debtor's interest


       State the term remaining
       List the contract number of
       any government contract


       State what the contract or    CONTRACT/AGREEMENT                           GYM FUN MANAGEMENT LLC
       lease is for and the nature   INDEPENDENT CONTRACTOR                       ATTN: CHERYL JARRETT
2.22                                 CONGRESS AND EDUCATIONAL ARCHITECT           110 N IH 35, STE 315
       of the debtor's interest
                                                                                  P.O. BOX 333
                                                                                  ROUND ROCK, TX 78681

       State the term remaining      10/07/2019
       List the contract number of
       any government contract       Not Available


       State what the contract or    CONTRACT/AGREEMENT                           IRON MOUNTAIN
       lease is for and the nature   DOCUMENT STORAGE                             1000 CAMPUS DR
2.23                                                                              COLLEGEVILLE, PA 19426
       of the debtor's interest


       State the term remaining      Unknown
       List the contract number of
       any government contract       Not Available




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       Additional Page(s) if Debtor has More Executory Contracts or Unexpired Leases
   Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

   List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease
       State what the contract or    CONTRACT/AGREEMENT                           ISAAC ROWLEY
       lease is for and the nature   ATHLETE SUPPORT                              ADDRESS REDACTED
2.24                                 2018 ROAD TO EXCELLENCE - TOKYO 2020
       of the debtor's interest


       State the term remaining      12/31/2018
       List the contract number of
       any government contract       Not Available


       State what the contract or    CONTRACT/AGREEMENT                           JEFFREY GLUCKSTEIN
       lease is for and the nature   ATHLETE SUPPORT                              ADDRESS REDACTED
2.25                                 2018 ROAD TO EXCELLENCE - TOKYO 2020
       of the debtor's interest


       State the term remaining      12/31/2018
       List the contract number of
       any government contract       Not Available


       State what the contract or    CONTRACT/AGREEMENT                           JENNIFER L. SEEBER
       lease is for and the nature   INDEPENDENT CONTRACTOR                       ADDRESS REDACTED
2.26                                 CONSULTANT FOR THE SAFE SPORT DEPARTMENT
       of the debtor's interest
                                     OF USA GYMNASTICS


       State the term remaining      02/21/2018
       List the contract number of
       any government contract       Not Available


       State what the contract or    CONTRACT/AGREEMENT                           JESSICA STEVENS
       lease is for and the nature   ATHLETE SUPPORT                              ADDRESS REDACTED
2.27                                 2018 ROAD TO EXCELLENCE - TOKYO 2020
       of the debtor's interest


       State the term remaining      12/31/2018
       List the contract number of
       any government contract       Not Available


       State what the contract or    CONTRACT/AGREEMENT                           JOYANNE UMENHOFER
       lease is for and the nature   INDEPENDENT CONTRACTOR                       ADDRESS REDACTED
2.28                                 TRAMPOLINE DEVELOPMENT CENTERS'
       of the debtor's interest
                                     COORDINATOR


       State the term remaining      12/31/2018
       List the contract number of
       any government contract       Not Available


       State what the contract or    CONTRACT/AGREEMENT                           KINESIO HOLDING CORPORATION
       lease is for and the nature   SPONSORSHIP AGREEMENT                        ATTN: ELISE KASE - VICE PRESIDENT
2.29                                                                              4001 MASTHEAD ST., NE
       of the debtor's interest
                                                                                  ALBUQUERQUE, NM 87109


       State the term remaining      12/31/2020
       List the contract number of
       any government contract       Not Available




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       Additional Page(s) if Debtor has More Executory Contracts or Unexpired Leases
   Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

   List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease
       State what the contract or    CONTRACT/AGREEMENT                           LANA LASHOFF
       lease is for and the nature   INDEPENDENT CONTRACTOR                       ADDRESS REDACTED
2.30                                 NATIONAL COACHING STAFF
       of the debtor's interest
                                     DISCIPLINE/DEPARTMENT: RHYTHMIC


       State the term remaining      12/31/2018
       List the contract number of
       any government contract       Not Available


       State what the contract or    CONTRACT/AGREEMENT                           LORI LAZNOVSKY
       lease is for and the nature   INDEPENDENT CONTRACTOR                       ADDRESS REDACTED
2.31                                 TECHNICAL DIRECTOR OF GYMNASTICS
       of the debtor's interest


       State the term remaining      12/31/2018
       List the contract number of
       any government contract       Not Available


       State what the contract or    CONTRACT/AGREEMENT                           MAILFINANCE, A NEOPOST USA COMPANY
       lease is for and the nature   PRODUCT LEASE AGREEMENT                      478 WHEELERS FARMS RD
2.32                                 WITH METER RENTAL AGREEMENT                  MILFORD, CT 06461
       of the debtor's interest


       State the term remaining      02/13/2023
       List the contract number of
       any government contract       Not Available


       State what the contract or    CONTRACT/AGREEMENT                           MARGARITA MAMZINA
       lease is for and the nature   INDEPENDENT CONTRACTOR                       ADDRESS REDACTED
2.33                                 MEMBER OF THE NATIONAL COACHING STAFF
       of the debtor's interest


       State the term remaining      12/31/2018
       List the contract number of
       any government contract       Not Available


       State what the contract or    CONTRACT/AGREEMENT                           MAXIENT LLC
       lease is for and the nature   SERVICE AGREEMENT                            P.O. BOX 7224
2.34                                 SOFTWARE FOR TRACKING STUDENT CONDUCT        CHARLOTTESVILLE, VA 22906
       of the debtor's interest


       State the term remaining      04/30/2021
       List the contract number of
       any government contract       Not Available


       State what the contract or    CONTRACT/AGREEMENT                           NATIONAL CENTER FOR SAFETY INITIATIVES, LLC
       lease is for and the nature   FULL SERVICE DATA ACCESS                     ATTN: TRISH MCGONNELL, EXEC DIR
2.35                                                                              21403 CHAGRIN BLVD, STE 200
       of the debtor's interest
                                                                                  BEACHWOOD, OH 44122-5357


       State the term remaining      Unknown
       List the contract number of
       any government contract       Not Available




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       Additional Page(s) if Debtor has More Executory Contracts or Unexpired Leases
   Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

   List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease
       State what the contract or    CONTRACT/AGREEMENT                           NATIONAL CENTER FOR SAFETY INITIATIVES, LLC
       lease is for and the nature   FULL SERVICE DATA ACCESS                     ATTN: TRISH MCGONNELL, EXEC DIR
2.36                                 FIRST AMENDMENT                              21403 CHAGRIN BLVD, STE 200
       of the debtor's interest
                                                                                  BEACHWOOD, OH 44122-5357


       State the term remaining      Unknown
       List the contract number of
       any government contract       Not Available


       State what the contract or    CONTRACT/AGREEMENT                           NATIONAL CENTER FOR SAFETY INITIATIVES, LLC
       lease is for and the nature   FULL SERVICE DATA ACCESS                     ATTN: TRISH MCGONNELL, EXEC DIR
2.37                                 SECOND AMENDMENT                             21403 CHAGRIN BLVD, STE 200
       of the debtor's interest
                                                                                  BEACHWOOD, OH 44122-5357


       State the term remaining      Unknown
       List the contract number of
       any government contract       Not Available


       State what the contract or    CONTRACT/AGREEMENT                           NATIONAL CENTER FOR SAFETY INITIATIVES, LLC
       lease is for and the nature   FULL SERVICE DATA ACCESS                     ATTN: TRISH MCGONNELL, EXEC DIR
2.38                                 DETERMINING SHARING ADDENDUM                 21403 CHAGRIN BLVD, STE 200
       of the debtor's interest
                                                                                  BEACHWOOD, OH 44122-5357


       State the term remaining      Unknown
       List the contract number of
       any government contract       Not Available


       State what the contract or    CONTRACT/AGREEMENT                           NICOLE AHSINGER
       lease is for and the nature   ATHLETE SUPPORT                              ADDRESS REDACTED
2.39                                 2018 ROAD TO EXCELLENCE - TOKYO 2020
       of the debtor's interest


       State the term remaining      12/31/2018
       List the contract number of
       any government contract       Not Available


       State what the contract or    CONTRACT/AGREEMENT                           NUNO MERINO
       lease is for and the nature   INDEPENDENT CONTRACTOR                       ADDRESS REDACTED
2.40                                 NATIONAL TRAMPOLINE HEAD COACH
       of the debtor's interest


       State the term remaining      12/31/2018
       List the contract number of
       any government contract       Not Available


       State what the contract or    CONTRACT/AGREEMENT                           PATTI CONNER
       lease is for and the nature   INDEPENDENT CONTRACTOR                       ADDRESS REDACTED
2.41                                 USA GYMNASTICS TECHNICAL COORDINATOR AND
       of the debtor's interest
                                     CONTRACTOR


       State the term remaining      12/31/2018
       List the contract number of
       any government contract       Not Available




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       Additional Page(s) if Debtor has More Executory Contracts or Unexpired Leases
   Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

   List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease
       State what the contract or    REAL PROPERTY LEASE                          PERENNIAL INVESTMENTS AND ADVISORS, LLC
       lease is for and the nature                                                ATTN: JEFFREY D. ECHT
2.42                                                                              125 REVERE DR
       of the debtor's interest
                                                                                  NORTHBROOK, IL 60062


       State the term remaining
       List the contract number of
       any government contract       Not Available


       State what the contract or    REAL PROPERTY LEASE                          PERENNIAL INVESTMENTS AND ADVISORS, LLC
       lease is for and the nature                                                ATTN: CHRIS AYRES
2.43                                                                              P.O. BOX 4403
       of the debtor's interest
                                                                                  INDIANAPOLIS, IN 46244-0043


       State the term remaining
       List the contract number of
       any government contract       Not Available


       State what the contract or    CONTRACT/AGREEMENT                           PNC BANK, NATIONAL ASSOCIATION
       lease is for and the nature   VISA COMMERCIAL CARD AGREEMENT               TREASURY MANAGEMENT
2.44                                                                              FIRSTSIDE CENTER, 500 FIRST AVENUE
       of the debtor's interest
                                                                                  ATTN: COMMERICAL CARD OPERATIONS
                                                                                  MAILSTOP: P7-PFSC-03-D
                                                                                  PITTSBURGH, PA 15219
       State the term remaining
       List the contract number of
       any government contract       Not Available


       State what the contract or    CONTRACT/AGREEMENT                           PNC BANK, NATIONAL ASSOCIATION
       lease is for and the nature   VISA COMMERCIAL CARD AGREEMENT               ATTN: CHIEF COUNSEL, COMMERCIAL BANKING GROUP
2.45                                                                              1600 MARKET STREET, 28TH FLOOR
       of the debtor's interest
                                                                                  PHILADELPHIA, PA 19103


       State the term remaining
       List the contract number of
       any government contract       Not Available


       State what the contract or    CONTRACT/AGREEMENT                       POSITIVE COACHING ALLIANCE
       lease is for and the nature   OFFICIAL AGREEMENT                       ATTN: JASON SACKS
2.46                                 ONLINE COURSES AND WORKSHOPS FOR COACHES 1001 RENGSTORFF AVE, #101
       of the debtor's interest
                                                                              MOUNTAIN VIEW, CA 94043


       State the term remaining      12/31/2018
       List the contract number of
       any government contract       Not Available


       State what the contract or    CONTRACT/AGREEMENT                           PRO TRAININGS LLC
       lease is for and the nature   RESELLER/AFFILIATE AGREEMENT                 6452 E FULTON ST. #1
2.47                                 FIRST AID TRAINING COURSES                   ADA, MI 49301
       of the debtor's interest


       State the term remaining      Unknown
       List the contract number of
       any government contract       Not Available




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       Additional Page(s) if Debtor has More Executory Contracts or Unexpired Leases
   Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

   List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease
       State what the contract or    CONTRACT/AGREEMENT                           RHODE ISLAND CONVENTION CENTER
       lease is for and the nature   LICENSE AGREEMENT                            SMG, LICENSOR
2.48                                 RHODE ISLAND CONVENTION CENTER               ATTN: JOHN J. MCGINN, SR. DIRECTOR
       of the debtor's interest
                                     MEETING SPACE                                ONE SABIN ST.
                                                                                  PROVIDENCE, RI 02903

       State the term remaining      08/04/2019
       List the contract number of
       any government contract       Not Available


       State what the contract or    CONTRACT/AGREEMENT                          RON FROEHLICH
       lease is for and the nature   INDEPENDENT CONTRACTOR                      ADDRESS REDACTED
2.49                                 AUDITOR / MEMBER OF PRESIDENTIAL COMMISSION
       of the debtor's interest
                                     FOR THE FIG


       State the term remaining      12/31/2020
       List the contract number of
       any government contract       Not Available


       State what the contract or    CONTRACT/AGREEMENT                           SHANNON MEARS
       lease is for and the nature   INDEPENDENT CONTRACTOR                       ADDRESS REDACTED
2.50                                 CONSULTANT FOR THE SAFE SPORT DEPARTMENT
       of the debtor's interest
                                     OF USA GYMNASTICS


       State the term remaining      05/23/2018
       List the contract number of
       any government contract       Not Available


       State what the contract or    CONTRACT/AGREEMENT                           SHARP ELECTRONICS CORPORATION
       lease is for and the nature   VALUE LEASE AGREEMENT                        DBA SHARP BUSINESS SYSTEMS
2.51                                 SHARP MX-6070V AND (2) SHARP MX-3570         7330 E 86TH ST.
       of the debtor's interest
                                                                                  INDIANAPOLIS, IN 46256


       State the term remaining      05/30/2023
       List the contract number of
       any government contract       Not Available


       State what the contract or    CONTRACT/AGREEMENT                           STEVEN GLUCKSTEIN
       lease is for and the nature   INDEPENDENT CONTRACTOR                       ADDRESS REDACTED
2.52                                 JUNIOR NATIONAL TRAMPOLINE HEAD COACH
       of the debtor's interest


       State the term remaining      12/31/2018
       List the contract number of
       any government contract       Not Available


       State what the contract or    CONTRACT/AGREEMENT                           TATIANA PERSKAIA
       lease is for and the nature   FIG STIPEND                                  ADDRESS REDACTED
2.53                                 MEMBER OF TECHNICAL COMMITTEE
       of the debtor's interest


       State the term remaining      12/31/2020
       List the contract number of
       any government contract       Not Available




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       Additional Page(s) if Debtor has More Executory Contracts or Unexpired Leases
   Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

   List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease
       State what the contract or    CONTRACT/AGREEMENT                           THOMAS FORSTER
       lease is for and the nature   INDEPENDENT CONTRACTOR                       ADDRESS REDACTED
2.54                                 HIGH PERFORMANCE TEAM COORDINATOR
       of the debtor's interest
                                     WOMENS' PROGRAM OF USA GYMNASTICS


       State the term remaining      12/31/2020
       List the contract number of
       any government contract       Not Available


       State what the contract or    CONTRACT/AGREEMENT                           VINAYAK PROPERTIES LLC
       lease is for and the nature   GROUP ROOM CONTRACT                          DBA HOLIDAY INN SARASOTA-AIRPORT
2.55                                 ATHLETIC CAMP OVERNIGHT ROOM BOOKINGS X 4    8009 15TH ST E
       of the debtor's interest
                                                                                  SARASOTA, FL 34243


       State the term remaining      11/30/2018
       List the contract number of
       any government contract       Not Available


       State what the contract or    CONTRACT/AGREEMENT                         VINAYAK PROPERTIES LLC
       lease is for and the nature   GROUP ROOM CONTRACT                        DBA HOLIDAY INN SARASOTA-AIRPORT
2.56                                 ATHLETIC CAMP OVERNIGHT ROOM BOOKINGS X 10 8009 15TH ST E
       of the debtor's interest
                                                                                SARASOTA, FL 34243


       State the term remaining      11/30/2019
       List the contract number of
       any government contract       Not Available


       State what the contract or    CONTRACT/AGREEMENT                           WILKE, FLEURY, HOFFELT, GOULD & BIRNEY, LLP
       lease is for and the nature   EMPLOYMENT AGREEMENT                         ATTN: JOHN R. VALENICA
2.57                                 LEGAL SERVICES/NATIONAL LEGISLATIVE          400 CAPITOL MALL
       of the debtor's interest
                                     ADVOCACY PROGRAM                             SACRAMENTO, CA 95814


       State the term remaining      12/31/2018
       List the contract number of
       any government contract       Not Available




  Official Form 206G                         Schedule G: Executory Contracts and Unexpired Leases              Page 10 of 10
         Case 18-09108-RLM-11                     Doc 205          Filed 01/18/19           EOD 01/18/19 22:22:47                   Pg 189 of
                                                                         190
Debtor Name           USA Gymnastics
United States Bankruptcy Court for the Southern District of Indiana
Case number (if known):             18-09108


                                                                                                                                       Check if this is an
                                                                                                                                       amended filing
Official Form 206H
Schedule H: Codebtors                                                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.


  1. Does the debtor have any codebtors?

    X No. Check this box and file this form with the court with the debtor's other schedules. There is nothing else to report on this form.
       Yes.

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

    Column 1: Codebtor                                                                         Column 2: Creditor

    Name                      Mailing Address                                                  Name                                  Check all schedules
                                                                                                                                     that apply

        NONE




 Official Form 206H                                    Schedule H: Codebtors                                                    Page 1 of 1
Case 18-09108-RLM-11                  Doc 205           Filed 01/18/19            EOD 01/18/19 22:22:47                 Pg 190 of
                                                              190
 Debtor Name        USA Gymnastics
 United States Bankruptcy Court for the Southern District of Indiana
 Case Number: 18-09108



 Official Form 202
 Declaration Under Penalty of Perjury for Non-Individual Debtors                                                          12/15
 An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership,
 must sign and submit this form for the schedules of assets and liabilities, any other document that requires a
 declaration that is not included in the document, and any amendments of those documents. This form must
 state the individual's position or relationship to the debtor, the identity of the document, and the date.
 Bankruptcy Rules 1008 and 9011.

 WARNING - Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining
 money or property by fraud in connection with a bankruptcy case can result in fines up to $500,000 or
 imprisonment for up to 20 years, or both. 18 U.S.C. 152, 1341, 1519, and 3571.


              Declaration and signature

        I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
        partnership; or another individual serving as a representative of the debtor in this case.

        I have examined the information in the documents checked below and I have a reasonable belief that the information is true
        and correct:


           Schedule A/B: Assets- Real and Personal Property        (Official Form 206 A/B)

           Schedule D: Creditors Who Have Claims Secured by Property           (Official Form 206 D)

           Schedule E/F: Creditors Who Have Claims Unsecured Claims            (Official Form 206 E/F)

           Schedule G: Executory Contracts and Unexpired Leases           (Official Form 206 G)

           Schedule H: Codebtors                                          (Official Form 206 H)

           Summary of Assets and Liabilities for Non-Individuals       (Official Form 206Sum)

           Amended Schedule

           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders
           (Official Form 204)

           Other document that requires a declaration



         I, the Chief Financial Officer of the USA Gymnastics, declare under penalty of perjury that I have read the foregoing
         summary and schedules, consisting of 190 sheets, and that they are true and correct to the best of my knowledge,
         information, and belief.



  Executed on: 1/18/2019                                           /s/James Scott Shollenbarger
                                                        Signature ___________________________________________
               MM / DD / YYYY
                                                                                James Scott Shollenbarger
                                                        Printed Name
                                                                                  Chief Financial Officer
                                                        Title
